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             EXHIBIT AA
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              -=DH: 6G: I=: LDG9H LG>II:C ID *A6>CI>;;H 7N ,6<: "JBE=G>:H 96J<=I:G D;

               :;:C96CIH '>86= 6C9 '>8=6:A "JBE=G>:H ID<:I=:G T-=: "JBE=G>:HU 8A>:CI D;

               :;:C96CI 6C9 I=:G6E>HI %6I=GNC: ':N:G 6C9 7:HI ;G>:C9 D; :;:C96CI "6CC6=
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                ,IDAGDL >C I=: HJBB:G D;  
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               I C>C:I::C N:6GH 6C9 H>M BDCI=H D; 6<: ,6<: "JBE=G>:H L6H >C 6C DE:C

                8DCH:CHJ6A 96I>C< G:A6I>DCH=>E TI=: G:A6I>DCH=>EU L>I= *A6>CI>;;H ;GDB I=:
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                6EEGDM>B6I: 96I:H D; EG>A    JCI>A $JAN   
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             GDB I=:  D; '6N   JCI>A $JAN    I=: G:A6I>DCH=>E L>I= ,6<:

              "JBE=G>:H L6H I=GDJ<= K6G>DJH ;DGBH D; :A:8IGDC>8 8DBBJC>86I>DCH >C8AJ9>C<
              ,C6E8=6I 6C9 I:MI B:HH6<:H 6H H=: JH:9 =:G NDJC<:G 7GDI=:GWH 8:AA E=DC: 6;I:G

                :;:C96CIH '>86= 6C9 '>8=6:A "JBE=G>:H A>I:G6AAN 6C9 69B>II:9AN ;DG8>7AN

                @>9C6EE:9 I=:>G DLC 96J<=I:G ;GDB '6HH68=JH:IIH 6C9 IG6;;>8@:9 =:G 768@ ID

                6A>;DGC>6 6<6>CHI =:G L>AA HI:6A>C< =:G 9G>K:GWH A>8:CH: 8:AA E=DC: 76C@ ;JC9H


              6C9 86G @:NH ID >BEG>HDC =:G >C I=:>G =DB: >C &DH A6B>IDH 6A>;DGC>6 6H I=:N

              ;DG8:9 =:G >CID :MDG8>HBH 6C9 I=:G6EN 6<6>CHI =:G L>AA

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     
         5AA=@ DDD /<@A<;:.4.G6;2 0<: ;2D@            /.992A@0.;1.9/<@A<;
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       -=: "JBE=G>:H B69: JE ;6AH: 6C9 =6GGDL>C< HIDG>:H 67DJI *A6>CI>;;H ID 8DCK>C8:
         I=:>G 96J<=I:G D; 6 C6GG6I>K: L=>8= LDJA9 8DCK:GI =:G ID G:6A><C =:G K>:LH L>I=
 
          I=:>G DLC 6C9 JAI>B6I:AN I=DJ<= JC7:A>:K67AN HD HJ88JB7 ID =:G E6G:CIH
 
          VJAI>B6IJB ID G:<6>C =:G ;G::9DB T*&  *( % * (#* &%) ' &( 1 &%* %+
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          - * * % ( )" ( !& $ #/ ( %) ,(/* % ** ) ,( "%-U
 

       -=: :K:CIH 9:H8G>7:9 =:G:>C =6K: I6@:C EA68: ;GDB I=: HJBB:G D;   JCI>A CDL

         6C9 H=DL I=: HIG6I:<>8 B6C>EJA6I>DC I=: "JBE=G>:H %6I=GNC: ':N:G "6CC6=

         ,IDAGDL 6C9 I=: 69JAI 96J<=I:G D; -=: "JBE=G>:H ,6<: 6H I=:N 8DCHE>G:9 ID

          8G:6I: 6 =:>CDJH 6C9 EG:EDHI:GDJH HIDGN D; 67JH: 6H I=: "JBE=G>:H ;DG8:9 I=:>G

          96J<=I:GWH =6C9 >C 68FJ>:H8>C< I=: ;6AH: C6GG6I>K: ;DG =:G DLC E:GHDC6A <6>C

          JH>C< *A6>CI>;;H 6H H86E:<D6IH 6C9 9:HIGDN>C< :K:GNI=>C< I=:N =6K: :K:G LDG@:9

          ;DG


      *A6>CI>;;H =6K: 7::C IDGIJG:9 7N I=: "JBE=G>:H ;DG DK:G H:K:C N:6GH

      -=: "JBE=G>:H =6K: ;>A:9 DK:G H:K:C ;6AH: EDA>8: G:EDGIH 6<6>CHI *A6>CI>;;H 6AA D;
        L=>8= L:G: JC;DJC9:9 6C9 DG 9>HB>HH:9 7N A6L :C;DG8:B:CI 6C9 I=: >HIG>8I

          IIDGC:N D; ,DB:GK>AA: ' L=DB *A6>CI>;;H =6K: 8DCI68I:9 DC I=:>G DLC B:G>I

          >C8AJ9>C< 7N HJ7ED:C6>C< :68= 9:E6GIB:CI ;DG 9D8JB:CIH L=>8= L:G: DI=:GL>H:

          L>I==:A9 7N :;:C96CIH 6C9 ,6<: "JBE=G>:H ID 8DCHE>G: 6C9 9:;G6J9 A6L
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        :C;DG8:B:CI 6C9 DI=:G ;:9:G6A 6<:C8>:H ID EG:H:GK: I=:>G ;6AH: C6GG6I>K: 6<6>CHI

        *A6>CI>;;H

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       :;:C96CIH =6K: 8DCI>CJDJHAN 6C9 :<G:<>DJHAN 8DCI68I:9 :K:GN 7JH>C:HH 6;;>A>6I:
         6C9 :BEADN:G D; *A6>CI>;;H ;GDB   JCI>A CDL G:HJAI>C< >C *A6>CI>;;HW ADHH D;
 
          G:EJI6I>DC 86G::GH 6C9 6CN 6C9 6AA 7JH>C:HH ;DG I=: ;DG:H::67A: ;JIJG: G:C9:G>C<
 
          I=:B JC:BEADN:9 6C9 JC67A: ID LDG@ 9J: ID EJ7A>8 G>9>8JA: 9:;6B6I>DC 6C9 I=:
 
          EJ7A>8 B:9>6 =6G6HHB:CI 6C9 7JAAN>C< 86BE6><C L6<:9 6<6>CHI I=:B ;DG DK:G
 

         H:K:C N:6GH

       -=>H 86H: >H 67DJI I=: G:A6I>DCH=>E 7:IL::C ,6<: "JBE=G>:H 6C9 *A6>CI>;;H L=>8=

         7:<6C L>I= ,6<: "JBE=G>:H >C;>AIG6I>C< *A6>CI>;;H B6GG>6<: >C   7JI L=>8=

          9:K:ADE:9 >CID 6 8DCHE>G68N 7N I=: "JBE=G>:H ID ;DG8: I=:>G 96J<=I:G DJI D; I=6I

          G:A6I>DCH=>E 7JI L=>8= LDJA9 ;DJG N:6GH A6I:G 7: JH:9 6H I=: 86I6ANHI ;DG ,6<:

          "JBE=G>:H ID ;>A: 6 DC: =JC9G:9 6C9 I=>GIN B>AA>DC 9DAA6G A6LHJ>I 6<6>CHI *A6>CI>;;H
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          ID 8DK:G JE =:G >AA:<6A EGDHI>IJI>DC L>I= 7>AA>DC6>G: 6GNA %6IO DLC:G D; I=: ("&
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        I:6B I=: 9BDCIDC )>A:GH 6H I=: DCAN :K>9:C8: D; =:G H:MJ6A EGD8A>K>I>:H L>I=

        'G %6IO L6H >C *A6>CI>;;HW =6C9H L=>8= H=: JEAD69:9 DCID I=:>G 8DBEJI:G ;DJG
        N:6GH EG>DG

        -=>H 86H: >H 67DJI ILD E6G:CIH L=D 86A8JA6I:9 6 EA6C 6C9 H8DJI:9 *A6>CI>;;H L=D

          L:G: 6I I=: E:6@ D; I=:>G 86G::GH 6C9 JH:9 I=:B ID <6>C 6C 69K6CI6<: ;DG I=:>G

          69JAI 96J<=I:G >C =:G DLC 86G::G 6H I=:N =69 9DC: HD B6CN I>B:H 7:;DG: L>I=


        DI=:GH DCAN I=>H I>B: I=:>G 96J<=I:G HIG6N:9 ;GDB I=:>G EA6C 6C9 7:<6C ID =6K: =:G

        DLC K>:LH K>:LH L=>8= 9>9 CDI 6A><C L>I= I=:>G DLC

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       0=>A: *A6>CI>;;H 69B>I I=6I I=: G:A6I>DCH=>E L>I= ,6<: "JBE=G>:H L6H JCDGI=D9DM
          6C9 JC8DCK:CI>DC6A I=:G: L6H CD HJ8= 67JH: D; 6CN @>C9 IDL6G9 ,6<: 9JG>C< I=:
 
           8DJGH: D; I=:>G G:A6I>DCH=>E L=>8= >H I=: ;6AH: C6GG6I>K: I=: "JBE=G>:H 8G:6I:9 6C9
 
           HEG:69 ID B>AA>DCH D; E:DEA: JCI>A I=: "JBE=G>:HW ;6AH: 6C9 9:;6B6IDGN HIDGN D;
 
           67JH: L6H DC I=: 8DK:G D; I=: (:L 2DG@ ->B:H DC $JAN   
 

         *A6>CI>;;H 69B>I I=:N H=DJA9 =6K: C:K:G 6AADL:9 ,6<: "JBE=G>:H ID >C;>AIG6I: I=:>G

          B6GG>6<: 6H I=:N A>K: 6 8DCH:GK6I>K: A>;:HINA: 6C9 =6K: C:K:G =69 6C DE:C

          G:A6I>DCH=>E DG DI=:GL>H: EG>DG ID DG 6;I:G ,6<: "JBE=G>:H 6C9 C:K:G LDJA9 9D HD

           6<6>C =DL:K:G I=: 8JAB>C6I>DC D; I=: :K:CIH 9:H8G>7:9 =:G:>C 8:GI6>CAN 9D CDI

           ?JHI>;N I=: =6G6HHB:CI 9:;6B6I>DC I=G:6I 6C9 67JH: *A6>CI>;;H =6K: G:8:>K:9 DK:G

           I=: N:6GH 9J: ID :;:C96CIHW 8DC9J8I 6C9 =6IG:9 ;DG I=: G:A6I>DCH=>E I=:>G 96J<=I:G

           L6H >C DG I=:>G ;6>AJG: ID G:IG>:K: 96I6 I=6I >C8G>B>C6I:H I=:B >C 6HH>HI>C< I=:
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         EGDHI>IJI>DC D; I=:>G DLC 96J<=I:G ;DG E:GHDC6A <6>C >C ;68I I=: :K:CIH 9:H8G>7:9

         =:G:>C DCAN EGDK: I=6I I=: "JBE=G>:H >C8AJ9>C< I=:>G 96J<=I:G H=DJA9 7: >C ?6>A
         ;DG I=: 8G>B:H I=:N =6K: 8DBB>II:9 6<6>CHI *A6>CI>;;H

        -=: 6AA:<6I>DCH 9:H8G>7:9 ;JGI=:G =:G:>C 685<+ 7:NDC9 6 G:6HDC67A: 9DJ7I I=6I

           I=: "JBE=G>:HW E6II:GC L6H E6GI 6 D; 6 BJ8= A6G<:G H8=:B: 6 E6I= D; 8DBEA:I:

           9:HIGJ8I>DC I=6I >C8AJ9:9 A:69>C< B>AA>DCH D; E:DEA: ID 7:A>:K: *A6>CI>;;H =69
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         8DBB>II:9 8G>B:H D; 67JH: 6<6>CHI 8=>A9G:C L:G: 96C<:GDJH E:DEA: 6C9 L:G:

         <D>C< ID EG>HDCR CDC: D; L=>8= L:G: :K:G IGJ: =DL:K:G >C I=: :G6H D; ': -DD

         86C8:A 8JAIJG: 6C9 A68@ D; ;68I 8=:8@>C< *A6>CI>;;H A>K:A>=DD9H 6C9 86G::GH L:G:
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            8DBEA:I:AN 9>HH:B>C6I:9 A:6K>C< I=:B ID 9:;:C9 I=:BH:AK:H 6<6>CHI 6CNDC: 6C9
            :K:GNDC: L=D A:6GC:9 D; I=>H ;>8I>I>DJH HIDGN D; 67JH:
 
          H :MEA6>C:9 ;JGI=:G =:G:>C I=: "JBE=G>:H 8DAAJ9:9 8DCHE>G:9 6C9 8D:G8:9
 
             DI=:GH ID ?D>C I=:>G :;;DGIH >C ;JGI=:G 9:HIGJ8I>DC D; *A6>CI>;;HW A>K:H 6H ;>K: DI=:GH
 
             >C8AJ9>C< 6 B:CI6AAN JCHI67A: LDB6C *A6>CI>;;H =6K: C:K:G B:I 8DCHE>G:9 6C9
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            ?D>C:9 ;DG8:H L>I= ,6<: "JBE=G>:H ID ;>A: K:M6I>DJH )/</2 A6LHJ>IH 6<6>CHI

            *A6>CI>;;H >C I=: >HIG>8I DJGI D; (:K696 L=>8= *A6>CI>;;H =6K: CDL 7::C

            >CKDAK:9 >C ;DG DK:G I=G:: N:6GH 6C9 L=>8= >H E:C9>C< I=:>G BDI>DC ID 9>HB>HH 6C9
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             8DJCI:G8A6>B
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             ;>GBH >C I=: ., D>:H ,8=>AA:G  A:MC:G 6C9 I=:>G ;6B:9 6IIDGC:N ,><G>9
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           '86LA:N L=D G:EG:H:CI:9 CDC: DI=:G I=6C />G<>C>6 !>J;;G: >C I=: EHI:>C 86H:

        'H '86LA:N >C 8DAA67DG6I>DC L>I= I=: "JBE=G>:H L6H ;6G IDD :6<:G ID HEG:69
           I=>H ;6AH: 6C9 9:;6B6IDGN C6GG6I>K: ID :K:GN B:9>6 DJIA:I H=: 8DJA9 8DCIGDA

             8DCKDAJI>C< I=: A>I><6I>DC >C (:K696 L>I= B6HH B:9>6 6II:CI>DC 6H H=: 8DBE6G:9

             *A6>CI>;;H ID I=: 9>H<G68:;JA 8DJEA: EHI:>C 6C9 '6ML:AA =DL:K:G H=: A6I:G

             9>H8DK:G:9 I=: 86I6ANHI ID I=: C6GG6I>K: I=: "JBE=G>:H A:9 =:G ID 7:A>:K: L6H
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           :CI>G:AN 6C9 JII:GAN ;6AH:

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     
       '9.6;A633@ 5.C2 36921 @B6A .4.6;@A $@ $0.D92F 6; A52 )<BA52?; 6@A?60A <B?A <3 9<?61. 3<? 123.:.A6<;
   ?24.?16;4 @A.A2:2;A@ :.12 A< A52 :216. ./<BA '9.6;A633@ D5605 D2?2 ;<A =?6C692421 I 0.@2  0C  
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       -=>H 86H: >H 67DJI I=: ( &+) 8G>B>C6A 68IH L=>8= L:G: 6C9 6G: 8DCI>CJDJHAN
         7:>C< 8DBB>II:9 7N :;:C96CIH '>8=6:A 6C9 '>86= "JBE=G>:H %6I=GNC: ':N:G
 
          6C9 "6CC6= ,IDAGDL L=:G:6H :;:C96CIH =6K: "%&- %#/ 6C9 %*%* &%##/ A>:9
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          ID A6L :C;DG8:B:CI >C8AJ9>C< 7N ;>A>C< ;6AH: EDA>8: G:EDGIH 67DJI *A6>CI>;;H ID &,(
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          ),%  (%* '&#  '(*$%*) 6AA D; L=DB *A6>CI>;;H =6K: 7::C >C 8DCI68I 6H
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         *A6>CI>;;H 8DCI>CJ: ID LDG@ L>I= A6L :C;DG8:B:CI H::@>C< I=: EGDE:G

         8DCH:FJ:C8:H 6<6>CHI I=:B

       :;:C96CIH =6K: "%&- %#/ 6C9 %*%* &%##/ 8DC8:6A:9 ;G6J9 ID D7I6>C 6C 67JH:
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          EG:K:CI>DC DG9:G JC9:G ;6AH: EG:I:CH:H 6<6>CHI *A6>CI>;;H 6HH>HI>C< I=:>G '*;2:

          96J<=I:G =.5 .'9 9/4)+ '*3/::+* H:K:C N:6GH A6I:G I=6I I=: 67JH: EG:K:CI>DC
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          DG9:G L6H CDI :K:C LG>II:C 7N =:G 6H H=: L6H ;DG8:9 DCAN ID H><C >I K:G>;N>C<
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          EG:8>H:AN L=6I H=: IDA9 *A6>CI>;;H LDJA9 D88JG >C I=: HJBB:G D;   6C9 I=6I I=:
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        LG>II:C 67JH: EG:K:CI>DC DG9:G >H CDI =:G =6C9LG>I>C<

      :;:C96CI %6I=GNC: ':N:G 6HH>HI:9 I=: "JBE=G>:H >C 8DC8:6A>C< ;G6J9 6<6>CHI
        *A6>CI>;;H 8DCHE>G:9 L>I= ,6<: "JBE=G>:H 6<6>CHI =:G E6G:CIH 6C9 A6I:G L=>A:

          @CDL>C< I=: ;6AH: 9:;6B6IDGN 6C9 :<G:<>DJH 6AA:<6I>DCH B69: 7N I=: "JBE=G>:H
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          L:G: ;6AH: 8DAAJ9:9 L>I= I=:B ID L>I==DA9 >C;DGB6I>DC DC BJAI>EA: D886H>DCH
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          G:<6G9>C< I=: ;G6J9 8DBB>II:9
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      :;:C96CIH ;67G>86I:9 6AA:<6I>DCH D; H:MJ6A 6HH6JAI 6<6>CHI *A6>CI>;;H JHIN 6C9

        -6NADG JIIDC EJGHJ:9 HEJG>DJH 8G>B>C6A 6C9 8>K>A 68I>DCH 6<6>CHI I=:B B69:

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          ;6AH: 6C9 B6A>8>DJH HI6I:B:CIH 67DJI I=:B 6C9 <:C:G6I:9 6 3+*/' (2/:@ 76H:9 DC
          I=:>G A>:H
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        :;:C96CIHW BDI>K:H ;DG B6@>C< I=:>G ;6AH: 8A6>BH 6C9 HI6I:B:CIH 6G: CDL 8A:6G
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           :;:C96CIH L6CI:9 ID >CI:CI>DC6AAN 9:HIGDN I=: JIIDCHW G:EJI6I>DCH 6C9 86G::GH
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           <6GC:G 6II:CI>DC ;DG I=:BH:AK:H 6C9 :MIG68I B>AA>DCH D; 9DAA6GH ;GDB *A6>CI>;;H >C 6
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          8>K>A A>I><6I>DC ;>A:9 ;DJG N:6GH 6;I:G G:8:>K>C< 6 E:GB6C:CI 67JH: EG:K:CI>DC DG9:G

          >C   L=:G: ,6<: "JBE=G>:H L6>K:9 BDC:I6GN 96B6<:H ID 8DC8:6A >AA:<6A

          EGDHI>IJI>DC 6C9 :K>9:C8: D; I=DH: >AA:<6A 68IH

          :;:C96CIH L:G: 6>9:9 >C I=DH: :;;DGIH 7N =:G I=:>G 96J<=I:G ,6<: "JBE=G>:H
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           :;:C96CI "6CC6= ,IDAGDL 6C9 :;:C96CI %6I=GNC: ':N:G
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        AI=DJ<= DC * #)* ),% )'(* &) &%) A6L :C;DG8:B:CI 8+0+):+* I=:
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           "JBE=G>:HW ;6AH: 6AA:<6I>DCH >C8AJ9>C< I=6I I=: >HIG>8I IIDGC:N D; ,DB:GK>AA:
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         ' ;DJC9 =:G ;6AH: 6AA:<6I>DCH ID 7: :CI>G:AN ;6AH: 6C9 9>9 CDI EJGHJ: 8G>B>C6A

         8=6G<:H 76H:9 DC I=: :K>9:C8: 6<6>CHI =:G
      -=: 96B6<: ID *A6>CI>;;H A>K:A>=DD9H 6C9 G:EJI6I>DCH >H (('(# 6C9 I=:N =6K:

           7::C EG:K:CI:9 6I :K:GN IJGC 7N :;:C96CIH I=:>G 6<:CIH 6;;>A>6I:H 6C9 I=>G9
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           E6GI>:H ;GDB H::@>C< A:<6A G:8DJGH: JCI>A CDL
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        H H::C ;JGI=:G =:G:>C :;:C96CIHW 8DC9J8I 7:<>CC>C< >C   6C9 L=>8=
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         8DCI>CJ:H ID96N L>AA DCAN 8:6H: L=:C I=:G: >H 8DCH:FJ:C8: ID I=:>G 68I>DCH

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                                        "  "!
        *A6>CI>;; JHIN JIIDC >H 6C >C9>K>9J6A L=D G:H>9:H 6C9 >H 9DB>8>A:9 >C 'NGIA:
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            :68= ,DJI= 6GDA>C6 'H JIIDC >H I=: L>;: D; *A6>CI>;; -6NADG JIIDC
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         *A6>CI>;; -6NADG JIIDC >H 6C >C9>K>9J6A L=D G:H>9:H 6C9 >H 9DB>8>A:9 >C 'NGIA:
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            :68= ,DJI= 6GDA>C6 'G JIIDC >H I=: =JH76C9 D; *A6>CI>;; JHIN JIIDC
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        .EDC >C;DGB6I>DC 6C9 7:A>:; :;:C96CI '>8=6:A "JBE=G>:H >H 6C >C9>K>9J6A L=D

           G:H>9:H 6C9 >H 9DB>8>A:9 >C &DH A6B>IDH 

        .EDC >C;DGB6I>DC 6C9 7:A>:; :;:C96CI '>86= "JBE=G>:H >H 6C >C9>K>9J6A L=D
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            G:H>9:H 6C9 >H 9DB>8>A:9 >C &DH A6B>IDH 
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         .EDC >C;DGB6I>DC 6C9 7:A>:; :;:C96CI %6I=GNC: ':N:G >H 6C >C9>K>9J6A L=D
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            G:H>9:H 6C9 >H 9DB>8>A:9 >C !6G9:C !GDK: 
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         .EDC >C;DGB6I>DC 6C9 7:A>:; :;:C96CI "6CC6= ,IDAGDL >H 6C >C9>K>9J6A L=D
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          G:H>9:H 6C9 >H 9DB>8>A:9 >C "6GIA6C9 /-

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         *A6>CI>;;H 6G: 8>I>O:CH D; I=: ,I6I: D; ,DJI= 6GDA>C6 ;DG EJGEDH:H D; 9>K:GH>IN
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            ?JG>H9>8I>DC JC9:G  . ,  P 
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         -=>H DJGI =6H DG><>C6A HJ7?:8I B6II:G ?JG>H9>8I>DC L>I= G:HE:8I ID I=>H 68I>DC
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            EJGHJ6CI ID  . ,  P  6H I=:G: :M>HIH 8DBEA:I: 9>K:GH>IN D; 8>I>O:CH=>E
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          7:IL::C *A6>CI>;;H 6C9 :;:C96CIH 6C9 I=: 6BDJCI >C 8DCIGDK:GHN :M8::9H

          H:K:CIN ;>K: I=DJH6C9 9DAA6GH           :M8AJH>K: D; >CI:G:HIH 6C9 8DHIH

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        :;:C96CIH '>8=6:A "JBE=G>:H '>86= "JBE=G>:H 6C9 %6I=GNC: ':N:G 6G:
          8>I>O:CH D; I=: ,I6I: D; 6A>;DGC>6 ;DG EJGEDH:H D; 9>K:GH>IN ?JG>H9>8I>DC JC9:G 
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           . ,  P 
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         *JGHJ6CI ID I=: :9:G6A +JA:H D; >K>A *GD8:9JG: @ I=>H DJGI B6N :M:G8>H:
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           E:GHDC6A ?JG>H9>8I>DC DK:G :;:C96CI "6CC6= ,IDAGDL 6H I=: :;:C96CI =6H
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          B>C>BJB 8DCI68IH L>I= I=: ;DGJB HI6I:

        *JGHJ6CI ID  . ,  P 7 K:CJ: >H EGDE:G >C I=>H DJGI 7:86JH: I=:

          :;:C96CIH G:H>9: >C I=>H 9>HIG>8I
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         -=: DJGI =6H <:C:G6A ?JG>H9>8I>DC DK:G :;:C96CIH '>8=6:A 6C9 '>86=
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           "JBE=G>:H 6C9 %6I=GNC: ':N:G 6H I=:N 6G: G:H>9:CIH D; I=>H ,I6I:
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         -=>H DJGI EDHH:HH:H E:GHDC6A ?JG>H9>8I>DC DK:G :;:C96CIH DC I=: <GDJC9H I=6I
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           :;:C96CIH '>8=6:A "JBE=G>:H '>86= "JBE=G>:H %6I=GNC: ':N:G 6C9 "6CC6=
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         ,IDAGDL 8DBB>II:9 6 IDGI>DJH 68I HJ8= 6H >C?JG>DJH ;6AH:=DD9 >C I=>H HI6I: 6H

         6AA:<:9 >C I=>H DBEA6>CI 6C9 DC I=: <GDJC9H I=6I :;:C96CIH 86JH:9 >C?JGN ID
         *A6>CI>;;H L>I=>C I=: HI6I: 6G>H>C< DJI D; 6C 68I DG DB>HH>DC 7N :;:C96CIH DJIH>9:

           D; I=>H HI6I: L=>A: 6I DG 67DJI I=: I>B: D; I=: >C?JGN EGD9J8IH B6I:G>6AH DG I=>C<H

           EGD8:HH:9 H:GK>8:9 DG B6CJ;68IJG:9 7N :;:C96CIH L:G: JH:9 DG 8DCHJB:9
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           L>I=>C I=>H HI6I: >C I=: DG9>C6GN 8DJGH: D; 8DBB:G8: IG69: DG JH:
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       /:CJ: >H EGDE:G >C I=>H 9>HIG>8I EJGHJ6CI ID  . ,  P 7 6C9 7

         7:86JH: 6 HJ7HI6CI>6A E6GI D; I=: :K:CIH DG DB>HH>DCH <>K>C< G>H: ID *A6>CI>;;HW

         8A6>BH D88JGG:9 >C I=>H 9>HIG>8I 7N K>GIJ: D; I=: IG6CHB>HH>DC 6C9 EJ7A>86I>DC D; I=:
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           ;6AH: 6C9 9:;6B6IDGN HI6I:B:CIH >C I=>H 9>HIG>8I 6C9 :AH:L=:G: 6C9 6AHD 7:86JH:
           :;:C96CIH 6G: HJ7?:8I ID I=>H DJGIWH E:GHDC6A ?JG>H9>8I>DC L>I= G:HE:8I ID I=>H
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            68I>DC 6C9 I=: :K:CIH L=>8= IDD@ EA68:
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                                  "#  #
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         *A6>CI>;; JHIN JIIDC L6H 6 -&(#(%&-% 76AA:G>C6 L=D IG6>C:9 6I I=:
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           $68FJ:A>C: %:CC:9N )C6HH>H ,8=DDA 6I I=: B:G>86C 6AA:I -=:6IG: >C (:L 2DG@

           >IN

        #C      H=: ?D>C:9 I=: +DN6A 6AA:I ,8=DDA >C &DC9DC 6C9 >C   H=: ?D>C:9
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            >GB>C<=6B +DN6A 6AA:I >C C<A6C9
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           #C   'H JIIDC 96C8:9 L>I= B:G>86C 6AA:I -=:6IG:
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         'H JIIDC >H 7:HI @CDLC ;DG =:G LDG@ L>I= I=: DHIDC 6AA:I L=>8= H=: ?D>C:9
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            >C   6C9 L6H EGDBDI:9 ID I=:>G =><=:HI EDH>I>DC D; EG>C8>E6A 76AA:G>C6 >C  
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       'H JIIDC L6H +:9 JAAWH ;>GHI 6C9 DCAN 76AA:I 6I=A:I: 6C9 =6H 7::C EJ7A>H=:9 >C

          B:9>6 EJ7A>86I>DCH 68GDHH I=: <AD7: 6C9 =6H EDH>I>K:AN >C;AJ:C8:9 =JC9G:9H D;
          I=DJH6C9H D; E:DEA: C6I>DC6AAN 6C9 >CI:GC6I>DC6AAN >C8AJ9>C< 7N E:G;DGB>C< 6C9
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            I:68=>C< >C DK:G I=>GIN 9>;;:G:CI 8DJCIG>:H 6C9 68GDHH I=: .C>I:9 ,I6I:H
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         *A6>CI>;; JHIN JIIDCWH #CHI6<G6B 688DJCI 9JHIN57JIIDC 6I I=: I>B: D; I=:
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            :K:CIH 9:H8G>7:9 =:G:>C 6B6HH:9 C:6GAN =6A; D; 6 B>AA>DC ;DAADL:GH 6C9
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          HJ7H8G>7:GH

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        'H JIIDC 9:A:I:9 =:G #CHI6<G6B 688DJCI >C   6;I:G HJ88JB7>C< ID IG6JB6
          ;GDB ),( 8N7:G 7JAAN>C< 6C9 =6G6HHB:CI L=>8= *A6>CI>;; :C9JG:9 6H 6 9>G:8I
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           G:HJAI D; :;:C96CIHW 8DC9J8I 6C9 H8=:B: ID 9:;6B: *A6>CI>;;H
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         *A6>CI>;; '>I8=:AA -6NADG JIIDC T-6NADG JIIDCU L6H DC: D; I=: LDGA9WH $&)*
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            %#+%* # 8JHIDB :GG6G> 6C9 B>A>I6GN K:=>8A: 9:H><C:GH 6C9 7J>A9:GH ;DG H:K:C
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          N:6GH 6EEGDM>B6I:AN ;GDB   S   L>I= =>H LDG@ =6K>C< 7::C EJ7A>H=:9 >C

          B:9>6 EJ7A>86I>DCH 68GDHH I=: <AD7: ;DG =>H 6JIDBDI>K: 9:H><C 7J>A9H 6C9 LDG@ >C

          I=: >C9JHIGN

         *A6>CI>;; =6H EDH>I>K:AN >C;AJ:C8:9 =JC9G:9H D; I=DJH6C9H D; E:DEA: C6I>DC6AAN 6C9

           >CI:GC6I>DC6AAN 6C9 =6H 7::C EGD8JG:9 ;GDB <AD76A DG<6C>O6I>DCH ;DG HE:6@>C<
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           :C<6<:B:CIH 6C9 8DBB>HH>DCH I=6I 8DCI>CJ: ID A>K: DC L>I= =>H A:<68N ID96N
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           9:HE>I: I=: 9:HIGJ8I>DC D; =>H A>;:WH LDG@ 7N :;:C96CIH
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       *A6>CI>;; -6NADG JIIDCWH #CHI6<G6B 688DJCI 7JIIDC57J>AI 6I I=: I>B: D; I=:

         :K:CIH 9:H8G>7:9 =:G:>C 6B6HH:9 C:6GAN =6A; D; 6 B>AA>DC ;DAADL:GH 6C9
         HJ7H8G>7:GH

         *A6>CI>;; -6NADG JIIDC 9:A:I:9 =>H #CHI6<G6B 688DJCI >C   6;I:G HJ88JB7>C< ID
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           IG6JB6 ;GDB ),( 8N7:G 7JAAN>C< 6C9 =6G6HHB:CI L=>8= *A6>CI>;; :C9JG:9 6H 6
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           9>G:8I G:HJAI D; :;:C96CIHW 8DC9J8I 6C9 H8=:B: ID 9:;6B: *A6>CI>;;H
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       H :MEA6>C:9 ;JGI=:G =:G:>C *A6>CI>;;HW C6B:H 6C9 A>@:C:HH -) I=:>G 7JH>C:HH 6C9

         <:C:G6I:9 DC: =JC9G:9 E:G8:CI D; I=:>G N:6GAN G:K:CJ: L=:G:6H *A6>CI>;;H

         I=:BH:AK:H 6C9 L=6I I=:N EGDK>9:9 ID I=:>G G:HE:8I>K: >C9JHIG>:H L6H )&##/ 76H:9
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             DC L=6I I=:N EGDK>9:9 6H I=:>G C6B: 7G6C9H @CDLC 6H JHIN JIIDC -6NADG
             JIIDC '>I8= '>I8=:AA JIIDC '>I8=:AA -6NADG JIIDC T-=: JIIDCHU JIIDC
  
              J>AI JIIDC G6C9 G6K69D 7N JHIN JIIDC ':>HIJGL:G@ 6C9 ':>HIJGL:G@
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              '68=>C:C
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             *A6>CI>;;HW :HI67A>H=:9 7JH>C:HH:H <DD9H 6C9 H:GK>8:H L:G:  (*#/ )&+( 6C9
  

             EGDK>9:9 ;GDB I=:>G <DD9 C6B:H I6A:CI :ME:GI>H: G:EJI6I>DCH H@>AAH

             B6CJ;68IJG>C< 6C9 B6G@:I>C< 86E67>A>I>:H L=>8= L:G: )5362+:+2? *+9:85?+* 7N

             :;:C96CIH

           I I=: I>B: D; I=: :K:CIH 9:H8G>7:9 =:G:>C '>8=6:A "JBE=G>:H L6H 6 A>8:CH:9

              EG68I>8>C< 6IIDGC:N 6C9 >H HI>AA 6 A>8:CH:9 EG68I>8>C< 6IIDGC:N >C ,:6A :68= 

           I I=: I>B: D; I=: :K:CIH 9:H8G>7:9 =:G:>C 6C9 JEDC 7:A>:; '>86= "JBE=G>:H L6H

              6 H:A; 688A6>B:9 BD9:A 6C9 68IG:HH


         I I=: I>B: D; I=: :K:CIH 9:H8G>7:9 =:G:>C 6C9 JEDC 7:A>:; %6I=GNC: ':N:G L6H 6

            A>8:CH:9 I=:G6E>HI
         I I=: I>B: D; I=: :K:CIH 9:H8G>7:9 =:G:>C :;:C96CI "6CC6= ,IDAGDL L6H 6

              76AA:G>C6 L>I= I=: DADG69D 6AA:I

           *A6>CI>;;H =6K: HJ;;:G:9 +% $ %# ADHH ID I=:>G 7JH>C:HH:H 86G::GH G:EJI6I>DCH

              ;>C6C8:H B:CI6A =:6AI= 6C9 DK:G6AA A>K:A>=DD9 6C9 L>AA 8DCI>CJ: ID HJ;;:G 6H 6
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       *52 #.D &33602@ <3 $605.29 B:=5?62@ 6@ 9<0.A21 6; )2.9 2.05  $605.29 B:=5?62@L /.? ;B:/2? 6@
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                          )'*&#(- ( '( )+ $.+2 -+#&
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          9>G:8I 6C9 EGDM>B6I: G:HJAI D; :;:C96CIHW ;6AH: 6AA:<6I>DCH 6C9 DJIG6<:DJH
          8DC9J8I ;DG I=: E6>C;JAAN ;DG:H::67A: ;JIJG:
  
         *A6>CI>;;H 6G: 8JGG:CIAN :CGDAA:9 >CID <DK:GCB:CI 6HH>HI:9 EGD<G6BH >C ,DJI=
  
           6GDA>C6 HJ8= 6H ,(* ;DG ;DD9 6C9 ':9>86>9 6H *A6>CI>;;H 6G: :ME:8I>C< I=:>G
  
           ;>GHI 8=>A9 I=: ;>GHI L::@ D; J<JHI  
  

        *A6>CI>;;H =6K: =69 67HDAJI:AN %& %&$ 6C9 =6K: =69 CD 67>A>IN ID <:C:G6I:

          >C8DB: 9J: ID :;:C96CIHW ,8';* 3'4/6;2':/54 6C9 !#-!#%+0. 8DC9J8I G:HJAI>C<

          >C ,6<: "JBE=G>:HW 8DC;>9:C8: >C EJGHJ>C< *A6>CI>;;H 6C9 I=: DJIG6<:DJH ;6AH:

           6AA:<6I>DCH 6II68=:9 ID I=:>G C6B:H G:HJAI>C< >C 7:>C< EG:K:CI:9 ;GDB 7:>C< 67A: ID

           <:C:G6I: %/ %&$ 6H 6 9>G:8I 6C9 EGDM>B6I: G:HJAI D; :;:C96CIHW %*%* &%#

            %# * &% & $&* &%#  )*()) 6C9 ($ DC *A6>CI>;;H L=>8= IDD@ 6L6N

           +<+8?:./4- I=6I I=:N =6K: :K:G LDG@:9 ;DG 6C9 K:GN C:6GAN I=:>G A>K:H


       H :MEA6>C:9 >C 9:I6>A ;JGI=:G =:G:>C :;:C96CIH /4:+4:/54'22? =/22,;22? 6C9

         3'2/)/5;92? *+9:85?+* *A6>CI>;;HW A>K:A>=DD9H 7JH>C:HH:H 6C9 ;JIJG: 67>A>IN ID
         <:C:G6I: LDG@ DG >C8DB: >C 7DI= D; I=:>G G:HE:8I>K: >C9JHIG>:H ;DG I=: ;DG:H::67A:

           ;JIJG: 6H I=:>G C6B:H A>@:C:HH 6C9 G:EJI6I>DCH L:G: I=:>G 86G::GH L=>8= L:G:

           &# *(* 6H 6 9>G:8I G:HJAI D; :;:C96CIHW ;G6J9JA:CI 68IH 9:;6B6IDGN

           HI6I:B:CIH 6C9 I=: $%/ :<G:<>DJH 8G>B>C6A 68IH 8DBB>II:9 6<6>CHI I=:B
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                                !"""  "!

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         #C   *A6>CI>;;H BDK:9 ID '6HH68=JH:IIH 6H JHIN JIIDC 7:86B: 6 8DBE6CN
            B:B7:G D; I=: DHIDC 6AA:I
  
            #C   JHIN L6H EGDBDI:9 ID DHIDC 6AA:IWH =><=:HI EDH>I>DC >C I=: 8DBE6CN
  
             6H *G>C8>E6A 76AA:G>C6
  
      ".+ +<+4:9 *+9)8/(+* /4 ,;8:.+8 *+:'/2 .+8+/4 '8+ ,853 :.+ 353+4: !'-+ ;36.8/+9
  

        *';-.:+8 5, +,+4*'4:9 /)'. '4* /).'+2 ;36.8/+9 /4:85*;)+* .+89+2, :5

                2'/4:/,,9 ;4:/2 :.+ );88+4: *':+ /4 =./). :./9 )5362'/4: /9 ,/2+*

         #C :8:B7:G D;   ,6<: "JBE=G>:H L=D L6H 6AHD 6 B:B7:G D; DHIDC

             6AA:I >CIGD9J8:9 =:GH:A; ID JHIN 6C9 HI6I:9 I=6I H=: 6C9 =:G BDI=:G ;DAADL:9

             7DI= *A6>CI>;;H DC #CHI6<G6B I=6I =:G BDI=:G L6CI:9 =:G ID B::I 6C9 7: ;G>:C9H

             L>I= *A6>CI>;;H

          #C :7GJ6GN D;   ,6<: "JBE=G>:H IDA9 *A6>CI>;;H =:G 7DN;G>:C9 6I I=: I>B:


           CI=DCN !>DK6CC> :6C: L6H ;DGIN N:6GH DA9 6C9 I=6I =:G BDI=:G 9>9 CDI 6EEGDK:

           D; =:G G:A6I>DCH=>E L>I= =>B 7:86JH: D; I=:>G 6<: 9>;;:G:C8:
        #C :7GJ6GN D;   ,6<: "JBE=G>:H 6AHD IDA9 *A6>CI>;;H I=: ;DAADL>C<

             •   ":G BDI=:G ;DG8:9 =:G ID 7: >C 6C 7:G8GDB7>: 69K:GI>H:B:CI 6I I=: 6<: D;

                 ;>;I::C L=:G: H=: L6H E6GI>6AAN CJ9: L>I= 6 B6C L=D L6H IL:CIN ;DJG N:6GH

                 DA9 6C9 H=: L6H E6GI>6AAN CJ9: 6C9 C:K:G EG:K:CI:9 =:G ;GDB 7:>C< >C


               8DBEGDB>H>C< EDH>I>DCH L>I= DA9:G B:C

           •   ":G BDI=:G 9GDEE:9 =:G D;; ID 6 9>CC:G L>I= 6 BJ8= DA9:G B6C L=D H=:
               8A6>B:9 H=: L6H 6 (><:G>6C EG>C8: L=:G: H=: DK:G 8DCHJB:9 6A8D=DA 7:;DG:
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              688DBE6CN>C< =>B 768@ ID =>H =DI:A L=:G: ,6<: 8A6>B:9 =: H:MJ6AAN 6HH6JAI:9
              =:G 6C9 6II:BEI:9 ID G6E: =:G 7:;DG: H=: HIGJ8@ =>B 6C9 :H86E:9 =>H =DI:A
  
               GDDB
  
           •   ":G BDI=:G E:GHJ69:9 6C9 DG JG<:9 =:G ID 6II:C9 E6GI>:H L>I= DA9:G L:6AI=N
  
               B:C L=D =69 >C;AJ:C8: >C I=: >C9JHIG>:H I=6I =:G BDI=:G L6CI:9 =:G ID 7:
  

              HJ88:HH;JA >C >C8AJ9>C< 7JI CDI A>B>I:9 ID I=: BD9:A>C< 6C9 68I>C< >C9JHIG>:H

          •   ":G BDI=:G E:GHJ69:9 =:G ID <D ID 6 0>A9 DM E6GIN L=:G: H=: BD9:A:9
              JC9:G6<: >C &DH C<:A:H ;DG 6 <GDJE D; 8:A:7G>I>:H L=:G: H=: HI6I:9 H=: L6H

               6<6>C H:MJ6AAN 6HH6JAI:9 7JI =:G E6G:CIH C:<A:8I:9 ID G:EDGI >I
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           •   ":G ;6B>AN 6GG6C<:9 BJAI>EA: 6II:BEI:9 >CI:GK:CI>DCH L>I= E:DEA: ;GDB I=:>G

               8=JG8= >C 6C 6II:BEI ID H=6B: ,6<: ;DG =:G ;DG =:G G:A6I>DCH=>E L>I= CI=DCN


             6I I=: I>B:

         •   ":G BDI=:G 8DCIGDAA:9 :K:GN 6HE:8I D; =:G A>;: >C8AJ9>C< L=6I H=: 6I: L=6I

             B:9>86I>DC H=: L6H DC =DL B6CN I>B:H 6C9 L=6I H=: H=DJA9 EDHI DC HD8>6A
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              B:9>6 6C9 L=D H=: H=DJA9 7: H::@>C< DJI ID <6>C 6C 69K6CI6<: ;GDB >C =:G
              86G::G
  
         '>86= 6C9 '>8=6:A "JBE=G>:HW C:K:G EGDI:8I:9 I=:>G 96J<=I:G 6C9 >CHI:69 JH:9
  
           B6C>EJA6I>DC 6C9 9:8:>I ID E6>CI 6 ;G6J9JA:CI E>8IJG: D; 6C TDK:GEGDI:8I>K:
  
           E6G:CIU C:<A:8I>C< I=:>G 9JI>:H ID EGDI:8I I=:>G 8=>A9 6C9 >CI:CI>DC6AAN B6@>C< =:G
  

          ;:6G;JA D; I=:>G 9>H6EEGDK6A D; I=: 8=D>8:H H=: B69: 6H 6C 69JAI G:HJAI>C< >C

          JAI>B6IJBH L=>8= LDJA9 A6I:G =6GB *A6>CI>;;H 6H 6 9>G:8I 6C9 EGDM>B6I: 86JH: D;

          I=:>G C:<A:8I

         &6I:G >C :7GJ6GN D;   ,6<: "JBE=G>:H 7:<6C HE:C9>C< BDG: I>B: L>I=

           *A6>CI>;;H 6I I=:>G =DB: 6C9 6I EA68:H =:G BDI=:G :C8DJG6<:9 HJ8= 6H 9>CC:GH 6C9

           :K:CIH L>I= *A6>CI>;;H >C8AJ9>C< :K:CIH L>I= +:9 JAA 6C9 DI=:G K6G>DJH 8DBE6C>:H

           L=:G: =:G BDI=:G H6L DEEDGIJC>IN


       ;I:G HE:C9>C< BDG: I>B: L>I= *A6>CI>;;H ,6<: "JBE=G>:H IDA9 *A6>CI>;; -6NADG

         JIIDC T - ) +)*/ -&+# -%* *& ,  *()&$U
       6NH A6I:G 6C9 ;DAADL>C< I=6I HI6I:B:CI *A6>CI>;; ,6<: "JBE=G>:H >C>I>6I:9 I=:

           ;>GHI H:MJ6A :C8DJCI:G L>I= *A6>CI>;; -6NADG JIIDC 7N ;DAADL>C< =>B ID I=:

           76H:B:CI D; 6 $6E6C:H: G:HI6JG6CI L=:G: *A6>CI>;; L=:C ID JH: I=: G:HIGDDB DC

           =>H L6N 768@ ;GDB I=: 76H:B:CI ,6<: "JBE=G>:H E6HH:9 *A6>CI>;; DC I=: HI6>GH


         <G677:9 =>H ;68: 6C9 @>HH:9 =>B HI6I>C< T 5, % -%* % *& & ** &( )& #&%

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        #C I=: ;DAADL>C< 96NH ,6<: "JBE=G>:H 7:<6C HE:C9>C< BDG: I>B: L>I= *A6>CI>;;H
           B6@>C< >I 6 =67>I D; HA::E>C< DK:G 6I *A6>CI>;;H =DB: 6C9 :K:CIJ6AAN HA::E>C< >C
  
            I=:>G 7:9
  
         #C '6G8= D;   ,6<: "JBE=G>:H 7:<6C 7G>C<>C< =:G 7:ADC<>C<H 96>AN ID
  
            *A6>CI>;;HW 6E6GIB:CI >C8AJ9>C< 7JI CDI A>B>I:9 ID =:G 8ADI=:H E>6CD 6C9 7DC<H
  

           L=>8= H=: JH:9 ;DG B6G>?J6C6 EG>DG ID B::I>C< *A6>CI>;;H 6H *A6>CI>;;H 9>9 CDI JH:

           B6G>?J6C6 DG 6CN G:8G:6I>DC6A 9GJ<H

          #C '6G8= D;   '>86= "JBE=G>:H >C>I>6I:9 6 T<GDJE I:MIU B:HH6<>C< *A6>CI>;;H

            67DJI CJB:GDJH IDE>8H >C8AJ9>C< 7JI CDI A>B>I:9 ID G:FJ:HI>C< *A6>CI>;;HW =:AE L>I=

            =:G B6C6<:B:CI D; ,6<:WH 86G::G HD8>6A B:9>6 L:7H>I: KD86A G:8DG9>C<H 6C9

            BJH>8 K>9:DH HI6I>C< H=: L6CI:9 =:G 96J<=I:G ID 7: 6H HJ88:HH;JA 6H *A6>CI>;;H

         #C I=: ;DAADL>C< 96NH '>86= "JBE=G>:H >CK>I:9 *A6>CI>;;H ID 6A>;DGC>6 ID


          8:A:7G6I: 6HI:G 6C9 ID 8:A:7G6I: *A6>CI>;; -6NADG JIIDCWH 7>GI=96N L=>8= >H DC

          EG>A 
       )C '6G8=    '>86= "JBE=G>:H H:CI 6 ;A><=I >I>C:G6GN ;DG ,6<: 6C9 ;DG

            *A6>CI>;;H 8DC;>GB>C< I=:>G IG>E ID I=: "JBE=G>:HW =DB: >C 6A>;DGC>6 DC I=:

            L::@:C9 D; EG>A  S   

         )C DG 6GDJC9 EG>A    '>86= "JBE=G>:H 86AA:9 =:G 96J<=I:G 6H H=: L6H


          ;JG>DJH I=6I H=: =69 CDI N:I G:IJGC:9 =:G >*=DC: >C I=: B6>A E:C9>C< 6C JE<G69:

          G:HJAI>C< >C '>86= "JBE=G>:HW 688DJCI 7:>C< 8=6G<:9           9J: ID I=: A6I: ;::

          >C8JGG:9 ,6<: E6C>8@:9 6C9 HI6I:9 ID *A6>CI>;;H H=: 9:HE:G6I:AN 4++*+* ID JEAD69
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          6AA D; =:G E=DIDH >C DG9:G ID :G6H: =:G E=DC: 7:;DG: H:C9>C< >I 768@ ID I=: H:GK>8:
          EGDK>9:G 6C9 G:FJ:HI:9 ID JEAD69 =:G 86B:G6 GDAA ;GDB =:G E=DC: DCID *A6>CI>;;HW
  
           =6G9 9G>K: ID H6K: 6AA D; =:G E=DIDH EG>DG ID G:IJGC>C< >I *A6>CI>;;HW D7A><:9 6C9
  
           ,6<: JEAD69:9 =:G E=DIDH >C DG9:G ID EG:K:CI ADH>C< =:G 86B:G6 GDAA
  
         *A6>CI>;;H A6I:G B6>A:9 ,6<:WH >*=DC: 768@ ;DG =:G K>6 .,*, DC G:FJ:HI 6C9 86AA:9
  

          I=: H:GK>8: EGDK>9:G ID G:8:>K: 6 ;JAA G:;JC9 ;DG '>86= "JBE=G>:H :6H>C< =:G

          ;GJHIG6I>DC L>I= =:G 96J<=I:G

        #C EG>A D;   ,6<: G:8:>K:9 DK:G IL:CIN E=DC: 86AAH >C 6 GDL ;GDB =:G 7GDI=:G

           '>8=6:A L=D 8DCI>CJDJHAN 6C9 G:E:I>I>K:AN 86AA:9 =:G 7:86JH: H=: LDJA9 CDI

           6CHL:G =>H 86AAH 6H H=: L6H 9D>C< 8DAA:<: 8DJGH:H 6C9 EG:E6G>C< ;DG H8=DDA

           '>8=6:A 688JH:9 =:G I=:C D; 7:>C< 8DCIGDAA:9 7N *A6>CI>;;H 6C9 7:>C< TJC<D9ANU

           CDI T;JA;>AA>C< !D9H EA6C ;DG =:GH:A;U 6C9 HI6I>C< H=: L6H TADHIU


       #C I=: ;DAADL>C< 96NH '>86= "JBE=G>:H G:FJ:HI:9 ID *A6>CI>;;H I=6I ,6<: 7:8DB:

         6 E6GI D; *A6>CI>;;HW >ADJ9 ;6B>AN EA6C >C DG9:G ID 6KD>9 >HHJ:H L>I= ,6<: 6C9 =:G
         7GDI=:G '>8=6:A L=D L:G: 6G<J>C< DK:G >-JC:H L=:C IGN>C< ID EA6N BJH>8 6I I=:

           H6B: I>B: *A6>CI>;;H D7A><:9 6C9 699:9 ,6<: ID I=:>G >ADJ9 ;6B>AN EA6C

         )C EG>A    *A6>CI>;;H 6C9 ,6<: "JBE=G>:H 6GG>K:9 >C 6A>;DGC>6 6C9 L:CI

           ID 9>CC:G L>I= I=: "JBE=G>:HW ;6B>AN L=:G: '>86= 6C9 '>8=6:A "JBE=G>:H
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         DG9:G:9 9G>C@H ;DG :K:GNDC: >C8AJ9>C< I=:>G 96J<=I:G ,6<: L=D L6H CDI N:I

         IL:CIN DC:

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        )C I=: C><=I D; EG>A  G6I=:G I=6C HA::E>C< 6I ,6<: "JBE=G>:HW E6G:CIHW =DJH:
          ;DG I=: H:8DC9 C><=I ,6<: >CH>HI:9 I=: I=:N 6AA <D ID =:G E6G:CIHW T7:68= =DJH:U
  
           L=>8= 9DJ7A:9 6H 6 TA6L D;;>8:U ;DG :;:C96CI '>8=6:A "JBE=G>:H
  
         '>86= 6C9 '>8=6:A "JBE=G>:H =69 HID8@:9 I=: ;G>9<: >CH>9: L>I= 6A8D=DA ;DG
  
           :K:GNDC: >C8AJ9>C< I=:>G 96J<=I:G
  

        ,6<: HI6I:9 ID *A6>CI>;;H I=6I H=: =69 6 THJGEG>H:U ;DG -6NADGWH 7>GI=96N L=:G:6H

          H=: >C>I>6I:9 I=: ;>GHI I=G:: L6N H:MJ6A 6C9 :BDI>DC6A :C8DJCI:G I=6I :K:C>C< 6H 6

          EGDK:G7>6A T7>GI=96N <>;IU ;DG *A6>CI>;;H -6NADG JIIDC 6C9 JHIN JIIDC I=JH

           7AJGG>C< I=: A>C:H 7:IL::C ;G>:C9H=>E 6C9 G:A6I>DCH=>E

         )C I=: BDGC>C< D; EG>A    ,6<:WH ;6I=:G L6A@:9 >C DC I=: I=G:: CJ9:

           ID<:I=:G >C 7:9 6C9 L=>A: B6@>C< JC7GD@:C :N: 8DCI68I H>BEAN G:B>C9:9 ,6<:

           "JBE=G>:H D; =:G 9:CI>HI 6EED>CIB:CI I=6I BDGC>C< 6C9 A:;I A6I:G 9>G:8I>C<


         *A6>CI>;;H L=:G: I=: 7:HI 8D;;:: EA68: >C IDLC L6H 6C9 86GG>:9 DC ;DG I=: G:HI D; I=:

         IG>E 6H >; CDI=>C< =6EE:C:9
       ,6<: I=:C H:CI 6 B:HH6<: ID *A6>CI>;;H HI6I>C< T":N <JNH 6AA <DD9U *A6>CI>;;H

           G:EA>:9 T2:6 L: L:G: <D>C< ID E>8@ NDJG ;6B>AN JE 6 <>;I 7JI L: I6A@:9 ID NDJG

           969 6C9 =: H::B:9 8DBEA:I:AN CDGB6A HD # I=>C@ >IWH D@6NU ID L=>8= ,6<: G:EA>:9

           T#IWH 6C 6HI:G B>G68A:U


       '>8=6:A 6C9 '>86= "JBE=G>:H =69 *+# "%&-# D; ,6<: "JBE=G>:HW

         G:A6I>DCH L>I= *A6>CI>;;H 6C9 H6>9 CDI=>C< JCI>A ,6<: "JBE=G>:HW K>:LH 6C9

         9:8>H>DCH 6H 6C 69JAI 7:<6C 9>;;:G>C< ;GDB =:G E6G:CIHW
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           DAADL>C< I=: >CI>B6I: G:A6I>DCH L=>8= IDD@ EA68: DC EG>A I=   ,6<:
            "JBE=G>:H 6C9 *A6>CI>;;H 9:8>9:9 ID 8DCI>CJ: I=:>G G:A6I>DCH=>E JAI>B6I:AN
  
             A67:A>C< :68= DI=:G 6H T7DN;G>:C9U 6C9 T<>GA;G>:C9U 6C9 HE:C9>C< BDHI D; I=:>G
  
             I>B: ID<:I=:G 6H ,6<: "JBE=G>:H 6H@:9 *A6>CI>;;H >; H=: 8DJA9 8DCI>CJ: ID HI6N 6I
  
             I=:>G 6E6GIB:CI
  

           DAADL>C< I=: EG>A IG>E ID 6A>;DGC>6 '>86= "JBE=G>:H >C>I>6I:9 6CDI=:G T<GDJE

            I:MIU L>I= =:G 96J<=I:G 6C9 *A6>CI>;;H L=>8= L6H I=:C G:<JA6GAN JH:9 6H 6C DE:C

            A>C: D; 8DBBJC>86I>DC

         '>86= "JBE=G>:HW B:HH6<:H >C8G:6H:9 G:<JA6GAN H:C9>C< *A6>CI>;;H G:FJ:HIH ;DG

             =:G 96J<=I:GWH 86G::G >C8AJ9>C< 7N 6H@>C< >; *A6>CI>;; -6NADG JIIDC 8DJA9 6<6>C

             =:AE L>I= B6C6<>C< ,6<:WH L:7H>I: HD8>6A B:9>6 6C9 BJH>8 86G::G 6H@>C< >; =:

             8DJA9 EJG8=6H: 8:GI6>C :FJ>EB:CI ;DG KD86A G:8DG9>C<H 6C9 E=DID<G6E=N


       '>86= "JBE=G>:H 8DCI>CJDJHAN HI6I:9 I=6I *A6>CI>;;H L:G: I=: 7:HI I=>C< ID :K:G

           =6EE:C ID =:G 96J<=I:G 6C9 I=6C@:9 I=:B ;DG 7:>C< HJ8= 6 <G:6I >C;AJ:C8: DC =:G
           6H H=: 8DJA9 CDI>8: 6 9>;;:G:C8: >C =:G 7:=6K>DG 8DC;>9:C8: 6C9 LDG@ :I=>8

             7:86JH: D; *A6>CI>;;HW >C;AJ:C8:

         -=:G: L:G: >CCJB:G67A: D886H>DCH L=:G: '>86= "JBE=G>:H 699G:HH:9 =:G

             <G6I>IJ9: ;DG *A6>CI>;;H 7:>C< >C =:G 96J<=I:GWH A>;: K>6 I=: T<GDJE I:MIU >C>I>6I:9 7N


           '>86= "JBE=G>:H ID *A6>CI>;;H 6C9 ,6<: "JBE=G>:H >C8AJ9>C< 7JI 8:GI6>CAN CDI

           A>B>I:9 ID I=: ;DAADL>C< B:HH6<: ;GDB '>86= DC '6N   

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         &6I:G >C '6N D;   'H "JBE=G>:HW E6G:CIH 6<6>C >CK>I:9 *A6>CI>;; -6NADG
  
            JIIDC ID I=:>G =DB: DC ILD D886H>DCH L=>A: =: L6H I=:G: ;DG LDG@ >C L=>8= =:
  
            D7A><:9
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                 )C DC: HJ8= D886H>DCH >C EG>A L=:C *A6>CI>;; -6NADG JIIDC L6H >CK>I:9

           ID I=: "JBE=G>:HW =DB: '>86= 6C9 '>8=6:A "JBE=G>:H H=D8@>C<AN 6H@:9
           -6NADG ID =:AE 86GGN '>86=WH 9:8:6H:9 <G6C9BDI=:GWH 7D9N >C 6 EANLDD9 7DM

            ;GDB I=: 768@ D; 6 E>8@JE IGJ8@ >CID I=:>G <6G6<: 6H I=:N 9>9 CDI L6CI ID E6N ;DG

            8DA9 HIDG6<: '>86= I=:C EGD8::9:9 ID K>9:D I6E: I=: >C8>9:CI ;GDB =:G 7G6 L=>A:

            -6NADG L=D L6H DC 68:I>B: K>9:D L>I= =>H L>;: JHIN 6C9 ,6<: ;DJC9 >I D99


          6C9 JC8DB;DGI67A: 6C9 I=: G:HI D; I=: "JBE=G>:HW ;6B>AN A6J<=:9 67DJI I=:

          >C8>9:CI

               I I=: :C9 D; EG>A   'H "JBE=G>:HW E6G:CIH B69: >I 8A:6G I=6I I=:N
          @C:L H=: L6H >C 6 96I>C< G:A6I>DCH=>E L>I= 7DI= *A6>CI>;;H L=:G:6H 6I ;>GHI 'H

            "JBE=G>:HW E6G:CIH 688:EI:9 I=: G:A6I>DCH=>E 7N ;68:I>B>C< *A6>CI>;;H 6C9 6H@>C<

            >; H=: 8DJA9 BDK: >C L>I= I=:B E:GB6C:CIAN ID H6K: BDC:N 6C9 I=6I I=:N @C:L

            ,6<:WH 9:H>G: L6H ID BDK: >C L>I= I=:B 6C9 L6CI:9 ID B6@: HJG: >I L6H D@6N L>I=


          *A6>CI>;;H 699>I>DC6AAN 9>H8JHH>C< HIDG>C< ,6<:W ;JGC>IJG: HD I=:N 8DJA9 JH: >I ;DG

          =:G 7GDI=:G L=D L6H 6II:C9>C< H8=DDA >C DHIDC ' I=: ;DAADL>C< N:6G

               -=: ;DAADL>C< B:HH6<: L6H H:CI 7N '>86= "JBE=G>:H ID I=: T<GDJE I:MIU
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                #C '6N D;   '>86= "JBE=G>:H K>H>I:9 *A6>CI>;;HW =DB: >C ,DB:GK>AA:

           ' 6C9 HI6N:9 DK:G ;DG DC: C><=I 9JG>C< =:G K>H>I 6H H=: 6H@:9 *A6>CI>;;H >; H=:

           8DJA9 HI6N ID 6KD>9 E6N>C< ;DG 6 =DI:A 6C9 @C:L I=6I ,6<: L6H HI6N>C< 6I

           *A6>CI>;;HW =DB: I=: B6?DG>IN D; I=: I>B:
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                  JG>C< =:G K>H>I H=: B69: K6G>DJH 8DBB:CIH DC *A6>CI>;;H 8DAA:8I>DCH D;
             AJMJGN >I:BH L=>8= L:G: DC 9>HEA6N >C I=:>G =DB: >C8AJ9>C< 7JI CDI A>B>I:9 ID
  
              I=:>G 8DAA:8I>DC D; &DJ>H /J>IIDC 76<H 7>8N8A:H H=D:H ;JGC>IJG: 6C9 I=: 9>HEA6N D;
  
              6>GHD;I IDN <JCH L=>8= L:G: JH:9 6H EGDEH >C BJAI>EA: B6G@:I>C< 6C9 86BE6><C
  
              E=DID H=DDIH ;DG K6G>DJH 7G6C9H 6C9 HEDCHDGH D; *A6>CI>;;H DC HD8>6A B:9>6 CDC:
  

             D; L=>8= L:G: G:6A ;>G:6GBH '>86= "JBE=G>:H 6C9 ,6<: "JBE=G>:H 7DI= @C:L

             I=>H ID 7: IGJ: 6H H::C >C ILD D; I=: B6CN E=DIDH 7:ADL

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                   #C DG 6GDJC9 I=: 7:<>CC>C< D; '6N '>86= "JBE=G>:H G:B>C9:9 ,6<: ID

           <:I =:G E6HHEDGI G:C:L:9 ;DG 6 IG>E ID JGDE: L=>8= ;DAADL:9 6 EA6CC:9 K>H>I ID


         ,8DIA6C9 ;DG 6 ;6B>AN B:B7:GWH L:99>C<

                 )C '6N    '>86= "JBE=G>:H H:CI 6 I:MI B:HH6<: DC I=: T<GDJE
         I:MIU HI6I>C< I=6I >I =6H 7::C 6 9>;;>8JAI N:6G ;DG I=:>G ;6B>AN 6C9 I=6I ,6<: >H
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          699>C< ID I=:>G 9>;;>8JAI N:6G 7N CDI 7:>C< G:HEDCH>7A: > : E6N>C< ;DG =:G DLC
          7>AAH <:II>C< =:G E6HHEDGI DC I>B: 6C9 HI6I>C< I=6I I=: N:6G L6H 6AG:69N 9>;;>8JAI
  
           ;DG I=:B 7:86JH: ,6<: L6H EG:K>DJHAN >C 6 G:A6I>DCH=>E L>I= CI=DCN L=D L6H
  
           DA9 :CDJ<= ID 7: ,6<:WH ;6I=:G 6C9 I=6I >I IDD@ 6 IDAA DC I=:B
  
                #C '6N D;   ,6<:WH E6G:CIH H:CI I=: HJBB:G >I>C:G6GN I=:N EA6CC:9 ;DG
  

          =:G <>K>C< =:G 96I:H >C L=>8= H=: L6H 6AADL:9 ID B6@: =:G DLC EA6CH ;DG I=:

          HJBB:G DC I=: 96I:H I=:N 9>9 CDI 6AG:69N =6K: 7DD@:9 ;DG =:G I=DJ<= H=: L6H 6C

          69JAI L=:G:6H ,6<: "JBE=G>:H B69: >I 8A:6G I=6I H=: 6AG:69N B69: EA6CH L>I=

           *A6>CI>;;H ID IG6K:A ID JHIG6A>6 7JI LDJA9 69?JHI =:G H8=:9JA: ID 6AHD ;>I >C L=6I

           =:G E6G:CIH H8=:9JA:9 ;DG =:G

           •   -=: ;DAADL>C< I:MI L6H H:CI ID *A6>CI>;;H 6C9 ,6<: "JBE=G>:H DC 6 <GDJE I:MI
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             ;GDB '>86= "JBE=G>:H

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                  *A6>CI>;;H L:G: >CK>I:9 ID I:68= 6C9 E=DID<G6E= >C JHIG6A>6 6H *A6>CI>;;

             JHIN JIIDC L6H 6 H8=:9JA:9 I:68=:G ;DG I=: #CI:GC6I>DC6A 6AA:I 0DG@H=DEH

             L=>8= IDJG:9 JHIG6A>6 ;DG C:6GAN ILD BDCI=H


                ,6<: "JBE=G>:H 6H@:9 >; H=: 8DJA9 6HH>HI JHIN >C =:G 8A6HH:H >C JHIG6A>6

           ID B6@: 6 HJBB:G IG>E DJI D; *A6>CI>;;H IG6K:AH
                ,6<: I=:C B69: I=: 9:8>H>DC ID IG6K:A ID JHIG6A>6 L>I= *A6>CI>;;H

             >C;DGB>C< =:G BDI=:G I=6I H=: LDJA9 7: IG6K:A>C< L>I= I=:B ID JHIG6A>6 6C9

             LDJA9 I=:C K>H>I =:G ;6B>AN >C 6A>;DGC>6 6C9 IG6K:AA>C< L>I= I=:B ID JGDE:
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             6AI:G>C< =:G E6G:CIHW EA6C I=:N EA6CC:9 ;DG =:G
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                    )C DG 6GDJC9 '6N    ,6<: "JBE=G>:H 86AA:9 =:G 7:HI ;G>:C9 6C9
          :;:C96CI >C I=>H 68I>DC "6CC6= ,IDAGDL I:AA>C< =:G I=6I H=: >H T>C ADK:U L>I=
  
           7DI= JHIN 6C9 -6NADG
  
                     'H ,IDAGDL HJEEDGI:9 ,6<:WH 9:8>H>DC 6C9 A6I:G IDA9 JHIN 6C9 -6NADG
  
              I=6I H=: =6H C:K:G H::C =:G 7:HI ;G>:C9 HD =6EEN
  

                    )C '6N    '>86= "JBE=G>:H I:MI:9 =:G 96J<=I:G L>I= 6 L6GC>C<

             I=6I >; H=: 9>9 CDI :C9 =:G G:A6I>DCH=>E L>I= *A6>CI>;;H H=: LDJA9 ;AN ID DHIDC

             ;GDB 6A>;DGC>6 L>I= =:G =JH76C9 6C9 ;DG8>7AN G:BDK: ,6<: 6C9 T8DB: ID I6@: =:G

              I=>C<HU
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                     ,6<: ><CDG:9 =:G BDI=:GWH I=G:6I:C>C< B:HH6<: 6C9 >CHI:69 8DCI>CJ:9 =:G

              G:A6I>DCH=>E L>I= *A6>CI>;;H 6H H=: :MEG:HH:9 I=6I L6H =:G 9:H>G:

                     &6I:G I=6I 96N '>86= "JBE=G>:HW H:CI 6CDI=:G I:MI B:HH6<: ID ,6<: I=>H


            I>B: H=: L6H ;JG>DJH ;DG<:II>C< I=6I ,6<: EG:K>DJHAN IDA9 =:G H=: L6H <D>C< ID

            JHIG6A>6 6C9 HI6I>C< I=6I 6 ;6B>AN ;G>:C9 G %:HI:C =69 >C;DGB:9 =:G I=6I =:G
            96J<=I:G L6H <D>C< ID JHIG6A>6 L>I= *A6>CI>;;H

                      DAADL>C< I=>H B:HH6<: I=:G: L6H 6 8DBEA:I: 6C9 9G6HI>8 IJGC D; :K:CIH 6H

              ,6<: "JBE=G>:H L6H E:GH>HI:CI I:AA>C< =:G BDI=:G I=6I H=: L6CI:9 ID B6@: =:G

              DLC 9:8>H>DCH -=: ;DAADL>C< 8DCK:GH6I>DC L6H I=: G:HJAI D; ,6<: "JBE=G>:H
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            I:AA>C< =:G BDI=:G H=: L6CI:9 ID B6@: =:G DLC 9:8>H>DC G:<6G9>C< =:G HJBB:G

            EA6CH L>I= *A6>CI>;;H -=:H: I:MIH 6G: EGDK>9:9 >C M=>7>I  6II68=:9 ID

            *A6>CI>;;HW 8DBEA6>CI
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          • /)'. ;36.8/+9 :5 !'-+ T-=:N 6G: CDI NDJG B6HI:GH # 9DCWI @CDL L=6I
  
              8DCIGDA #WB EG:IIN HJG: I=>H >H 6 I=G::HDB: 6C9 #WB 8DBEA:I:AN L:>G9:9 DJI 7N
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              6AA D; >I 2DJWK: @CDLC I=:B  BDCI=H # ADK: NDJ H6<: 7JI I=>H H>IJ6I>DC >H
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          • !'-+ ;36.8/+9 8+9654*+* :5 .+8 35:.+8  TJHIN >H I:MI>C< NDJ

             G:<6G9>C< L=6I NDJ H6>9 67DJI =:G ID 9G @  NDJ 6G: E6G6CD>9 6C9 HDJC9

             8G6ON G:<6G9>C< I=>H G:A6I>DCH=>E
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           • /)'. ;36.8/+9 8+62/+* T#I >H L:>G9 ,6<:U
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           • !'-+ ;36.8/+9 8+62/+*  TI=>H >H BN 8=D>8:U
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         • /)'. ;36.8/+9 T,6<:U

         • !'-+ ;36.8/+9 TBN A>;: BN HJBB:GU
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           • /)'. ;36.8/+9 T# ADK: NDJ L>I= 6AA BN =:6GIU
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           • !'-+ ;36.8/+9 T(D7D9N >H 8DCIGDAA>C< BN A>;: 2DJ 6G: I=: DCAN E:GHDC
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              IGN>C< ID 9D HDU
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              DAADL>C< I=: 6G<JB:CI 7:IL::C ,6<: 6C9 =:G BDI=:G >I L6H I=:C B69:

         67JC96CIAN 8A:6G I=6I '>86= 6C9 '>8=6:A "JBE=G>:H =69 6 C:L EA6C ID G:<6>C I=:

          8DCIGDA D; I=:>G 96J<=I:G 6H ,6<: L6H B6@>C< =:G DLC 9:8>H>DCH L=>8= 9>9 CDI
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           6A><C L>I= I=:>G DLC
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                    DAADL>C< I=: 8DCK:GH6I>DC ,6<: "JBE=G>:H IDA9 *A6>CI>;;H I=6I =:G
            E6G:CIH LDJA9 CD ADC<:G E6N ;DG I=: G:C:L6A D; =:G E6HHEDGI >C DG9:G ID <D ID
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              JGDE: 7:86JH: H=: =69 B69: I=: 9:8>H>DC ID <D ID JHIG6A>6
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                  ,6<: 6H@:9 >; *A6>CI>;;H LDJA9 E6N ;DG =:G E6HHEDGI G:C:L6A HD I=6I H=:
  
              8DJA9 <D ID JHIG6A>6 L>I= I=:B 6C9 I=6I H=: LDJA9 E6N I=:B 768@ ;DG I=:
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             G:C:L6A

                  *A6>CI>;;H >BB:9>6I:AN L:CI ID .,*, L>I= ,6<: 6C9 E6>9 ID GJH= =:G

             E6HHEDGI G:C:L6A ;DG I=: HJBB:G IG6K:AH
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                  )C '6N    '>86= "JBE=G>:H H:CI 6 I:MI B:HH6<: ID I=: T<GDJE
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             I:MIU G:HEDC9>C< ID I=: :6GA>:G 8DCK:GH6I>DC
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                  '#  ##+
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                  '>86= "JBE=G>:H =69 C:K:G EA6CC:9 6 ;JC:G6A DC $JC:  7JI >CHI:69
  
           JH:9 I=: 96I: D; $JC:  6;I:G ;>C9>C< DJI =:G 96J<=I:GWH 9:H>G: L6H ID <D ID
  

          JHIG6A>6

                 )C '6N    C:>I=:G *A6>CI>;;H DG ,6<: "JBE=G>:H =:6G9 ;GDB =:G

             BDI=:G ;DAADL>C< ,6<: "JBE=G>:HW 9:8>H>DC ID <D ID JHIG6A>6 L=>8= H=: 9>9 CDI
             6AI:G ;DAADL>C< I=: 8DCK:GH6I>DC L>I= =:G BDI=:G

                  )C '6N C9   ID *A6>CI>;;HW H=D8@ *A6>CI>;; JHIN JIIDCWH 8DCIG68I

              L>I= I=: DHIDC 6AA:I L6H 67GJEIAN 6C9 EG:B6IJG:AN I:GB>C6I:9 ;DG T?JHI 86JH:U

              L>I= CD :MEA6C6I>DC 6H ID L=N H=: L6H I:GB>C6I:9 76CC>C< JHIN 6C9 -6NADG


            ;GDB I=: EG:B>H:H D; I=: DHIDC 6AA:I 6C9 DHIDC )E:G6 "DJH: CDL >I>O:CWH

            6C@ )E:G6 "DJH: L=:G: I=: DHIDC 6AA:I E:G;DGB6C8:H L:G: =:A9 6C9 >C ;68I

            LDJA9 CDI 6AADL JHIN >C :>I=:G 7J>A9>C< ID 8DAA:8I =:G 7:ADC<>C<H

                  *A6>CI>;; JHIN JIIDC .'9 4+<+8 8+)+/<+* ' 8+'954 58 )';9+ ,58 .+8

              :+83/4':/54 ,853 59:54 '22+: CDG L6H 6 G:6HDC C6B:9 >C I=: D;;>8>6A

              9D8JB:CI6I>DC =DL:K:G *A6>CI>;;H CDL @CDL '>86= 6C9 '>8=6:A "JBE=G>:H

              8DCHE>G:9 L>I= DHIDC 6AA:I ID EG:B6IJG:AN I:GB>C6I: JHIN JIIDCWH K:GN


            ;>C6C8>6AAN AJ8G6I>K: 6C9 EG:HI><>DJH 8DCIG68I 6H :MEA6>C:9 ;JGI=:G =:G:>C

                )C '6N I=   L>I=DJI 6CN EG>DG CDI>8: ,6<: "JBE=G>:HW E6G:CIH
            H:CI =:G 6 I:MI B:HH6<: I=6I I=:N L:G: >C DHIDC ' DG9:G>C< =:G ID 6II:C9
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             9>CC:G 6C9 ;6AH>;N>C< I=6I 'H "JBE=G>:HW <G6C9;6I=:G L6H T9N>C<U =: L6H CDI
             #C ;68I :;:C96CIH A6I:G 69B>II:9 I=:N 8G:6I:9 I=6I A>: ID :CI>8: ,6<: ID 8DB: 768@
  
              ID 6A>;DGC>6 L>I= I=:B
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                  )C '6N    ,6<: "JBE=G>:H L:CI ID H:: 6 BDK>: L>I= *A6>CI>;;
  
             -6NADG JIIDC EG>DG ID =:G E:G;DGB6C8: L>I= DHIDC 6AA:I 6H *A6>CI>;; JHIN
  

            JIIDC L6H I:68=>C< 67DJI ;DGIN ;>K: B>CJI:H 6L6N

                  DAADL>C< I=: BDK>: *A6>CI>;; -6NADG JIIDC L6A@:9 L>I= ,6<:

            "JBE=G>:H ID I=: DHIDC )E:G6 "DJH: 6C9 I=: ILD E6GI:9 L6NH
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                  )C '6N I=   6;I:G L::@H D; =6G6HH>C< I=:>G 96J<=I:G G:<6G9>C< I=:

              9>H6EEGDK6A D; I=: G:A6I>DCH=>E L>I= *A6>CI>;;H '>86= 6C9 '>8=6:A "JBE=G>:H

             IDD@ 6 ;A><=I ;GDB 6A>;DGC>6 ID '6HH68=JH:IIH @>9C6EE:9 I=:>G '*;2: *';-.:+8
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           JC9:G ;6AH: EG:I:CH:H HIDA: =:G E=DC: 9G>K:GWH A>8:CH: 6C9 ;JC9H ;GDB =:G 76C@

           688DJCI ;DG8:9 =:G DCID 6 EA6C: 768@ ID 6A>;DGC>6 T>CID :MDG8>HBHU 6C9 >CID
           I=:G6EN 7:86JH: I=:N 9>9 CDI 6EEGDK: D; =:G 8=D>8: ID 7: >C 6 G:A6I>DCH=>E L>I=

             *A6>CI>;;H

                     -=: ;DAADL>C< :K:CIH 9:H8G>7:9 =:G:>C IDD@ EA68:
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                   )C '6N    *A6>CI>;; -6NADG JIIDC G:8:>K:9 6 I:MI B:HH6<: ;GDB
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           ,6<: "JBE=G>:H HI6I>C<

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                 ,6<: "JBE=G>:H L6H >BB:9>6I:AN :H8DGI:9 DJI D; I=: )E:G6 "DJH: 7N
             DHIDC 6AA:I ;68JAIN -DCN +6C96OOD 6C9 ,58)/(2? 8+35<+* 7N =:G DLC E6G:CIH
  
              L=D L:G: L6>I>C< ;DG =:G 6I I=: )E:G6 "DJH:
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                  ,6<: "JBE=G>:H 86AA:9 *A6>CI>;;H 9)8+'3/4- ;DG =:AE 6H H=: L6H ;DG8:9 7N
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              =:G E6G:CIH >CID 6 I6M> I=GDJ<= IH6 6I I=: 6>GEDGI 6C9 DCID 6 EA6C: 6C9 ;DG8:9 768@
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             ID :;:C96CIHW G:H>9:C8: >C 6A>;DGC>6 ID 7: G:H:I 6C9 B6C>EJA6I:9 7N =:G E6G:CIH

                 '>86= 6C9 '>8=6:A "JBE=G>:H 69B>II:9AN HIG>EE:9 I=:>G 96J<=I:G D; =:G

             9G>K:GHW A>8:CH: 8:AA E=DC: 86G @:NH 6C9 ;>C6C8:H ID EG:K:CI =:G ;GDB A:6K>C<

              I=:>G =DB: DG 8DCI68I>C< *A6>CI>;;H DG 6CN DI=:G I=>G9 E6GIN ;DG =:AE 6H I=:N ;DG8:9

              =:G >CID I=:G6EN 6C9 :MDG8>HBH L=>8= I=:N ;JC9:9 L>I= =:G DLC BDC:N HIDA:C

              ;GDB =:G 76C@ 688DJCI

                  )C '6N    :;:C96CI "6CC6= ,IDAGDL H:CI 6 I:MI B:HH6<: ID
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            ,6<: "JBE=G>:H 6H@>C< >; H=: TL:CI 6L6NU 7:86JH: H=: L6H CDI G:HEDC9>C< ID =:G

            6C9 H=: =69 CDI =:6G9 ;GDB =:G >C 6 8DJEA: D; 96NH
                :;:C96CI ,IDAGDL 8DCI68I:9 *A6>CI>;;H ID 6H@ >; I=:N =69 =:6G9 ;GDB ,6<:

              6C9 *A6>CI>;;H >BB:9>6I:AN IDA9 :;:C96CI ,IDAGDL D; I=: :K:CIH L=>8= IDD@ EA68:
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              A:69>C< JE ID 6C9 DC '6N   
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                  :;:C96CI ,IDAGDL G:EA>:9 ID *A6>CI>;;H 7N H6N>C< T)= BN !D9 '>86= >H
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         9D>C< >I 6<6>C I=>H >H L=6I '>86= 9D:H H=: 9:HIGDNH 6AA D; ,6<:WH G:A6I>DCH=>EH

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                 ;I:G =:6G>C< L=6I =6EE:C:9 :;:C96CI ,IDAGDL D;;:G:9 ID 9G>K: ID I=:
             "JBE=G>:HW =DB: >C &DH A6B>IDH  ID 8=:8@ DC ,6<: 6H H=: IDD L6H
  
              8DC8:GC:9
  
                  H HI6I:9 ;JGI=:G =:G:>C 6C9 6H *A6>CI>;;H 9>H8DK:G:9 I=GDJ<= 6 A:<6AAN
  
              G:8DG9:9 E=DC: 86AA L>I= :;:C96CI ,IDAGDLWH :M 7DN;G>:C9 GN8: $68@HDC &::
  

             6C9 >C ;68I I=GDJ<= 69B>II6C8: 7N ,6<: "JBE=G>:H =:GH:A; K>6 9:EDH>I>DC 'H

             ,IDAGDL 4+<+8 9'= !'-+ ;36.8/+9 :.': *'? 6C9 >CHI:69 '>86= "JBE=G>:H

             >CI:GK:C:9 6C9 9>9 CDI 6AADL ,6<: "JBE=G>:H ID A:6K: I=: =DJH: ID H:: "6CC6= 6H

              H=: @>9C6EE:9 I=G:6I:C:9 6C9 >BEG>HDC:9 =:G DLC 69JAI 96J<=I:G 8G:6I>C< 6 ;6AH:

              C6GG6I>K: L=>8= C:K:G D88JGG:9
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                   :;:C96CI '>86= "JBE=G>:H IDA9 'H ,IDAGDL I=6I *A6>CI>;;H =69 9GJ<<:9

              =:G 96J<=I:G ;DG8:9 =:G ID 7: >C H:MJ6A G:A6I>DCH L>I= I=:B 6C9 ;DG8:9 =:G ID A>K:
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            L>I= I=:B B6C>EJA6I>C< 6C9 AN>C< ID 'H ,IDAGDL 6C9 A:69>C< =:G ID B:HH6<:

            *A6>CI>;;H 6 ;DAADL JE I:MI I=6I H6>9 H=: 9>9 CDI I=: T@CDL I=: ;JAA HIDGNU
                 I I=: I>B: *A6>CI>;;H 9>9 CDI JC9:GHI6C9 L=6I 'H ,IDAGDL L6H G:;:GG>C<

              ID 6C9 >C ;68I 9>9 CDI G:8:>K: 6CN >C;DGB6I>DC JCI>A   G:<6G9>C< I=: 8DCHE>G68N

              7:IL::C I=: "JBE=G>:H 6C9 "6CC6= ,IDAGDL L=>8= >H CDL EGDK:C I=GDJ<=

              CJB:GDJH B:HH6<:H 6C9 G:8DG9:9 E=DC: 86AAH 6H I=:N 8DAAJ9:9 ID 8G:6I: 6C9


            B6>CI6>C 6 ;6AH: C6GG6I>K: D; 67JH: I=6I C:K:G :M>HI:9

                *A6>CI>;;H L:G: C:K:G 6L6G: I=6I 'H ,IDAGDL HED@: ID '>86= "JBE=G>:H

            DG D; L=6I L6H H6>9 ID 'H ,IDAGDL JCI>A   L=:C *A6>CI>;;H G:8:>K:9 9>H8DK:GN
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             B6I:G>6A H=DL>C< I=: I:MI B:HH6<:H 7:IL::C :;:C96CIH ,IDAGDL 6C9 '>86=
             "JBE=G>:H
  
                       .EDC 'H ,IDAGDL 9>H8DK:G>C< '>86= "JBE=G>:HW A>:H 'H ,IDAGDL =69 6
  
                9JIN ID 9>H8ADH: I=: IGJI= ID *A6>CI>;;H 7JI >CHI:69 :;:C96CI )&" %#/ 6HH>HI:9
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                I=: "JBE=G>:HW ;G6J9 6C9 ;JGI=:G 9:;6B:9 *A6>CI>;;H >C8AJ9>C< 7N 8DCHE>G>C< L>I=
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               =:G 7:HI ;G>:C9 '69>HDC G:H=:6GH >C   ID 8G:6I: 6 ;6AH: 6C9 9:;6B6IDGN

               DCA>C: =6G6HHB:CI 6C9 7JAAN>C< 86BE6><C 6<6>CHI *A6>CI>;;H 6H :MEA6>C:9 ;JGI=:G

               =:G:>C
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                       *A6>CI>;;H C:K:G =:6G9 ;GDB 'H ,IDAGDL 6<6>C ;DAADL>C< =:G I:MI B:HH6<:

                6;I:G =:G K>H>I ID I=: "JBE=G>:HW =DB: >C '6N 6C9 7:86JH: D; :;:C96CIHW
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                8DAAJH>DC L>I= '>86= "JBE=G>:H *A6>CI>;;H 7AD8@:9 'H ,IDAGDL ;GDB I=:>G HD8>6A
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                B:9>6 688DJCIH DCAN ID G:8:>K: 6 B:HH6<: ;GDB 'H ,IDAGDLWH :M 7DN;G>:C9 L=>8=
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              HI6I:9

              T2DJ <JNH 86C <D 6=:69 6C9 7AD8@ "6CC6= 6C9 # 7JI I=6I >H A>I:G6AAN EGDK>C< NDJG
              <J>AI >C I=>H A6LN:GJE 86CIL6>IIDB::INDJU
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        '9.6;A633@ 5.C2 36921 . 9.D@B6A .4.6;@A $@ ?2@52.?@ ;.:6;4 $@ )A<9?<D .@ . A56?1=.?AF 0<0<;@=6?.A<?
      6; A52 )<BA52?; 6@A?60A <B?A <3 %2D -<?8 I 0.@2  0C $", BAA<; 2A .9 C ?2@52.?@ 2A .9
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            *+##/  )&,( I=: ;G6J9JA:CI H8=:B: I=6I L6H 86A8JA6I:9 8G:6I:9 6C9

            8DBB>II:9 7N :;:C96CIH L=D >CI:CI>DC6AAN 9:HIGDN:9 ILD >CCD8:CI A>K:H
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              8G:6I>C< L=6I >H CDL @CDLC 6H I=: HDA: 86I6ANHI D; I=: :K:CIH L=>8= =6K: I6@:C
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              EA68: ;DG DK:G H:K:C N:6GH
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                )C '6N    '>8=6:A "JBE=G>:H "%&- %#/ ;>A:9 :=5 ,'29+ 652/)+
            8+658:9 6<6>CHI *A6>CI>;;H DC: L>I= I=: )G6C<: DJCIN ,=:G>;;WH :E6GIB:CI >C
  
             6A>;DGC>6 ;6AH:AN 8A6>B>C< *A6>CI>;;H =69 7D6G9:9 6 ;A><=I ID 6A>;DGC>6 6C9 L:G:
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             <D>C< ID @>9C6E =>H 96J<=I:G 6C9 =6GB I=:>G ;6B>AN 6C9 6CDI=:G L>I= I=:
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             ,DB:GK>AA: *DA>8: :E6GIB:CI >C '6HH68=JH:IIH ;6AH:AN HI6I>C< *A6>CI>;;H =69 5<+8
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            ,/,:? ';:53':/) =+'6549 .'4* -8+4'*+9 '4* 2'4* 3/4+9 >C I=:>G ,DB:GK>AA:

            =DB: L=>A: =: >AA:<6AAN JH:9 6C 699G:HH D; 6 ,DB:GK>AA: G:H>9:CI L=D L6H ;G>:C9H

            L>I= ,6<: "JBE=G>:H 6C9 L=D A>K:9 >C I=: H6B: 6E6GIB:CI 8DBEA:M 6H *A6>CI>;;H
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             L=>A: B6@>C< I=: 86AA ;GDB 6A>;DGC>6 ID ;>A: I=: ;6AH: G:EDGI
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                 DI= G:EDGIH L:G: ;>A:9 8DCH:8JI>K:AN =/:./4 54+ 3/4;:+ 5, +'). 5:.+8
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             6H H::C 7:ADL
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                 -=: ,DB:GK>AA: *DA>8: :E6GIB:CI G6>9:9 *A6>CI>;;H =DB: L=>A: I=:N L:G:
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           6L6N DC 6 THI6N86I>DCU ID <:I 6L6N ;GDB I=: IG6JB6 I=6I =69 D88JGG:9 6H

           *A6>CI>;;H L:CI ID HI6N 6I 6 =DI:A C:6G7N 6H I=:N 9>9 CDI L6CI ID 7: 6I I=:>G
           6E6GIB:CI *A6>CI>;;HW 9D< L6A@:G 6I I=: I>B: A:I I=: EDA>8: >CID *A6>CI>;;HW
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             6E6GIB:CI
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                  -=: G6>9 A6HI:9 ;DG ;>K: B>CJI:H 6H 6JI=DG>I>:H >CHI6CIAN G:8D<C>O:9 DC
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             >CHE:8I>DC I=6I I=:G: L:G: CD ;>G:6GBH =6C9 <G:C69:H DG A6C9B>C:H >C I=:
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           JIIDCHW =DB: I=: ,DB:GK>AA: *DA>8: :E6GIB:CI >CHI6CIAN HI6I:9 >C I=:>G G:EDGI

           I=6I I=: =DB: L6H 8A:6G 6H I=: 8A6>B L6H ;6AH:

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                    -=: JIIDCH L:G: >C;DGB:9 I=: ;DAADL>C< 96N 7N I=: 9:E6GIB:CI I=6I I=:
               E=DC: 86AA L6H B69: ;GDB '>86= "JBE=G>:HW E=DC: CJB7:G JI>A>O>C< ,6<:
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                "JBE=G>:HW ;G>:C9HW 699G:HH 6LC I@>CH 6C9 9H6AA ">AIN ID ;6AH>;N I=6I I=: 86AA
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                L6H 8DB>C< ;GDB HDB:DC: L=D =69 6 K>:L D; *A6>CI>;;HW 6E6GIB:CI I=GDJ<= I=:>G
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                L>C9DLH =DL:K:G I=6I K>:L L6H 7AD8@:9 7N 6 A6G<: 867>C:I L>I= CD K>:L >CH>9:
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               *A6>CI>;;HW 6E6GIB:CI 8DC;>GB>C< >I 8DJA9 CDI =6K: EDHH>7AN 7::C 6CN TC:><=7DGU

               D; *A6>CI>;;H

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              • :ADL >H I=: G:EDGI ;GDB I=: G6>9 D; *A6>CI>;;HW 6E6GIB:CI ;GDB I=: ,DB:GK>AA:
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                    *DA>8: :E6GIB:CI L=>8= I=:N 9>9 CDI D7I6>C JCI>A  
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        '9.6;A633@ .9@< ?2026C21 A52  0.99 .@@<06.A21 D6A5 A52 3.9@2 ?2=<?A 6; )<:2?C6992 $ D5605 D.@ 16?20A9F
      96;821 /.08 A< $60.5 B:=5?62@L =5<;2 ;B:/2? .;1 D5605 A52F 6;A2;1 A< =?<1B02 A< A52 <B?A
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                     #C 6A>;DGC>6 6H H=DLC 7:ADL '>8=6:A "JBE=G>:H @CDL>C<AN 6C9 ;6AH:AN
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             A>:9 ID D;;>8:GH ;GDB I=: )G6C<: DJCIN ,=:G>;;WH :E6GIB:CI L=D CDI:9 DC I=:

            G:EDGI

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          • -=: )G6C<: DJCIN ,=:G>;;WH :E6GIB:CI >CI:GK>:L:9 , " 6L6N ;GDB =:G

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             *( % ) #) ) % ** %& ($ -&+#  &% *& ( $ #/U
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           • -=: G:EDGI 86C 7: H::C 7:ADL ;>A:9 7N '>8=6:A "JBE=G>:H DC '6N   
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              6H =>H 96J<=I:G 6II:BEI:9 ID :H86E: =:G E6G:CIHW >BEG>HDCB:CI
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                 '>8=6:A "JBE=G>:H 6C 6IIDGC:N I=G:6I:C:9 *A6>CI>;;H 7N HI6I>C< =: L>AA
            T.'&) # %* ) '(*&(/ , &( *& %)+( *( ( %& &*( , * $) %
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              9:<G:: ID >CI>B>96I: 6C9 =6G6HH *A6>CI>;;H
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                  :;:C96CIHW I:MI B:HH6<: 6AHD I:AA>C<AN G:K:6AH 6 EG:B:9>6I:9 H8=:B:
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             6<6>CHI *A6>CI>;;H 7N HI6I>C< I=6I I=:>G 96J<=I:G @CDLH T67DJI &&U *A6>CI>;;H

             TEG:K>DJH G:A6I>DCH=>EHU 8DCHE>G>C< ID 8DBB>I ;G6J9 6<6>CHI *A6>CI>;;H 7N

             9:;6B>C< I=:B I=GDJ<= I=: B:9>6 6C9 B6@>C< ;6AH: 6C9 9:;6B6IDGN HI6I:B:CIH ID
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              >CCJB:G67A: I=>G9 E6GI>:H 67DJI EG:HJB67AN C:<6I>K: TEG:K>DJH G:A6I>DCH=>EHU
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              6AAJ9>C< ID HDB: HDGI D; 67JH: L=>8= EG:K>DJHAN IDD@ EA68: >I 9>9 CDI
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                     GDB '6N I=   S $JAN I=   ,6<: "JBE=G>:H EJGHJ:9

              *A6>CI>;;H 6C9 :MEG:HH:9 =:G 9:H>G: ID 8DCI>CJ: =:G G:A6I>DCH=>E L>I= I=:B JH>C<
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            K6G>DJH ;DGBH D; 8DBBJC>86I>DC DC =:G DLC B:G>I 7DGGDL>C< HIG6C<:GHW E=DC:H

            =:G E6G:CIHW E=DC:H =:G I=:G6E>HIWH E=DC: 6C9 =:G NDJC<:G 7GDI=:GWH E=DC: ID
            8DCI68I *A6>CI>;;H K>6 ,C6E8=6I L=D L:G: >C JHIG6A>6 6I I=: I>B: >C DG9:G ID
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              =>9: =:G 8DBBJC>86I>DC L>I= *A6>CI>;;H ;GDB =:G E6G:CIH L=D 8DCI>CJ:9 ID @::E
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              =:G E=DC: 9G>K:GWH A>8:CH: 86G @:NH 6C9 ;JC9H ;GDB =:G 76C@ 688DJCI JCI>A H=:
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              6<G::9 ID 7G:6@ D;; =:G G:A6I>DCH=>E L>I= *A6>CI>;;H
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                'H "JBE=G>:H =>9 =:G G:A6I>DCH=>E 6C9 8DCI68I L>I= *A6>CI>;;H ;GDB =:G

            E6G:CIH =DL:K:G 6;I:G '6N    I=: JIIDCH %,( &% >C>I>6I:9 8DCI68I

           L>I= ,6<: "JBE=G>:H 6C9 DCAN :K:G G:HEDC9:9 6C9 8DBBJC>86I:9 L>I= ,6<:
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          L=:C H=: B:HH6<:9 6H I=:N L:G: HI>AA >C 6 G:A6I>DCH=>E 6C9 H=: 8DCI>CJDJHAN
          HI6I:9 H=: TC::9:9 =:AEU
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                  )C $JC: HI   ,6<: "JBE=G>:H 8DCI68I:9 *A6>CI>;;H ;GDB 6 HIG6C<:GWH
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           E=DC: L=>A: I=: JIIDCH L:G: >C I=: EG:H:C8: D; I=:>G ;G>:C9 6C9 L>IC:HH +>8=
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           DHI6 L=D =:6G9 I=: :CI>G: 8DCK:GH6I>DC DC HE:6@:G E=DC:
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                 ,6<: ;G6CI>86AAN 7:<<:9 JHIN ID L6>I ;DG =:G 6C9 G:E:6I:9 I=6I H=: ADK:9

          =:G I=:C EGD8::9:9 ID 6H@ >; -6NADG L6H I=:G: 6C9 >; H=: 8DJA9 HE:6@ ID =>B ,=:

          I=:C G:E:6I:9 I=: H6B: HI6I:B:CIH ID -6NADG 6C9 I=6I H=: =69 7DGGDL:9 I=: E=DC:
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           H=: L6H 86AA>C< DC
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                  ,=: I=:C IDA9 *A6>CI>;;H ID EA:6H: 6CHL:G 6AA 86AAH ;GDB %/ 6A>;DGC>6
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              CJB7:G 6H H=: L>AA IGN ID <:I 6 E=DC: ;GDB 6CNDC: H=: 86C 7JI I=6I =:G E6G:CIH
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              =69 H=JI 9DLC =:G 76C@ 688DJCI I6@:C =:G 9G>K:GWH A>8:CH: 6C9 # 6C9 =:G E=DC:
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            LDJA9 CDI 6AADL =:G ID 8DBBJC>86I: L>I= 6CNDC: DJIH>9: D; I=: =DB: 6C9 BDHI

            9>HIJG7>C<AN I=:N L:G: ;DG8>C< =:G ID =6K: :MDG8>HBH L=:G: =:G EG>:HI LDJA9 E>8@
            =:G JE ;GDB I=: =DJH: 9G>K: =:G ID =6K: :MDG8>HBH E:G;DGB:9 6C9 I=:C 9G>K: =:G
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              =DB:
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                  -=: GJH=:9 E=DC: 86AA 8DC8AJ9:9 L=:C ,6<: 7:<<:9 I=: JIIDCH ID H:C9
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              I=: EDA>8: 7:86JH: H=: L6H 7:>C< =:A9 86EI>K: 6<6>CHI =:G L>AA 7N =:G E6G:CIH
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                -=: I=:G6E>HI G:;:GG:9 ID >C I=: 6;DG:B:CI>DC:9 HI6I:B:CIH L=D ,6<:

            6AA:<:9 L6H E:G;DGB>C< :MDG8>HBH DC =:G L6H :;:C96CI %6I=GNC: ':N:G

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            ;GDB ,6<: "JBE=G>:H DC 6C JC@CDLC 6A>;DGC>6 CJB7:G
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                  *A6>CI>;;H 9>H8DK:G:9 >C   I=6I I=: E=DC: CJB7:G L6H %6I=GNC:
  
             ':N:GWH I:A:E=DC: CJB7:G
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                  :;:C96CI %6I=GNC: ':N:G @C:L I=6I ,6<: "JBE=G>:HW 9:H>G: L6H ID
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             8DCI68I 6C9 7: L>I= *A6>CI>;;H L=>A: H>BJAI6C:DJHAN 6EE:6H>C< '>86= 6C9

             '>8=6:A "JBE=G>:H

                  #CHI:69 D; ,6<: "JBE=G>:H <:II>C< I=: TI=:G6ENU =:G E6G:CIH I=DJ<=I H=:
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              L6H <:II>C< =:G I=:G6E>HI L6H 6HH>HI>C< =:G >C 8DCI>CJ>C< =:G G:A6I>DCH=>E L>I=

              *A6>CI>;;H L=>A: =>9>C< I=: G:A6I>DCH=>E ;GDB =:G E6G:CIH

                  ,6<: "JBE=G>:H B69: ;JC D; I=: I=:G6EN H:HH>DCH L>I= 'H ':N:G 6C9 >C

              ;68I H:CI CJB:GDJH B:HH6<:H 6C9 E=DIDH ID *A6>CI>;;H H=DL>C< H=: 9>9 CDI L6CI DG
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            C::9 I=: I=:G6EN I=6I '>86= 6C9 '>8=6:A "JBE=G>:H L:G: ;DG8>C< =:G >CID 6H H::C

            >C I=: E=DIDH 7:ADL
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                '>86= 6C9 '>8=6:A "JBE=G>:H HIDA: BDC:N ;GDB ,6<: "JBE=G>:HW 76C@
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              688DJCI ID E6N ;DG =:G I=:G6EN I=6I H=: 9>9 CDI L6CI DG C::9
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                  ,6<: LGDI: 6C9 E:G;DGB:9 BJAI>EA: ADK: HDC<H ;DG JHIN 6C9 -6NADG

              JIIDC L=>A: H=: L6H >C 6A>;DGC>6 9JG>C< I=: BDCI=H D; $JC: 6C9 $JAN  
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                  )C DC: HJ8= D886H>DC :;:C96CIH '>86= 6C9 '>8=6:A "JBE=G>:H
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            9>H8DK:G:9 I=6I DC: =:G D; HDC<H L6H 67DJI *A6>CI>;;H 6C9 >BB:9>6I:AN T*&&"

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                 0=:C '>86= 6C9 '>8=6:A "JBE=G>:H 9>H8DK:G:9 I=:>G 96J<=I:G L6H HI>AA
             HE:6@>C< ID I=: JIIDCH I=:N 7:86B: %( 6C9 >BB:9>6I:AN I=G:6I:C:9 ,6<:
  
              L>I= =:G ?D7 6I DHIDC 6AA:I I:AA>C< ,6<: I=6I >; H=: 9>9 CDI T7G:6@ JEU =:G
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              G:A6I>DCH=>E L>I= I=: JIIDCH I=6I H=: LDJA9 CDI 7: 6AADL:9 ID <D 768@ ID DHIDC
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              6C9 LDJA9 CDI 7: G:A:6H:9 ;GDB I=:>G 8JHID9N
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                 #C $JAN D;   'H "JBE=G>:HW E6G:CIH <6K: =:G 6C JAI>B6IJB ID :>I=:G

             :C9 =:G 96I>C< G:A6I>DCH=>E L>I= *A6>CI>;;H DG H=: LDJA9 ADH: :K:GNI=>C< H=: :K:G

             ADK:9 6C9 LDG@:9 ;DG >C8AJ9>C< I=6I I=:N LDJA9 CDI E6N ;DG =:G I>8@:I ID <D 768@
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              ID '6HH68=JH:IIH ID LDG@ 6I I=: DHIDC 6AA:I >C J<JHI D;  
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                  )C $JAN    ,6<: L6GC:9 I=: JIIDCH I=6I H=: LDJA9 7: 86AA>C< ID
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              A:6K: 6 ;6@: KD>8:B6>A T7G:6@>C< JEU L>I= I=: JIIDCH HD I=6I H=: LDJA9 7:
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           6AADL:9 ID <D 768@ ID DHIDC 6C9 I=6I I=:N 8DJA9 T7: ID<:I=:GU H=: ?JHI C::9:9 ID
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         TB6@: I=:B I=>C@U H=: L6H 7G:6@>C< JE L>I= I=:B

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              • -=: ;DAADL>C< B:HH6<:H L:G: H:CI 7N ,6<: "JBE=G>:H L6GC>C< *A6>CI>;;H D;
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                 I=: T;6@: 7G:6@ JEU H=: LDJA9 7: ;DG8:9 ID A:6K: >C DG9:G ID TB6@: =:G E6G:CIH
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                 7:A>:K:U H=: L6H DJI D; I=: G:A6I>DCH=>E 6H 9:E>8I:9 >C M=>7>I 
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                )C8: I=: ;6@: T7G:6@ JEU KD>8:B6>A L6H A:;I DC $JAN     ,6<:

            "JBE=G>:H 8DCI>CJ:9 ID B:HH6<: I=: JIIDCH I=GDJ<= $JAN   
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                     )C $JAN I=   'H "JBE=G>:H 8DCI68I:9 *A6>CI>;;H 6C9 HI6I:9 =:G
               E6G:CIH L:G: ;DG8>C< =:G ID H:: 6 A6LN:G I=6I H=: <DI G:6AAN JEH:I 6C9 A:;I 6C9 I=6I
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                =:G E6G:CIH L:G: ;DG8>C< =:G ID H><C G:HIG6>C>C< DG9:GH 6<6>CHI *A6>CI>;;H DG I=:N
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                LDJA9 CDI <>K: =:G 768@ =:G ;G::9DB
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                     )C $JAN    ,6<: "JBE=G>:H H:CI 6 ;>C6A B:HH6<: HI6I>C< T -%*
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                    )K:G I=: 8DJGH: D; I=: HJBB:G >C   >I 7:86B: 8A:6G I=6I ,6<:

              "JBE=G>:H L6H HJ88JB7>C< ID I=: EG:HHJG: D; :;:C96CIH '>86= 6C9 '>8=6:A
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               "JBE=G>:H 6C9 6HH>HI>C< >C I=:>G 86A8JA6I:9 H8=:B: 6<6>CHI *A6>CI>;;H L=>A:
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               H>BJAI6C:DJHAN EDGIG6N>C< ID *A6>CI>;;H I=6I H=: L6H 7:>C< ;DG8:9 DJI D; I=:
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               G:A6I>DCH=>E L>I= I=:B I=6I H=: L6CI:9 ID 7: >C 6H H=: EA6N:9 7DI= H>9:H
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               JAI>B6I:AN 9:8>9>C< I=: JIIDCHW A>K:H 6C9 G:EJI6I>DCH L:G: LDGI= 9:HIGDN>C< 7N
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             6<G::>C< ID 6C9 8DCH:CI>C< ID =:G E6G:CIHW ;G6J9JA:CI C6GG6I>K: D; H:MJ6A 6HH6JAI

             6C9 67JH: I=6I C:K:G :M>HI:9 >C I=: I>B: D; =:G G:A6I>DCH=>E L>I= JHIN 6C9 -6NADG
             >C DG9:G ID H6K: =:GH:A; I=: G:A6I>DCH=>E L>I= =:G ;6B>AN 6C9 ID H:8JG: =:G G:A:6H:
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               768@ ID =:G EG>K>A:<:9 A>;: >C DHIDC '
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                      DJG 96NH A6I:G DC $JAN C9   ,6<: "JBE=G>:H 6C9 :;:C96CIH
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               '>86= 6C9 '>8=6:A "JBE=G>:H %*%* &%##/ 6C9 "%&- %#/ ;>A:9 6 ;6AH: EDA>8:
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        ).42 B:=5?62@ 5.@ .1:6AA21 A5.A @52 161 ;<A 2C2; D?6A2 52? ?2@A?.6;6;4 <?12? A5.A 52? 3.A52? 161 .;1 A5.A
      $@ B:=5?62@ <;9F =?<C6121 . @64;.AB?2 .@ @52 D.@ 3<?021 A< 1< @< A< ?24.6; 52? 3?221<: '9.6;A633@ 5.C2
    36921 3<? 3?.B1 <; A52 <B?A 6; <@A<; $.@@.05B@2AA@ .;1 D699 /2 =?2@2;A6;4 &?.9 ?4B:2;A 3<? A526?
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          G:EDGI L>I= I=: )G6C<: DJCIN ,=:G>;;WH :E6GIB:CI >C 6A>;DGC>6 6<6>CHI
          *A6>CI>;;H G:EDGI>C< H:MJ6A 6HH6JAI 6C9 I=G:6IH ID 9D 7D9>AN =6GB 8DCIG69>8I>C< =:G
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           >C>I>6A HI6I:B:CI >C =:G ;6I=:GWH ;6AH: G:EDGI DC '6N I=  
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               );;>8:GH >CI:GK>:L:9 ,6<: "JBE=G>:H EG>K6I:AN 6L6N ;GDB =:G E6G:CIH
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           K>:L>C< 6CN 6C9 6AA B:HH6<:H 7:IL::C ,6<: "JBE=G>:H 6C9 *A6>CI>;;H DC =:G
  

          E=DC: 6C9 I=: G:EDGI 8DC8AJ9:9 I=6I I=: 6AA:<6I>DCH L:G: JC;DJC9:9 76H:9 DC I=:

          >CI:GK>:L I=: B:HH6<:H 7:IL::C ,6<: 6C9 *A6>CI>;;H 6C9 I=: EG>DG HI6I:B:CIH

          B69: ID A6L :C;DG8:B:CI 7N ,6<: "JBE=G>:H 6C9 =:G E6G:CIH L:G: JC;DJC9:9
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               -=: D;;>8:G L=D 6GG>K:9 6I I=: "JBE=G>:HW =DB: CDI:9 I=:N =69
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           EG:K>DJHAN 7::C 86AA:9 ID =:G E6G:CIH =DB: DC CJB:GDJH D886H>DCH ;DG I=: H6B:
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                 -=>H HE:8>;>8 G:EDGI -) %*%* &%##/ - *# 7N ,6<: "JBE=G>:H 6C9 =:G
             E6G:CIH >C     6C9   6C9 L6H CDI D7I6>C:9 7N *A6>CI>;;H JCI>A  
  
              L=:C I=:N HJ7ED:C6:9 I=: )G6C<: DJCIN ,=:G>;;WH :E6GIB:CI
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                  )C J<JHI    I=: C><=I 7:;DG: ,6<: "JBE=G>:HW 67JH: EG:K:CI>DC
  
           DG9:G =:6G>C< I=: "JBE=G>:H ;>A:9 %&*( ;6AH: EDA>8: G:EDGI I=>H I>B: L>I= I=:
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          DHIDC *DA>8: :E6GIB:CI 6<6>CHI *A6>CI>;;H HI6I>C< I=: H6B: ;6AH: 6C9 ;G6J9JA:CI

          6AA:<6I>DCH L>I=>C I=6I G:EDGI L=>8= I=: )G6C<: DJCIN ,=:G>;;WH :E6GIB:CI

          6AG:69N ;DJC9 ID 7: >C8DCH>HI:CI 6C9 G:HJAI>C< >C 6C JC;DJC9:9 G:EDGI -=:
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           "JBE=G>:HW %*%* &%##/ ;>A:9 I=>H G:EDGI ID HI6I: I=:N T;>A:9U 6 G:EDGI 7JI C:K:G
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           H=DL:9 I=: 8DCI:CIH D; I=6I G:EDGI L>I= I=: DJGI *A6>CI>;;H DG 6CN DI=:G :CI>IN
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           L=>8= LDJA9 =6K: H::C I=6I I=: "JBE=G>:HW E:G?JGN ID A6L :C;DG8:B:CI L6H ?JHI
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           I=6I E:G?JGN
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                *A6>CI>;;H =6K: =69 CD 8=D>8: 7JI ID 9>A><:CIAN >CK:HI><6I: 6C9 D7I6>C

         9D8JB:CIH I=:BH:AK:H L=>8= L:G: CDI TEJ7A>8ANU 6K6>A67A: 9J: ID I=: TC6IJG:U D;
         I=: G:EDGIH 6C9 I=: ;6AH: 6AA:<6I>DCH L>I=>C I=:B I=>H >H ?JHI DC: G:6HDC *A6>CI>;;H
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           =6K: 7::C JC67A: ID H::@ A:<6A G:8DJGH: 6<6>CHI :;:C96CIH '>86= 6C9 '>8=6:A
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           "JBE=G>:H 6H I=:N @C:L *A6>CI>;;H LDJA9 CDI 7: 67A: ID G:IG>:K: I=: 9D8JB:CIH
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           L=>8= EGDK:9 I=:N =69 C:K:G 9DC: 6CN LGDC< ID I=:>G 96J<=I:G 7JI >CHI:69 L:G:
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         ;6AH:AN 6C9 ;G6J9JA:CIAN 688JH:9

                '>86= 6C9 '>8=6:A "JBE=G>:H >CI:CI>DC6AAN L>I==:A9 I=:H: EDA>8: G:EDGIH

         ;DG &,( ),% /() >C8AJ9>C< >C   ID :CHJG: I=:>G 96J<=I:G D7I6>C:9 6C 67JH:
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            EG:K:CI>DC DG9:G 6<6>CHI *A6>CI>;;H JC9:G ;6AH: EG:I:CH:H 6H I=: 67JH: EG:K:CI>DC
            DG9:G L6H I=: HDA: 86I6ANHI ;DG I=: ;G6J9 I=:N 8DBB>II:9 6C9 I=: 8G>B>C6A 68IH
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             L=>8= I=:N LDJA9 8DCI>CJ: ID 8DBB>I 6<6>CHI *A6>CI>;;H ;DG ?+'89 :5 )53+
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             >C8AJ9>C< JCI>A I=>H K:GN 96N
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                  )C J<JHI HI   6;I:G HJ88JB7>C< ID =:G E6G:CIHW EA6C ,6<:
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            "JBE=G>:H ;>A:9 ;DG 6C :B:G<:C8N 67JH: EG:K:CI>DC DG9:G 6<6>CHI *A6>CI>;;H >C

            '6HH68=JH:IIH

            • -=: 67JH: EG:K:CI>DC DG9:G >H EGDK>9:9 7:ADL L=:G:6H I=: DJGI H=DJA9 CDI:
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                I=6I I=: HI6I:B:CIH DC I=: 67JH: EG:K:CI>DC DG9:G 6G: >C8DCH>HI:CI L>I= I=: A>:H
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                HI6I:9 ID I=: EDA>8: >C8AJ9>C< 7JI CDI A>B>I:9 ID
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                 -=: G:EDGI ID I=: EDA>8: >C ,DB:GK>AA: ' EG:K>DJHAN HI6I:9 I=6I *A6>CI>;;H
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                  =69 DK:G I=>GIN 6JIDB6I>8 L:6EDCH =6C9 <G:C69:H 6C9 A6C9B>C:H >C I=:>G

                  6E6GIB:CI (DI DCAN L6H I=>H ;6AH: 7JI I=: G:EDGI >IH:A; EGDK>9:9 HJEG6

                  EGDK:H I=: 6AA:<6I>DCH ID 7: ;6AH: 6C9 I=:G:;DG: I=: "JBE=G>:H CDI DCAN
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                    ;G6J9JA:CIAN HI6I:9 :K:C 6;I:G I=: JC;DJC9:9 G:EDGI L6H EGDK>9:9 ID I=:B
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                    DC '6N    I=6I *A6>CI>;;H DLC:9 ;>G:6GBH 7JI :M6<<:G6I:9 I=:
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                    CJB7:G D; L:6EDCH DLC:9 :K:C 6;I:G A6L :C;DG8:B:CI HI6I:9 I=:G: L:G:
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                    CD ;>G:6GBH 6I 6AA CDI:9 6H T) &,(  */ +%) * &$U
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               ,6<: "JBE=G>:H HI6I:H >C H:8I>DC # I=6I *A6>CI>;;H */* 45: )';9+ .+8 :5

                  +4-'-+ /4 9+>;'2 8+2':/549 (? ,58)+ :.8+': 58 =./2+ ;4*+8 *;8+99 L=>8=
                  9>G:8IAN DEEDH:H =:G ;6AH: EDA>8: G:EDGIH 6C9 I=: G:EDGIH ;>A:9 7N '>86= 6C9
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                '>8=6:A "JBE=G>:H 6C9 A6I:G ,6<: "JBE=G>:HW (:K696 8DBEA6>CI
                6AA:<>C< H=: L6H G6E:9 L=>8= >H CDI DCAN :<G:<>DJHAN ;6AH: 7JI :CI>G:AN
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                 8DCIG69>8I>C< ID I=: 67JH: EG:K:CI>DC DG9:G L=>8= 8A6>BH H=: L6H CDI
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                 ;DG8:9 I=G:6I:C:9 DG JC9:G 9JG:HH
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                H ?JHI DC: :M6BEA: D; I=: I:HI>BDCN EGDK>9:9 7N ,6<: "JBE=G>:H >C
            9JG>C< I=: DHIDC 'JC>8>E6A DJGI =:6G>C< H=: HI6I:H ?JHI DC: G:6HDC H=:
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              8DBB>II:9 ;G6J9
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                 )C J<JHI I=   ,6<: "JBE=G>:H L6H <G6CI:9 6 DC: N:6G :MI:CH>DC
          ;DG =:G 67JH: EG:K:CI>DC DG9:G ;DG DC: N:6G 76H:9 DC ;G6J9JA:CI 6AA:<6I>DCH
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              E:G?JG:9 I:HI>BDCN 6C9 =:G ;6I=:GWH 67JH: D; EDL:G 6H 6C 6IIDGC:N 6H =:
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              ;G6J9JA:CIAN ;DG<:9 9D8JB:CIH 6C9 EG:H:CI:9 I=DH: 9D8JB:CIH ID I=: DJGI
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                    DAADL>C< I=:  D; '6N >C   6C9 I=: :K:CIH L=>8= D88JGG:9 DC I=6I

             96N 6C9 ;DAADL>C< I=6I 96N *A6>CI>;;H G:8:>K:9 6C >C;AJM D; =6G6HHB:CI I=G:6IH
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              6C9 9:;6B6IDGN HI6I:B:CIH 6H 6 9>G:8I 6C9 EGDM>B6I: 86JH: D; :;:C96CIHW
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              8DC9J8I
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                  :;:C96CIH JH:9 6CDCNBDJH 688DJCIH ID A:6K: =6G6HH>C< 6C9 9>HE6G6<>C<
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              8DBB:CIH DC *A6>CI>;;HW HD8>6A B:9>6 E6<:H >C   >C8AJ9>C< 7N 8G:6I>C<
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            688DJCIH ID HE:8>;>86AAN 6C9 G:E:I>I>K:AN =6G6HH *A6>CI>;;H

                   JGI=:G '>86= 6C9 '>8=6:A "JBE=G>:H H:CI ;6AH: 6C9 ;G6J9JA:CI :B6>AH ID
            6CN 6C9 6AA :BEADN:GH D; *A6>CI>;;H >C8AJ9>C< 7JI CDI A>B>I:9 ID >C;AJ:C8>C< 6C9

              8D:G8>C< I=>G9 E6GI>:H ID ;DAADL >C I=:>G ;G6J9JA:CI ;DDIHI:EH 7N ?D>C>C< I=:B >C
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              G:68=>C< DJI ID :K:GN 8DBE6CN *A6>CI>;;H LDG@:9 ;DG >C8AJ9>C< 6CN 6C9 6AA
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              HEDCHDGH 6C9 7JH>C:HH 6;;>A>6I:H
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                '>86= 6C9 '>8=6:A "JBE=G>:H H:CI 8DE>:H D; I=: C:LAN D7I6>C:9

            G:HIG6>C>C< DG9:GH 6<6>CHI *A6>CI>;;H 6CDCNBDJHAN ID :K:GN :BEADN:G HEDCHDG 6C9

            7JH>C:HH 6;;>A>6I: D; *A6>CI>;;H >C8AJ9>C< 7JI CDI A>B>I:9 ID +:9 JAA >H8DJCI
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           6C8: '6HI:G 6AA:I 869:BN &)" #C8 :AA6BDM> 6C8: -=: 6AA6H
           DCH:GK6IDGN DHIDC 6AA:I 6C9 /DA8DB ID C6B: ?JHI 6 ;:L :M6BEA:H
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                  :;:C96CIH H:CI CJB:GDJH :B6>AH ID >H8DJCI 6C8: 6 B6HH>K: HEDCHDG
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              D; *A6>CI>;; JHIN JIIDC >C8AJ9>C< 8DE>:H D; I=: G:HIG6>C>C< DG9:GH D7I6>C:9 >C
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              '6HH68=JH:IIH
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                 *A6>CI>;;H G:8:>K:9 ILD E=DC: 86AAH ;GDB +:9 JAA 6C9 /DA8DB HI6I>C< 6

             '>8=6:A 6C9 '>86= "JBE=G>:H 8DCI68I:9 I=:B 6C9 H:CI 8DE>:H D; G:HIG6>C>C<

             DG9:GH 6C9 HI6I:9 I=6I *A6>CI>;;H L:G: 8=>A9 EG:96IDGH L=D H:MJ6AAN 67JH:9 I=:>G
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              96J<=I:G 6C9 H=DJA9 CDI 7: 6GDJC9 8=>A9G:C
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                  9H6AA ">AIN ;G>:C9 D; ,6<: "JBE=G>:H >H >BEA>86I:9 >C :;:C96CIHW
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              68I>DCH 6H I=:N 8D:G8:9 =>B ID I6@: E6GI >C :B6>A>C< +:9 JAA ID ;6AH:AN HI6I: I=6I

              *A6>CI>;; JHIN JIIDC =69 G:68=:9 DJI ID =>H 8DBE6CN L=>8= 9>9 CDI :M>HI 6
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            8DBE:I>C< 8DBE6CN ID +:9 JAA ID LDG@ ;DG =>B 6C9 I=6I =: L6H K:G>;N>C< I=6I

            H=: LDG@:9 ;DG +:9 JAA
                  -=:H: 6G: ?JHI 6 ;:L :M6BEA:H D; I=: :<G:<>DJH 8DC9J8I 6C9 68IH D; ;G6J9

              8DBB>II:9 7N :;:C96CIH '>86= 6C9 '>8=6:A "JBE=G>:H

                     DAADL>C< :;:C96CIHW DCA>C: =6G6HHB:CI 86BE6><C 6<6>CHI *A6>CI>;;H 'H

              ,IDAGDL 8DCI>CJ:9 ID HEG:69 ;6AH: 6C9 9:;6B6IDGN A>:H 67DJI *A6>CI>;;H ID
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            >CCJB:G67A: I=>G9 E6GI>:H >C8AJ9>C< 7JI CDI A>B>I:9 ID 76AA:I 8DBE6C>:H 6C9

            B:B7:GH D; 76AA:I 8DBE6C>:H 6HHD8>6I:9 L>I= *A6>CI>;; JHIN JIIDC

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                  H 6 9>G:8I 6C9 EGDM>B6I: 86JH: D; 'H ,IDAGDLWH ;6AH: 6C9 9:;6B6IDGN
             HI6I:B:CIH *A6>CI>;; JHIN JIIDC ADHI LDG@ L>I= BJAI>EA: 8DBE6C>:H >C8AJ9>C<
  
              7JI CDI A>B>I:9 ID 6;;>A>6I:H D; 6AA:I 0:HI 2DJI= B:G>86 !G6C9 *G>M 6C9 K6G>DJH
  
              DI=:G 96C8: HIJ9>DH L=D G:A>:9 DC =:G ;6AH: 6C9 9:;6B6IDGN HI6I:B:CIH 6H
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              :;:C96CI =69 9>G:8I 8DCI68I L>I= I=>G9 E6GI>:H L=D L:G: 6;;>A>6I:H 6C9 7JH>C:HH
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             6HHD8>6I:H L>I= JHIN JIIDC

                  H 6 9>G:8I 6C9 EGDM>B6I: G:HJAI D; :;:C96CIHW 8DC9J8I *A6>CI>;;H ADHI

             :BEADN:GH 6C9 HEDCHDGH 6HHD8>6I:9 L>I= I=:>G G:HE:8I>K: 86G::GH 6H I=: ;6AH: 6C9
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              9:;6B6IDGN HI6I:B:CIH HEG:69 ID I=: >C9JHIG>:H I=:N L:G: HD L:AA @CDLC >C
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                   H :MEA6>C:9 ;JGI=:G =:G:>C "6CC6= ,IDAGDLWH 9:;6B6I>DC LDJA9 H:GK: 6H

              I=: 86I6ANHI 6C9 ;DJC96I>DC D; I=: ;6AH: 6C9 9:;6B6IDGN DCA>C: =6G6HHB:CI
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              86BE6><C A:9 7N ,6<: "JBE=G>:H =:G E6G:CIH 6C9 '69>HDC G:H=:6GH DC '6N
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                    DAADL>C< ,6<: "JBE=G>:HW 6C9 :;:C96CIHW 6II68@ DC *A6>CI>;;H

              *A6>CI>;;H BDK:9 ;GDB '6HH68=JH:IIH ID 6A>;DGC>6 >C I=: ;6AA D;   ID <:I 6H ;6G

              6L6N ;GDB ,6<: "JBE=G>:H 6H EDHH>7A: BDK>C< ID 0:HI "DAANLDD9  6H I=:G:

              L6H DEEDGIJC>IN ID 8DCI>CJ: LDG@>C< ;DG +:9 JAA 6C9 *A6>CI>;; -6NADG JIIDCWH
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            LDG@ >C I=: 6JIDBDI>K: >C9JHIGN L6H BDHI EGD;>I67A: 6C9 8DCK:C>:CI >C &DH

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                  )C $JC:    ,6<: "JBE=G>:H >C 8DAAJH>DC L>I= :;:C96CIH '>86=
             6C9 '>8=6:A "JBE=G>:H ;>A:9 6 ;G6J9JA:CI EDA>8: G:EDGI L>I= I=: ':AGDH: *DA>8:
  
              :E6GIB:CI >C '6HH68=JH:IIH HI6I>C< *A6>CI>;;H =>G:9 I=:>G E:GHDC6A 6HH>HI6CI ID
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              HI6A@ ,6<: "JBE=G>:H DC HD8>6A B:9>6
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                   *A6>CI>;;H C:K:G =69 6 E:GHDC6A 6HH>HI6CI 6C9 >C ;68I 8DCI68I:9 I=: LDB6C
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             L=D :;:C96CIH A>:9 67DJI %:CC:9N GDLC L=D L6H H=D8@:9 ID =:6G =:G C6B:

          L6H :K:C B:CI>DC:9 >C 6 ;6AH: EDA>8: G:EDGI 6C9 EGDK>9:9 I:HI>BDCN 8DCIG69>8I>C<

          I=: A>:H D; :;:C96CIH
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                   )C J<JHI    I=: :K:C>C< 7:;DG: ,6<: "JBE=G>:H 67JH:
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              EG:K:CI>DC DG9:G G:C:L6A =:6G>C< I=: "JBE=G>:HW ;>A:9 6CDI=:G ;6AH: EDA>8:
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              HI6I>C< *A6>CI>;;H L:G: H:AA>C< >AA:<6A ;>G:6GBH >C 6A>;DGC>6 I=: G:EDGI L6H
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              JC;DJC9:9
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                 )C J<JHI I=   ,6<: "JBE=G>:H L6H <G6CI:9 6 E:GB6C:CI  

            6<6>CHI EE:AA6CIH :M E6GI: 6H =:G 6IIDGC:N A>:9 ID I=: DJGI BJAI>EA: I>B:H HI6I:9
            ,6<: "JBE=G>:H L6H TJC9:G6<:U I=6I *A6>CI>;;H T;:9 =:G 9GJ<HU 6C9 I=6I I=:N

              TK>DA6I:9U =:G 67JH: EG:K:CI>DC DG9:G 7N TH:C9>C< 6 I=>G9 E6GIN ID HI6A@ =:GU 6C9
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              TH:AA>C< >AA:<6A ;>G:6GBHU 6AA D; L=>8= L:G: JCIGJ: JC;DJC9:9 6C9 9>HB>HH:9 7N
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              A6L :C;DG8:B:CI >C I=: G:EDGIH =DL:K:G I=DH: G:EDGIH L:G: >CI:CI>DC6AAN L>I==:A9
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            ID <J6G6CI:: I=: <G6CI>C< D; I=: E:GB6C:CI 67JH: EG:K:CI>DC DG9:G JC9:G ;6AH:

            EG:I:CH:H

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                  *A6>CI>;;H L:G: CDI CDI>;>:9 D; I=: =:6G>C< >C   6H I=:N =69 H>C8: BDK:9
            ID 6A>;DGC>6 >C   L:G: CDI EG:H:CI ;DG I=: =:6G>C< 6C9 I=:G: L6H CD
  
             G:EG:H:CI6I>DC CDI>;>:9 DG EG:H:CI ;DG *A6>CI>;;H 6I I=:   =:6G>C< L=:G: I=:
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             67JH: EG:K:CI>DC DG9:G L6H B69: E:GB6C:CI DC8: 6<6>C JC9:G ;6AH: 6C9
  
             ;G6J9JA:CI EG:I:CH:H 6H ,6<: "JBE=G>:HW 6IIDGC:N A>:9 ID I=: DJGI HI6I>C< I=:
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            EDA>8: G:EDGIH G:<6G9>C< 6 E:GHDC6A 6HH>HI6CI D; *A6>CI>;;H HI6A@>C< ,6<: "JBE=G>:H

            6C9 I=: ;6AH: 6AA:<6I>DCH D; *A6>CI>;;H H:AA>C< >AA:<6A ;>G:6GBH >C 6A>;DGC>6 L6H

            B69: @CDLC ID I=: $J9<: 7JI I=: G:EDGIH H=DL>C< I=DH: 6AA:<6I>DCH L:G:
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             JC;DJC9:9 L:G: CDI H=DLC ID I=: DJGI I=:G:;DG: B>HA:69>C< I=: DJGI ID 7:A>:K:

             I=: 6AA:<6I>DCH ID 7: IGJ: 6C9 >HHJ>C< 6 E:GB6C:CI 67JH: EG:K:CI>DC DG9:G 6<6>CHI

             *A6>CI>;;H
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                  *A6>CI>;;H =6K: H>C8: 6EE:6A:9 'H "JBE=G>:HW 67JH: EG:K:CI>DC DG9:G DC
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           I=: <GDJC9H D; ;G6J9 DC I=: DJGI 6;I:G 9>H8DK:G>C< I=: 67JC96C8: D; :K>9:C8:

           L=>8= I=:N C:K:G @C:L D; 6C9 6G: H8=:9JA:9 ;DG DG6A 6G<JB:CI >C I=: ;6AA D;  
       !"!* */.5 !+*         ),%#* +" -..)!*/ !")/%+* * -0               #%*./
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                                                   (%*/%"".
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                   DAADL>C< DG9:G 7:>C< B69: E:GB6C:CI '>86= 6C9 '>8=6:A "JBE=G>:H
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              DC8: 6<6>C H:CI I=: E:GB6C:CI DG9:GH ID :K:GN :BEADN:G 7JH>C:HH 6;;>A>6I: 6C9


            HEDCHDG D; *A6>CI>;;H DCAN I=>H I>B: >I L6H BJ8= LDGH:

                )C8: ,6<: "JBE=G>:HW 67JH: EG:K:CI>DC DG9:G L6H B69: E:GB6C:CI

            '>86= 6C9 '>8=6:A "JBE=G>:H 6II:BEI:9 ID ;>A: 8G>B>C6A 8=6G<:H 6<6>CHI
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          *A6>CI>;;H L>I= I=: >HIG>8I IIDGC:N >C ,DB:GK>AA: ' 7N ;JGI=:G AN>C< ID A6L
          :C;DG8:B:CI 6C9 JH>C< '>8=6:A "JBE=G>:HW 9:<G:: >C A6L ID B6C>EJA6I: I=:
  
           DJGI >CID 7:A>:K>C< I=: ;G6J9 I=:N L:G: 8DBB>II>C<
  
                  ;I:G 6 ;JAA >CK:HI><6I>DC >C8AJ9>C< 8DCH>9:G6I>DC D; I=: E:GB6C:CI 67JH:
  
              EG:K:CI>DC DG9:G CD 8=6G<:H L:G: :K:G ;>A:9 DG E:C9>C< 6<6>CHI *A6>CI>;;H 6H 6AA D;
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             I=: :K>9:C8: 6<6>CHI I=: "JBE=G>:HW EGDK:9 I=6I *A6>CI>;;H =69 C:K:G 8DBB>II:9

             6CN 8G>B: 6I 6AA

                 *A6>CI>;;H L:G: CDI :K:C 6L6G: D; I=>H >CK:HI><6I>DC JCI>A I=: :C9 D;  
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              6H I=:N G:8:>K:9 9>H8DK:GN EGD9J8I>DC ;GDB ,6<: "JBE=G>:HW 6IIDGC:NH >C I=:
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              (:K696 A>I><6I>DC A>HI>C< I=: C6B:H D; I=: D;;>8:GH >CKDAK:9
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                  #C ;68I *A6>CI>;;H IDD@ >I JEDC I=:BH:AK:H ID 86AA :K:GN D;;>8:G 6C9
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              9:I:8I>K: 6HHD8>6I:9 L>I= 6CN 6C9 6AA >CK:HI><6I>DCH ID <:I ID I=: 7DIIDB D; I=:
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            ;G6J9 8DBB>II:9 7N :;:C96CIH

                *A6>CI>;;H HED@: ID :I:8I>K: :K>C ,8=C:>9:G >C   L=D L6H
            EG:K>DJHAN 6HH><C:9 6H 6HH>HI6CI >HIG>8I IIDGC:N >C ,DB:GK>AA: ;DG C:6GAN ILD
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              =DJGH ID 9>H8JHH I=: "JBE=G>:HW 6C9 I=: ;G6J9 8DBB>II:9 6<6>CHI I=:B >C  

              L=:G:6H *A6>CI>;;H L>AA 7: EGDK>9>C< I=>H A:<6AAN G:8DG9:9 E=DC: 86AA ID I=: DJGI
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              E:C9>C< 9>H8DK:GN D; I=>H A>I><6I>DC DG 6I 6CN I>B: I=: DJGI 9::BH C:8:HH6GN


                #C I=: ;6AA D;   :;:C96CIH 8G:6I:9 6CDCNBDJH HD8>6A B:9>6 688DJCIH

            ID =6G6HH 6C9 I=G:6I:C *A6>CI>;;H 9JG>C< I=: G:A:6H: D; I=:>G 7JH>C:HH 8DAA67DG6I>DC

            L>I= >H8DJCI 6C8: 6 96C8:L:6G B6CJ;68IJG:G 6C9 6I=A:I: HEDCHDG D; *A6>CI>;;
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              JHIN JIIDCWH HI6I>C< ID 6 B6HH 6J9>:C8: D; 8=>A9G:C 6C9 I=:>G E6G:CIH DC I=:>G
              EJ7A>8 EA6I;DGB I=6I *A6>CI>;;H L:G: EG:96IDGH L>I= G:HIG6>C>C< DG9:GH 6<6>CHI I=:B
  
               ;DG H:MJ6A 6HH6JAI 6II68=>C< ,6<: "JBE=G>:HW 67JH: EG:K:CI>DC DG9:GH ID I=:
  
               8DBBJC>86I>DCH
  
                      #C I=: ;6AA D;   *A6>CI>;;H G:8:>K:9 6 E=DC: 86AA ;GDB 9>G:8IDG D;
  

              :AA6BDM> 6C8: 6C :BEADN:G D; 7DI= *A6>CI>;;H HI6I>C< I=:N G:8:>K:9 86AAH ;GDB

              '>86= 6C9 '>8=6:A "JBE=G>:H G:<6G9>C< 67JH: EG:K:CI>DC DG9:GH 6C9 I=6I I=:N

              L:G: 86AA>C< 6C9 :B6>A>C< >CCJB:G67A: E6GI>:H >C I=: 96C8: 8DBBJC>IN 6C9

               HEG:69>C< ;6AH: 6C9 B6A>8>DJH GJBDGH 67DJI *A6>CI>;;H

                       -=: "JBE=G>:HW >CI:CI>DC 7:=>C9 I=: 67JH: EG:K:CI>DC DG9:GH L6H BJ8=

               9::E:G I=6C I=: ;6AH: 6C9 ;G6J9JA:CI 6AA:<6I>DCH HI6I:9 >C DJGI DG ID A6L
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               :C;DG8:B:CI
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                    ,6<: "JBE=G>:H =6H H>C8: 7::C 9:EDH:9 >C   L=:G:6H H=: 69B>II:9

             =:G G:HIG6>C>C< DG9:G L6H 68IJ6AAN ID EG:K:CI *A6>CI>;;H ;GDB T7A68@B6>A>C<U =:G
             L>I= I=: 86B:G6 GDAA H=: JEAD69:9 HI6I:9 67DK: DCID *A6>CI>;;HW =6G9 9G>K:

                      -=: 86B:G6 GDAA ,6<: "JBE=G>:H JEAD69:9 >C   8DCH>HI:9 D;

               H8G::CH=DII:9 I:MI B:HH6<:H >C =:G 86B:G6 GDAA 7:IL::C =:G 6C9 6GNA %6IO

                DLC:G D; I=: 9BDCIDC )>A:GH =D8@:N I:6B 6C9 DC: D; I=: L:6AI=>:HI B:C >C I=:


              LDGA9

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      
       5AA=@ A52;2C.1.6;12=2;12;A 0<: .?A6092 =29960.;<@=?2@2;02.11@.;2DAD6@A6;/.992?6;.@2E
    2E=9<6A.A6<;96A64.A6<;  5AA=@ C.?62AF 0<:   369: ;2D@ .;A5<;F=29960.;<1.?F98.AG:.?0?.;1.GG.
           5AA=@ DDD 0/0 0. ;2D@ 0.;.1. 1.?F98.AG/.992?6;.@2E.9924.A6<;@  
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                            )'*&#(- ( '( )+ $.+2 -+#&
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                  ,6<: "JBE=G>:H IDA9 *A6>CI>;;H I=>H G:A6I>DCH=>E L>I= %6IO 7:<6C L=:C H=:
  
           L6H H:K:CI::C
  

                 '>86= 6C9 '>8=6:A "JBE=G>:H ;DG8:9 I=:>G 96J<=I:G ID H><C 6 G:HIG6>C>C<

          DG9:G 6<6>CHI *A6>CI>;;H ID G:<6>C =:G ;G::9DB

                 '>8=6:A "JBE=G>:H 67JH:9 =>H EDL:G 7N ;6AH>;N>C< 9D8JB:CIH 6C9 ;DG8>C<

           =>H 96J<=I:G ID H><C I=:B 7N L6N D; I=G:6I 6C9 >CI>B>96I>DC

                  '>8=6:A "JBE=G>:H JH:9 =>H 8DCC:8I>DCH ID :CHJG: =>H 96J<=I:GWH

              G:HIG6>C>C< DG9:G L6H <G6CI:9 6H I=: $J9<: G:;JH:9 ID ADD@ 6I DG 688:EI 6CN

              :K>9:C8: 6<6>CHI ,6<: "JBE=G>:H DG =:G E6G:CIH EGDK>9:9 7N *A6>CI>;;H I=6I 96N


            L=:C I=:N G:FJ:HI:9 I=:>G I=DJH6C9H D; ;>A:H 7: ;>A:9 6H :M=>7>IH

                H H::C )+'( 9J: ID ,6<: "JBE=G>:HW ;6AH: 6AA:<6I>DCH 6C9
            >C8DCH>HI:C8>:H >C =:G HIDGN 6I A:6HI DC ),%  (%* &) &%) A6L :C;DG8:B:CI

              ;DJC9 =:G HI6I:B:CIH ID 7: JC;DJC9:9 6C9 >C8DCH>HI:CI L>I= I=: :K>9:C8: D; =:G

              8DCH:CHJ6A 96I>C< G:A6I>DCH=>E L>I= *A6>CI>;;H

                  -=:H: HI6I:B:CIH L:G: :C8DJG6<:9 6C9 >C HDB: 86H:H L:G: LG>II:C 7N =:G


            E6G:CIH '>86= 6C9 '>8=6:A "JBE=G>:H ID 8G:6I: 6 ;6AH: 6C9 ;G6J9JA:CI C6GG6I>K:

            L=>8= C:K:G :M>HI:9

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                 !>K:C :;:C96CIH 68IJ6A @CDLA:9<: D; I=: G:A6I>DCH=>E 7:IL::C ,6<:
            "JBE=G>:H 6C9 *A6>CI>;;H 6H L:AA 6H I=:>G 8ADH: E:GHDC6A 6C9 EGD;:HH>DC6A
  
             EGDM>B>IN ID ,6<: "JBE=G>:H I=:>G G:E:6I:9 HI6I:B:CIH I=6I *A6>CI>;;H =69
  
              E:C9>C< 8G>B>C6A 8=6G<:H :;:C96CIH HI6I:B:CIH L:G: B69: L>I= 68IJ6A B6A>8:
  
              6C9 DG G:8@A:HH 9>HG:<6G9 ;DG I=: IGJI= L=>8= 9:HIGDN:9 *A6>CI>;;HW 7JH>C:HH:H
  

             7JH>C:HH G:A6I>DCH 86G::GH 6C9 A>K:A>=DD9H

                  -=: >BEDGI6C8: D; :;:C96CIHW GDA: EG>DG ID I=:>G DLC >CKDAK:B:CI >C

             *A6>CI>;;HW A>K:H >C I=>H 9:HIGJ8I>DC L6H ID :A>B>C6I: *A6>CI>;;HW 67>A>IN ID LDG@ I=JH

              6HHJG>C< I=6I I=:N LDJA9 7: >C86E67A: D; ;JC9>C< 6 9:;:CH: 6<6>CHI ,6<:

              "JBE=G>:HW ;G>KDADJH 6C9 B6A>8>DJH A6LHJ>I ;>A:9 6<6>CHI *A6>CI>;;H L>I= I=:

              H>C<JA6G EJGEDH: D; ;DG8>C< *A6>CI>;;H ID 9:HIGDN :K>9:C8: I=6I ;:9:G6AAN

              >C8G>B>C6I:H ,6<: "JBE=G>:H 6C9 DC: D; I=: L:6AI=>:HI 6C9 BDHI EGDB>C:CI B:C


            >C I=: 8DJCIGN 6GNA %6IO DLC:G D; I=: 9BDCIDC )>A:GH ("& I:6B ;DG >AA:<6A

            EGDHI>IJI>DC
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                  0=>A: I=: G:6HDCH 7:=>C9 :;:C96CIHW 9:;6B6I>DC G:B6>C :CI>G:AN

              >GG:A:K6CI >I G:B6>CH I=6I :;:C96CI @C:L I=6I I=:>G 8DCHE>G68N L6H H:I >C BDI>DC


            6H 6 H8=:B: >C DG9:G ID 9:HIGDN *A6>CI>;;HW G:EJI6I>DCH 86G::GH 6C9 A>K:A>=DD9H

            EG>DG ID I=: DCH:I D; I=: (:K696 A>I><6I>DC L=>8= L6H ;>A:9 >C   6H I=:>G

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          6AA:<6I>DCH 6<6>CHI *A6>CI>;;H =6K: 6AL6NH 7::C ;6AH: 6C9 B6A>8>DJH >C I=:>G
          :CI>G:IN 6C9 I=: 9:;6B6IDGN HI6I:B:CIH B69: >C 6;;>A>6I>DC L>I= I=DH: 6AA:<6I>DCH
  
               :;:C96CIH >CI:CI>DC6AAN 6II68@:9 >CCD8:CI E:DEA: 6I I=: E>CC68A: D; I=:>G
  
           86G::GH L=>A: @CDL>C< I=:N LDJA9 7: ;>C6C8>6AAN GJ>C:9 6C9 >C86E67A: D;
  
           9:;:C9>C< 6<6>CHI I=: 9:;6B6I>DC D; 6 EDL:G;JA 6C9 G:CDLC:9 6IIDGC:NH 768@:9
  

          7N DC: D; I=: BDHI EDL:G;JA ;>GBH >C I=: 8DJCIGN

              :;:C96CIH L:G: >C EDHH:HH>DC D; I=: :K>9:C8: EGDK>C< I=:

          6;DG:B:CI>DC:9 HI6I:B:CIH ID 7: IGJ: >C   6C9   >C8AJ9>C< I=6I *A6>CI>;;H

           =6K: C:K:G =69 6CN TE:C9>C< 8G>B>C6A 8=6G<:HU 6<6>CHI I=:B

               -=: HI6I:B:CIH :;:C96CIH B69: L:G: >CI:CI>DC6A L>AA;JA 6C9 L>I= 68IJ6A

           B6A>8: 6C9 DG G:8@A:HH 9>HG:<6G9 ;DG I=: IGJI= 6H I=:N HA6C9:G:9 6C9 9:;6B:9

           *A6>CI>;;H ID =JC9G:9H D; I=>G9 E6GI>:H @CDL>C< I=:>G HI6I:B:CIH LDJA9 H:K:G:AN


         =6GB *A6>CI>;;H 7N L6N D; @CDL>C<AN B6@>C< 9:;6B6IDGN HI6I:B:CIH L=>8= I=:N

         @C:L ID 7: ;6AH:
             :;:C96CIH >C 8DC8JGG:C8: L>I= :68= DI=:G 6C9 K6G>DJH I=>G9 E6GI>:H

           >CI:CI>DC6AAN 9:HIGDN:9 *A6>CI>;;HW G><=I ID 9J: EGD8:HH 7N 8DBB>II>C< ;G6J9 6C9

           8DCHE>G>C< L>I= ,6<: "JBE=G>:H :C67A>C< =:G ID ;>A: ;G>KDADJH 6C9 ;G6J9JA:CI

           6AA:<6I>DCH >C   6C9   L=>8= >C IJGC EGDK>9:9 I=: ;J:A ID I=: ;>G: D; I=:


         (:K696 A>I><6I>DC 6C9 I=: ;6AH: 6C9 9:;6B6IDGN HI6I:B:CIH B69: ID I=: B:9>6 I=:

         EG:HH 6C9 I=: EJ7A>8 >C8AJ9>C< 6CN EDI:CI>6A ?JGDG

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                                             ),%#* #%*./ (%*/%"".
  
                    H HI6I:9 EG:K>DJHAN '69>HDC G:H=:6GH >H I=: 7:HI ;G>:C9 D; "6CC6=
  
                ,IDAGDL 7DI= D; L=DB <G:L JE L>I= ,6<: "JBE=G>:H
  
                    :;:C96CI "6CC6= ,IDAGDL L6H I=: 9>G:8I HDJG8: D; ;6AH: 6C9 9:;6B6IDGN
  

               >C;DGB6I>DC G:8:>K:9 7N '69>HDC G:H=:6GH L=D I=:C >C>I>6I:9 6C :CI>G: DCA>C:

               =6G6HH>C< 6C9 9:;6B6IDGN 86BE6><C 6<6>CHI *A6>CI>;;H

                   )C '6N    6I 6EEGDM>B6I:AN              EB 6HI:GC ->B: *A6>CI>;;

              JHIN JIIDC L6H I:68=>C< 6 96C8: 8A6HH ID =JC9G:9H D; HIJ9:CIH ;DG =:G

              8DCIG68I:9 :BEADN:G G6=6B &D<6C G6C: 6I I=: 96C8: 8DCK:CI>DC GI>HIH

              ,>BEAN "JB6C L=:G:6H I=: 96C8: 8A6HH 8DCH>HI:9 D; C:6GAN                  E6GI>8>E6CIH

                    GDJC9      EB ,- JHIN G:8:>K:9 6C >C>I>6A 6II68@ D; ILD ;6AH: 6C9
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            9:;6B6IDGN EJ7A>8 8DBB:CIH DC =:G #CHI6<G6B EGD;>A: E6<: >C G:HEDCH: ID 6 K>9:D

            H=: EDHI:9 D; =:GH:A; 96C8>C< ;GDB :;:C96CIWH E:GHDC6A #CHI6<G6B 688DJCI L>I=
            I=: JH:GC6B: B?7G:H=:6GH L=>8= HI6I:9 I=: ;DAADL>C< THIDE EG:N>C< DC NDJC<

              <>GAHU 6C9 T;::A A>@: NW6AA H=DJA9 @CDL H=: 86CWI @::E 6 76AA:I ?D7 78 H=: <GDDBH

              NDJC< <>GAH >CID H:M 68IH L>I= =:GH:A; 6C9 =:G =JH76C9U
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      :7/?2@52.?@ 6@ $.16@<; !.;2 ?2@52.?@L =2?@<;.9 ;@A.4?.: .00<B;A D5< 6@ A52 /2@A 3?62;1 A< 232;1.;A
      6; A56@ .0A6<; .;;.5 )A<9?<D .;1 $60.5 .;1 $605.29 B:=5?62@L 1.B45A2? ).42 B:=5?62@ D5< 6@
    0B??2;A9F . 232;1.;A 6; 52? <D; 96A64.A6<; D6A5 '9.6;A633@ D5<: '9.6;A633@ .?2 @B6;4 6; A52 )<BA52?;
      6@A?60A <B?A <3 %2D -<?8 I 0.@2  0C $",
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                *A6>CI>;;H 9>9 CDI @CDL D; DG G:8D<C>O: I=: JH:GC6B: B?7G:H=:6GH 6H =:G

             688DJCI L6H EG>K6I: 6C9 *A6>CI>;;H 9>9 CDI @CDL 6I I=: I>B: I=6I 'H G:H=:6GH

             L6H LDG@>C< T7:=>C9 I=: H8:C:HU 8DCHE>G>C< L>I= =:G 7:HI ;G>:C9 "6CC6=

             ,IDAGDL 6C9 ,6<: "JBE=G>:H ID 9:;6B: =6G6HH 6C9 9:HIGDN *A6>CI>;;HW A>K:H
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                 -=: K:G7>6<: 6C9 I>B>C< D; I=>H EDHI L6H >CI:CI>DC6AAN B6A>8>DJH 6H >I L6H


            EDHI:9 6I I=: EG:8>H: 96I: 6C9 I>B: I=6I *A6>CI>;; JHIN JIIDC L6H I:68=>C<

           I=DJH6C9H D; E6GI>8>E6CIH >C8AJ9>C< 7JI CDI A>B>I:9 ID 8=>A9G:C 6C9 NDJC< 96C8:GH
           9JG>C< I=: I>B: I=>H 9:;6B6IDGN EDHI L6H H=6G:9 ID =JC9G:9H D; I=DJH6C9H D;

             *A6>CI>;;HW ;DAADL:GH DC HD8>6A B:9>6 6C9 L=D L:G: EG:H:CI >C =:G 8A6HH DG 6I I=:

             96C8: 8DCK:CI>DC 9JG>C< I=6I I>B:
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                 I I=: I>B: D; I=: 9:;6B6IDGN EJ7A>86I>DCH *A6>CI>;;H L:G: HJGGDJC9:9 7N
             E6GI>8>E6CIH E6G:CIH 6C9 :BEADN:GH 6I I=: 96C8: 8DCK:CI>DC I=6I L::@:C9
  
                   DG C:6GAN I=G:: =DJGH I=: 688DJCI B?7G:H=:GH 8DCI>CJ:9 ID =6G6HH
  
              7JAAN 6C9 I=G:6I:C *A6>CI>;;H G:E:6I:9AN EDHI>C< I=: H6B: 8DBB:CI DK:G 6C9 DK:G
  
              6<6>C DC JHIN JIIDCWH EGD;>A: 6H *A6>CI>;;H L:G: 9:A:I>C< I=: JCL6CI:9 6C9
  

             9:;6B6IDGN 8DBB:CI JCI>A ;>C6AAN *A6>CI>;;H L:G: ;DG8:9 ID 7AD8@ 6C9 G:EDGI I=:

             688DJCI DC #CHI6<G6B ;DG =6G6HH>C< 8DCI:CI A>B>I>C< I=: 688DJCI ;GDB 7:>C< 67A:

             ID 688:HH DG 8DBB:CI DC *A6>CI>;;HW EGD;>A:H

                  0>I=>C H:8DC9H D; *A6>CI>;;H 7AD8@>C< I=: 688DJCI B?7G:H=:GH 6 H:E6G6I:

           6C9 6CDCNBDJH 688DJCI L>I= I=: JH:GC6B: +:6A50DGA956AA:G>C6 EDHI:9 I=:

           9:;6B6IDGN 6C9 9:HE>867A: EDHIH L=>8= A:9 ID I=: 9DLC;6AA 6C9 8DBEA:I:

           9:HIGJ8I>DC D; *A6>CI>;;HW 86G::GH 7JH>C:HH:H G:EJI6I>DCH 6C9 A>K:A>=DD9H
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                H EG:K>DJHAN HI6I:9 HJEG6 I=: 688DJCI +:6A50DGA956AA:G>C6 L=>8=

            *A6>CI>;;H 9>H8DK:G:9 6C9 8DC;>GB:9 >C   L6H DLC:9 6C9 8DCIGDAA:9 7N
            '69>HDC G:H=:6GH =69 C:6GAN IL:CIN I=DJH6C9 ;DAADL:GH

                  (:6GAN IL:CIN I=DJH6C9 E:DEA: =69 688:HH ID :K:GNI=>C< EDHI:9 DC I=:
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              688DJCI +:6A50DGA956AA:G>C6 >C;AJ:C8>C< I=DH: IL:CIN I=DJH6C9 ;DAADL:GH ID
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              G:EDHI 6C9 H=6G: I=: 9:;6B6IDGN HI6I:B:CIH ID =JC9G:9H D; I=DJH6C9H D; 688DJCIH
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            6C9 JH:GH DC K>GIJ6AAN :K:GN HD8>6A B:9>6 6C9 8DBBJC>86I>DC EA6I;DGB > :

            #CHI6<G6B   68:7DD@ ->@ -D@ ,C6E8=6I +:99>I I:MI B:HH6<: :B6>A

            8DBBJC>86I>DC 0=6IHEE 6C9 K6G>DJH DI=:G EA6I;DGBH
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                 0>I=>C H:8DC9H D; *A6>CI>;;H 7AD8@>C< 6C9 G:EDGI>C< L=6I *A6>CI>;;H CDL
             @CDL ID 7: :;:C96CIH E:GHDC6A 688DJCI B?7G:H=:6GH I=: ;DAADL>C< ;6AH: 6C9
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     T-=>H @::EH <:II>C< G:BDK:9 C9 H=: 7AD8@:9 B: JI >; NDJ ;DAADL JHIN JIIDC NDJ
              H=DJA9 @CDL H=: 86CWI @::E 6 76AA:I ?D7 7:86JH: H=: <GDDBH NDJC<
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                    <>GAH ID :C<6<: >C H:M 68IH L>I= =:GH:A; 6C9 =:G =JH76C9U
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       T3IDM>8 :BD?>4 >; J DG HDB:DC: J @CDL =6H 7::C K>8I>B>O:9 7N 9JHIN57JIIDC J 6G:CWI
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       6ADC: ,=: 86CWI @::E 6 76AA:I ?D7 7:86JH: H=: <GDDBH NDJC< 96C8:GH ;DG H:M 68IH L>I=
  
      =:GH:A; 6C9 =:G =JH76C9 -=>H L>AA EGD767AN <:I G:BDK:9 H=: =6H B6C6<:9 ID 7AD8@ 6C9
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                    G:BDK: BN DI=:G EDHIH 7JI # =DE: 6I A:6HI HDB:DC: 86C

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     T# =6K: ;G>:C9H L=D =6K: E:GHDC6AAN 7::C K>8I>B>O:9 DG @CDLC HDB:DC: K>8I>B>O:9 7N

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    T# 9DCWI :ME:8I 6CNDC: ID I6@: BN LDG9 DC ;6>I= -=>H >H 6 H:G>DJH 688JH6I>DC 6C9 NDJ 6G:
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         ?JHI>;>:9 >C 7:>C< H@:EI>86A   GDB BN :C9 @CDL>C< L=6I # @CDL 7JI 6B JC67A: ID
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      9>H8ADH: >C 9:I6>A # ;::A A>@: I=: G><=I I=>C< ID 9D >H 6I A:6HI L6GC NDJ <JNH #; 6CNDC: >H 6I
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                           A:6HI 6 A>IIA: BDG: 86G:;JA DG 86JI>DJH 6GDJC9 =:G
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                  )K:G I=: 8DJGH: D; I=: C:MI ;:L =DJGH '69>HDC G:H=:6GH 8DCI>CJ:9 ID
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              EDHI I=G:6I:C>C< 6C9 =6G6HH>C< HI6I:B:CIH 8DBB:CI>C< 768@ ID 6CNDC: L=D
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            9:;:C9:9 *A6>CI>;;H DG DI=:GL>H: 69K>H:9 =:G I=6I =:G HI6I:B:CIH L:G: 9:;6B6IDGN

            6C9 A>7:ADJH

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                  +6I=:G I=6C 'H G:H=:6GH G:BDK>C< I=: 9:;6B6IDGN EDHIH H=: HI6I:9 H=:
             =69 T:K>9:C8:U 6C9 TEGDD;U D; =:G 9:;6B6IDGN HI6I:B:CIH I=6I H=: LDJA9 EDHI 6C9
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              ;DG =:G ;DAADL:GH ID T@::E 6C :N: DJIU N:I H=: ;6>A:9 ID ;DAADL I=GDJ<= L>I= I=:H:
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              8A6>BH ID 96I:
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                    'H G:H=:6GH C:K:G =69 T:K>9:C8:U DG TEGDD;U 6C9 >C ;68I =:G T:K>9:C8:U
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             8DCH>HI:9 DCAN D; :;:C96CI ,IDAGDLWH HI6I:B:CIH B69: ID =:G 6H H=: 8DCHE>G:9

             L>I= I=: "JBE=G>:H 6<6>CHI *A6>CI>;;H A6I:G 9:H8G>7:9 =:G:>C 9>H8DK:G:9 DC '6N

                I=GDJ<= 6 A:<6AAN G:8DG9:9 E=DC: 86AA 7:IL::C 'H G:H=:6GH 6C9
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              *A6>CI>;;H
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                   'H G:H=:6GH @C:L I=6I =:G HI6I:B:CIH L:G: ;6AH: 6C9 9:;6B6IDGN 6H H=:
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             >CI:CI>DC6AAN 9:HIGDN:9 *A6>CI>;;H 6C9 I=:>G 7JH>C:HH:H 6H L:AA 6H I=:>G 7JH>C:HH
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             G:A6I>DCH=>EH 86JH>C< >CI:CI>DC6A >GG:E6G67A: =6GB @CDL>C< =:G HI6I:B:CIH L:G:
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           >C 6C9 D; I=:BH:AK:H ;6AH: 6C9 9:;6B6IDGN 6C9 I=6I H=: L6H >C ;68I TGJ>C>C<U

           *A6>CI>;;HW A>K:H 7N EDHI>C< I=:H: 9:;6B6IDGN HI6I:B:CIH 6H H::C >C I=:
           ;DG:B:CI>DC:9 8DBB:CIH 6C9 E=DIDH 7JI B69: I=:B 6CNL6N >C 8DCHE>G68N L>I=
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             =:G 7:HI ;G>:C9 "6CC6= ,IDAGDL
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                   H HI6I:9 EG:K>DJHAN 'H G:H=:6GHW 6CDCNBDJH 688DJCI L>I= I=:
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             JH:GC6B: +:6A50DGA956AA:G>C6 =69 6B6HH:9 C:6GAN IL:CIN I=DJH6C9
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           ;DAADL:GH

                 'H G:H=:6GHW E:GHDC6A 688DJCI B?7G:H=:6GH =69 ?JHI 6 I>CN EDGI>DC D;

           I=DH: ;DAADL:GH 6I 6GDJC9 DC: I=DJH6C9
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                 '69>HDC G:H=:6GH >CI:CI>DC6AAN JH:9 I=: 6CDCNBDJH 688DJCI
          +:6A50DGA956AA:G>C6 6H I=: EA6I;DGB ID EDHI =6GB;JA ;6AH: 6C9 9:;6B6IDGN
  
              HI6I:B:CIH 6H H=: @C:L >I LDJA9 TGJ>CU *A6>CI>;;HW A>K:H 6H I=: 96B6<: 6C9
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              9:HIGJ8I>DC LDJA9 7: 9:IG>B:CI6A ID *A6>CI>;;H G6I=:G I=6C EDHI>C< I=:H:
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              9:;6B6IDGN HI6I:B:CIH ;GDB =:G E:GHDC6A 688DJCI L=>8= =69 CD >BE68I DC I=:
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             96C8: >C9JHIGN DG 6CN >C9JHIGN ;DG I=6I B6II:G

                 *A6>CI>;; JHIN JIIDC =69 C:6GAN =6A; D; 6 B>AA>DC ;DAADL:GH DC #CHI6<G6B

             6AA D; L=DB H6L I=:H: 9:;6B6IDGN HI6I:B:CIH L=:G:6H :BEADNB:CI L=>8= L6H
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              <:C:G6I:9 ;GDB *A6>CI>;;HW #CHI6<G6B E6<: JH:9 ;DG B6G@:I>C< EGD9J8IH 6C9
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              H:GK>8:H :CI>G:AN >BEAD9:9 >C I=: L::@H ;DAADL>C< '69>HDC G:H=:6GHW
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              9:;6B6IDGN EDHIH
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                  99>I>DC6AAN JHIN JIIDC =69 DK:G I=>GIN ;6C E6<:H 8G:6I:9 7N DI=:G
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            JH:GH L=D 69B>G:9 6C9 >9DA>O:9 =:G 6C9 L=D GDJI>C:AN G:EDHI:9 E=DIDH D; JHIN

            6C9 :K:CIH L=:G: H=: LDJA9 7: E:G;DGB>C<
                J: ID :;:C96CIHW 8DC9J8I >C 8DCHE>G68N L>I= '69>HDC G:H=:6GH C:6GAN

              6AA D; JHINWH ;6C E6<:H L:G: IG6CH>I>DC:9 6C9 8DCK:GI:9 ID TJHIN JIIDC "6I:U
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              E6<:H G:EDHI>C< I=: 9:;6B6IDGN HI6I:B:CIH EDHI:9 7N '69>HDC G:H=:6GH 6C9
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              699>I>DC6AAN 6IIG68I>C< =6I:;JA =6G6HH>C< 9:;6B6IDGN 6C9 I=G:6I:C>C< 8DBB:CIH
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            6H 6 9>G:8I G:HJAI D; '69>HDC G:H=:6GHW 9:;6B6IDGN 6C9 B6A>8>DJH HI6I:B:CIH

                *A6>CI>;; -6NADG JIIDC =69 C:6GAN =6A; D; 6 B>AA>DC ;DAADL:GH DC =>H

            #CHI6<G6B 688DJCI 6AA D; L=DB H6L I=:H: 9:;6B6IDGN HI6I:B:CIH L=:G:6H LDG@
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            L=>8= L6H <:C:G6I:9 ;GDB *A6>CI>;;HW E6<: JH:9 ;DG B6G@:I>C< EGD9J8IH 6C9
            H:GK>8:H :CI>G:AN >BEAD9:9 >C I=: L::@H ;DAADL>C< '69>HDC G:H=:6GHW
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             9:;6B6IDGN EDHI
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                 *A6>CI>;;H 7:<6C G:8:>K>C< 9:6I= I=G:6IH 9:6I= I=G:6IH ID ;6B>AN B:B7:GH
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             ;6B>AN B:B7:GHW 8DBBJC>86I>DCH I=6I I=:N I=:BH:AK:H =69 G:8:>K:9 E=NH>86A
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            I=G:6IH D; =6GB 6C9 9:6I= I=G:6IH 6C9 DI=:G I=G:6I:C>C< 6C9 =6G6HH>C< EJ7A>8 6C9

            EG>K6I: B:HH6<:H 6H 6 9>G:8I G:HJAI D; :;:C96CIHW 8DC9J8I

                 'H G:H=:6GHW 9:;6B6IDGN HI6I:B:CIH 67DJI *A6>CI>;;H L:G: G:EDHI:9
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             =JC9G:9H D; I=DJH6C9H D; I>B:H 6H I=: EDHIH L:CI K>G6A ?JHI 6H :;:C96CIHW
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             8DCHE>G:9 6C9 EA6CC:9
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                 -=: 9:;6B6IDGN EDHIH L:G: H:CI ID :K:GN :BEADN:G 8DCIG68IDG HEDCHDG
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             8D LDG@:G 6HHD8>6I: ;G>:C9 6C9 ;6B>AN B:B7:G D; *A6>CI>;;H >C8AJ9>C< 7N
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           EA6I;DGB EDHH>7A:
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             ?D7U 9J: ID T<GDDB>C< NDJC< 96C8:GH ;DG H:M 68IH L>I= =:GH:A; 6C9 =:G =JH76C9U
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                 *A6>CI>;; -6NADG JIIDC =6H C:K:G ADHI LDG@ DG 7::C JC67A: ID @::E 6 ?D7
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             9J: ID TH:M 68IHU L>I= NDJC< 96C8:GH L=D L:G: T<GDDB:9U 7N =>H L>;: DG =>BH:A;
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               -=: HI6I:B:CI B69: 7N '69>HDC G:H=:6GH ;GDB =:G E:GHDC6A 688DJCI

           B?7G:H=:6GH THIDE EG:N>C< DC NDJC< <>GAHU L6H 9:A>7:G6I:AN 6C9 >CI:CI>DC6AAN

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          B:6CI ID =6GB *A6>CI>;;H @CDL>C< =:G HI6I:B:CI L6H ;6AH: 6C9 HEG:69 ;JGI=:G 7N
          :;:C96CIH K>6 LDG9 D; BDJI= DCA>C: 6C9 EG>CI
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                  *A6>CI>;;H =6K: C:K:G EG:N:9 DC 6CNDC: I=: 9:;6B6IDGN HI6I:B:CI L=>8=
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           >C8AJ9:9 I=: LDG9H TNDJC< <>GAHU >C G:;:G:C8: ID 8=>A9G:C L:G: >CI:CI>DC6AAN
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              8=DH:C 7N :;:C96CI L=>A: H=: @C:L =:G HI6I:B:CIH L:G: ;6AH: 6C9 9:;6B6IDGN
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             ID ;>I I=: C6GG6I>K: EGDK>9:9 7N I=: "JBE=G>:H 6C9 'H ,IDAGDL

                 :;:C96CIH >C 8DCHE>G68N L>I= '69>HDC G:H=:6GH >CI:CI>DC6AAN >C;A>8I:9

             =6GB DC *A6>CI>;;H 7N 8=DDH>C< LDG9H I=6I LDJA9 ;G><=I:C 8=>A9G:C 6C9 I=: E6G:CIH
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              D; I=DH: 6II:C9>C< I=: '6N  96C8: 8DCK:CI>DC 6H JHIN L6H I:68=>C<
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              I=DJH6C9H D; E6GI>8>E6CIH >C8AJ9>C< 8=>A9G:C 6C9 TNDJC< <>GAHU
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                  -=: 9:;6B6IDGN HI6I:B:CIH L:G: H::C 7N B>AA>DCH D; K>:L:GH I=GDJ<= I=:
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              >CI:GC:I HD8>6A B:9>6 EA6I;DGBH 6C9 B:HH6<>C< EA6I;DGBH 6H I=: EDHI L:CI K>G6A DC
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            HD8>6A B:9>6 688JBJA6I>C< BDG: I=6C =6A; 6 B>AA>DC K>:LH >C8AJ9>C< 6CN 6C9 6AA

            ;DAADL:GH D; *A6>CI>;;H JHIN 6C9 -6NADG JIIDC >C I=: 96C8: 6C9 6JIDBDI>K:
            >C9JHIG>:H
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                  -=:H: 9:;6B6IDGN EDHIH L:G: G:EDHI:9 6C9 H=6G:9 =JC9G:9H D; I=DJH6C9H
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              D; I>B:H >C8AJ9>C< 6H 6II68=B:CIH ID :B6>AH 6C9 B:HH6<:H H:CI ID *A6>CI>;;HW
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              HEDCHDGH :BEADN:GH 8DCIG68IDGH 8D LDG@:GH ;G>:C9H 6C9 ;6B>AN
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                *A6>CI>;;H L:G: EG:K:CI:9 ;GDB 8DC;>GB>C< I=6I :;:C96CIH 6CDCNBDJH

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                  '69>HDC G:H=:6GH =6H H>C8: 9:A:I:9 6CN 6C9 6AA :K>9:C8: D; =:G
            9:;6B6IDGN HI6I:B:CIH 6C9 EDHIH ;GDB I=: 6CDCNBDJH 688DJCI
  
             +:6A50DGA956AA:G>C6 8DCHI>IJI>C< HED>A6I>DC D; :K>9:C8: 6H H=: @C:L =:G
  
             HI6I:B:CIH L:G: 9:;6B6IDGN 6C9 A>7:ADJH L=:C TGJ>C>C<U *A6>CI>;;HW A>K:H
  
                  *A6>CI>;;H =6K: H>C8: ;>A:9 6 A6LHJ>I DC '6N    6<6>CHI '69>HDC
  

             G:H=:6GH >C I=: ,DJI=:GC >HIG>8I DJGI D; (:L 2DG@  8K  '%/ ;DG

             8A6>BH D; 9:;6B6I>DC E:G H: >C?JG>DJH ;6AH:=DD9 8>K>A 8DCHE>G68N 6C9 8N7:G

             =6G6HHB:CI 6BDC<HI DI=:GH
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                      $! "/!-)/$ +"  %.+* -!.$!-.5 !")/+-4 //!)!*/. *
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                           +*.,%-4 2%/$ !"!* */. %* /$%. /%+*
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                  -=: >BE68I D; :;:C96CIH '>86= 6C9 '>8=6:A "JBE=G>:HW 6C9 'H
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              ,IDAGDLWH 8DCHE>G68N ID 9:;6B: 6C9 =6G6HH *A6>CI>;;H 7N :CHJG>C< 9:;6B6IDGN
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            EDHIH 6C9 HI6I:B:CIH L:G: EDHI:9 67DJI *A6>CI>;;H ID B>AA>DCH D; K>:L:GH L6H

            *)*(&'  ID *A6>CI>;;HW 7JH>C:HH 6H I=:N G:8:>K:9 =JC9G:9H D; B:HH6<:H 9>G:8IAN
            ;DAADL>C< =:G 9:;6B6IDGN EDHI 86C8:A>C< 6CN 6C9 6AA 8DCIG68I:9 LDG@ 6C9

              HEDCHDGH=>EH ;DG I=: ;DG:H::67A: ;JIJG:

                  -=>H G:HJAI:9 >C B>AA>DCH D; 9DAA6GH ADHI >C G:K:CJ: 6HH:IH 6C9 >C8DB: 6H

              *A6>CI>;;HW 7JH>C:HH:H L:G: 9:HIGDN:9


                H H::C )+'( *A6>CI>;;H I=:BH:AK:H L:G: I=:>G 7JH>C:HH 8DCIG68I:9 7N

            CJB:GDJH EG>K6I: 8DCIG68IDGH L=>8= >BB:9>6I:AN 8:6H:9 LDG@>C< L>I= *A6>CI>;;H

            ;DAADL>C< I=: '6N I= #CHI6<G6B EDHI >C8AJ9>C< 7JI CDI A>B>I:9 ID 8DCIG68IDGH
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          6C9 HEDCHDGH L=D =69 CDI DCAN :BEADN:9 6C9 LDG@:9 L>I= *A6>CI>;;H ;DG DK:G
          ;>;I::C N:6GH 7JI L=D >BB:9>6I:AN 9>H6HHD8>6I:9 I=:BH:AK:H ;GDB *A6>CI>;;H
  
                 -=GDJ<= I=: C><=I D; '6N I=   *A6>CI>;;H 6AI:GC6I:9 HA::E>C< ID
  
           B6C6<: 6C9 8=:8@ :68= DI=:GWH E=DC:H L=>8= L:G: ;JAA D; CDI>;>86I>DCH ;GDB
  
           HD8>6A B:9>6 :B6>A 6C9 B:HH6<>C< EA6I;DGBH
  

                *A6>CI>;;H L:G: H:CI 9:6I= I=G:6IH 6C9 =6G6HH>C< B:HH6<:H 6H =JC9G:9H D;

          I=DJH6C9H D; 688DJCIH G:EDHI:9 :;:C96CIHW 8DC9J8I 6C9 '69>HDC G:H=:6GHW

          9:;6B6IDGN EDHI

                   DAADL>C< '69>HDC G:H=:6GHW 9:;6B6IDGN EDHIH *A6>CI>;;H L:G: =6G6HH:9

           HD BJ8= HD I=6I I=:N G:8:>K:9 9:6I= I=G:6IH 6C9 DI=:G :MIG:B:AN 9>HIG:HH>C<

           8DBB:CIH 6C9 B:HH6<:H ;GDB K6G>DJH I=>G9 E6GI>:H 6H H::C 7:ADL


         •    T":N JHIN # =DE: EG>HDC >H :K:GNI=>C< NDJ =DE: ;DG '6N7: I=DH: I>AIH 6C9

             8DBE:I>I>DC IG>8@H L>AA 8DB: >C =6C9N 7:=>C9 76GH :HI D; AJ8@U S #CHI6<G6B

                                          JH:G A6JG6B6G7H
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         • TH8=DCG6@:G5;DID =>B 6C9 I=: B>HHJH =6K: 7::C IDD 7JHN  WC A>IIA: <>GAH ID
  
                           B6@: HD8>6A B:9>6 EDHIH >I LDJA9 6EE:6GU S #CHI6<G6B JH:G
  
                                               I=:5B:8=6C>86A6C>B6A
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            • T"> 88DG9>C< ID 6 G:8:CI EDHI 7N G:6A5LDGA9576AA:G>C6 9JHIN 7JIIDC >H 6

               EG:96IDG L=D >H CDI HDB:DC: E:DEA: H=DJA9 7: ADD@>C< JE ID $JHI HEG:69>C< I=:
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                                      LDG9 U S #CHI6<G6B .H:G 8=:GNAI6CMG
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      L; I .//?2C6.A6<; 3<? J/BAA 3B086;4K /BA D5605 :2.;@ J@<1<:6G6;4K 6; A56@ 0.@2 . 32:.92 05691
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          Q T9JHIN7JIIDC 2DJ 8=>A9 G6EHI *, 2DJ C::9 ID 7: I=GDLC >C 6 LDD9 8=>EE:G U
                                    S #CHI6<G6B .H:G 9JC:GDDHI:G
  
                     Q T=>A9 G6E>HI *), 2DJ C::9 ID 7: I=GDLC >C 6 LDD9 8=>EE:G U S
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                                       #CHI6<G6B .H:G 9JC:GDDHI:G
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                     H 6CDI=:G :M6BEA: 6H 9:E>8I:9 7N I=: H8G::CH=DI 7:ADL ;DAADL>C< I=:

               >C>I>6A EDHI CJB:GDJH =6I: E6<:H 6C9 688DJCIH L:G: 8G:6I:9 7N :;:C96CIH


             '69>HDC G:H=:6GH I=:>G ;DAADL:GH 6C9 K6G>DJH DI=:G I=>G9 E6GI>:H ID 7JAAN =6G6HH

              6C9 I=G:6I:C *A6>CI>;;H 6H 6 9>G:8I G:HJAI D; '69>HDC G:H=:6GHW 9:;6B6IDGN EDHIH

             6C9 G:B6G@H 6C9 :;:C96CIHW 8DCHE>G68N >C EDHI>C< I=:B
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      
         (.= @A  ?.=6@A
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         ')  '6202 <3 @56A
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         '&)  =6202 <3 @56A
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                  -=>H >H ?JHI 6 ;G68I>DC D; I=: 8DBBJC>86I>DCH CDI>;>86I>DCH I=G:6IH 6C9

              =6G6HHB:CI L=>8= *A6>CI>;;H G:8:>K:9 ;DAADL>C< '69>HDC G:H=:6GHW 9:;6B6IDGN

              EDHI 6AA D; L=>8= *A6>CI>;;H =6K: 9D8JB:CI:9 6C9 EG:H:GK:9 ;DG 9>H8DK:GN


                 I 6EEGDM>B6I:AN B>9C><=I *A6>CI>;;H L:G: 8DCI68I:9 7N I=: L>;: D; I=:

            DLC:G D; GI>HIH ,>BEAN "JB6C G>6CC6 /6A:CI> G6C: L=D >BB:9>6I:AN HI6I:9
            H=: L6H B69: 6L6G: D; I=: EDHI
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                 I I=>H I>B: *A6>CI>;;H L:G: 8DBEA:I:AN 9:K6HI6I:9 6C9 9>HIG6J<=I I=6I 'H
          G:H=:6GH =69 EDHI:9 HJ8= :<G:<>DJH 9>H<JHI>C< 6C9 JCIGJ: HI6I:B:CIH A6I:G
  
              9>H8DK:G>C< I=6I >I L6H 6<6>C :;:C96CIHW '>86= 6C9 '>8=6:A "JBE=G>:H L=D
  
              L:G: I=: 86I6ANHI ?JHI 6H I=:N L:G: >C     6C9  
  
                  'H G6C: HI6I:9 H=: @C:L I=: 9:;6B6IDGN HI6I:B:CIH L:G: :CI>G:AN ;6AH:
  

             6C9 B:6CI ID 9:HIGDN *A6>CI>;;H 7JI HJHE:8I:9 I=: 9:;6B6IDGN HI6I:B:CIH L:G:

             HI:BB>C< ;GDB 6 8DCHE>G:9 :;;DGI L>I= *A6>CI>;;HW :M <>GA;G>:C9 ;GDB   ,6<:

             "JBE=G>:H =:G E6G:CIH '>86= 6C9 '>8=6:A "JBE=G>:H 6C9 :;:C96CI "6CC6=

              ,IDAGDL L=D L6H 6AHD 'H G:H=:6GHW 7:HI ;G>:C9 6C9 L=D =69 EG:K>DJHAN

              =6G6HH:9 I=G:6I:C:9 6C9 9:;6B:9 *A6>CI>;;H >C   L>I= H>B>A6G 9:;6B6IDGN

              G:B6G@H H:CI ID :K:GN :BEADN:G 6C9 HEDCHDG D; *A6>CI>;;H DC: D; L=>8= L6H 'H

              G6C: =:GH:A;


                *A6>CI>;; JHIN JIIDC L6H 6H@:9 7N 'H G6C: ID 8DCI>CJ: L>I= I=:

            L::@:C9 6H H8=:9JA:9 >C 6C 6II:BEI ID B>C>B6A>O: I=: 96B6<: I=6I I=>H DCA>C:
            6II68@ LDJA9 9D ID =6GB =:G 8DBE6CN I=JH I:68=>C< =:G C:MI 96C8: 8A6HH 6I 6B

              DC '6N I=

                  )C '6N I=   I=: =6G6HHB:CI I=G:6IH 6C9 G:EDHIH D; '69>HDC

              G:H=:6GHW 9:;6B6IDGN EDHI DCAN 8DCI>CJ:9 6C9 >C ;68I LDGH:C:9 6H *A6>CI>;;H


            L:G: ;DG8:9 ID :C9JG: DC: D; I=: BDHI 9>;;>8JAI 96NH D; I=:>G A>K:H L6A@>C<

            I=GDJ<= 6 96C8: 8DCK:CI>DC ;JAA D; I=DJH6C9H D; E6GI>8>E6CIH >C8AJ9>C< E6G:CIH

            96C8: HIJ9>D DLC:GH I:68=:GH 6C9 8=>A9G:C 6AA D; L=DB =69 H::C I=: 9:;6B6IDGN
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          EDHI ;GDB I=: C><=I 7:;DG: L=>8= HI6I:9 *A6>CI>;;H TEG:N:9 DC NDJC< <>GAH 6C9
          96C8:GHU 6C9 I=6I *A6>CI>;; JHIN JIIDC 8DJA9 CDI T@::E 6 76AA:I ?D7U 7:86JH: H=:
  
           T<GDDBH NDJC< 96C8:GH ;DG H:M 68IH L>I= =:GH:A; 6C9 =:G =JH76C9U I=JH 7:A>:K>C<
  
           I=6I I=: E:DEA: I=:N DC8: >9DA>O:9 L:G: 8G>B>C6AH
  
               '69>HDC G:H=:6GHW 9:;6B6IDGN EDHIH L:G: >CI:CI>DC6A 6H H=: L6H 6L6G:
  

          =:G HI6I:B:CIH L:G: ;6AH: 6C9 9:;6B6IDGN @C:L I=: 8DCH:FJ:C8:H D; =:G

          >CI:CI>DC6AAN =6GB;JA HI6I:B:CIH 6C9 I=6I I=: 96B6<: ID *A6>CI>;;HW G:EJI6I>DCH 6C9

          7JH>C:HH LDJA9 7: HD 86I6HIGDE=>8 I=6I >I LDJA9 >C =:G DLC LDG9H GJ>C I=:>G

           A>K:H I=GDJ<= >GG:E6G67A: 96B6<:

               I 6B DC '6N I=   *A6>CI>;; JHIN JIIDC I6J<=I =:G H8=:9JA:9

           76AA:I 8A6HH ID 6 H:C>DG <GDJE D; 96C8:GH 6<:9 ;>;I::C 6C9 JE >C8AJ9>C< 69JAIH

           L=:G:6H >I L6H DC: D; I=: BDHI IG6JB6I>O>C< :ME:G>:C8:H *A6>CI>;;H :C9JG:9 6H


         9JG>C< I=: :CI>G:IN D; I=: 8A6HH 7DI= *A6>CI>;;HW E=DC:H L:G: G:8:>K>C< =JC9G:9H D;

         I=DJH6C9H D; CDI>;>86I>DCH G:<6G9>C< I=: 9:;6B6IDGN EDHI 7N '69>HDC G:H=:6GH
             )C I=: :K:C>C< D; '6N I=   *A6>CI>;;H B:I L>I= I=: DLC:G D; GI>HIH
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           ,>BEAN "JB6C 6L6N ;GDB I=: 8=6DH D; I=: 96C8: 8DCK:CI>DC 8G:6I:9 7N '69>HDC
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           G:H=:6GH 6I I=: G:HI6JG6CI '>A@7DN AD86I:9 6I        )*%+* *(* %
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                 JG>C< I=: B::I>C< L>I= DLC:G 6C9 9>G:8IDG G6=6B &D<6C G6C:
             *A6>CI>;; JHIN JIIDC L6H >C;DGB:9 I=6I H=: LDJA9 CDI 7: 6AADL:9 ID I:68= I=:
  
              G:HI D; =:G H8=:9JA:9 8A6HH:H ;DG I=: L::@:C9 6C9 L6H I:BEDG6G>AN HJHE:C9:9
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             ;GDB I=: G:HI D; I=: H:6HDC ID 6HH:HH =DL :K:GNI=>C< TE6CC:9 DJIU
  
                  -=G:: L::@H A6I:G JHIN JIIDC G:8:>K:9 6C :B6>A ;GDB G6=6B &D<6C
  

            G6C: EG:B6IJG:AN I:GB>C6I>C< =:G 8DCIG68I >C9:;>C>I:AN 6H 6 9>G:8I G:HJAI D;

            '69>HDC G:H=:6GHW 9:;6B6IDGN EJ7A>86I>DCH G:HJAI>C< >C 6 ADHH D; =6A; D; 6

            B>AA>DC 9DAA6GH 6H 6 G:HJAI D; =:G ADC< I:GB 8DCIG68I L>I= GI>HIH ,>BEAN "JB6C

             6C9 I=: :C9DGH:B:CIH I=6I G:KDAK:9 6GDJC9 >I
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                   0=>A: :K:GN HI6I:B:CI B69: 7N '69>HDC G:H=:6GH L6H ;6AH: >C >IH

             :CI>G:IN I=: 8DG: ;68IH D; *A6>CI>;;HW L=DB I=:H: HI6I:B:CIH L:G: B69: 67DJI

             L:G: :FJ6AAN >C688JG6I: 6C9 ;6AH: L=>8= '69>HDC G:H=:6GH =69 68IJ6A


           @CDLA:9<: D; >C8AJ9>C< 7:86JH: =:G HDJG8:H L:G: "6CC6= ,IDAGDL ,6<:

           "JBE=G>:H 6C9 '>86= 6C9 '>8=6:A "JBE=G>:H
                :;:C96CI HI6I:9 I=6I *A6>CI>;; -6NADG JIIDC 67JH:9 =>H EDL:G >C I=:

             96C8: >C9JHIGN L=:C >C ;68I =: L6H CDI :K:C >CKDAK:9 >C I=: 96C8: >C9JHIGN >C

             6CN 86E68>IN 6C9 >C ;68I L6H JCI>A I=>H 9:;6B6I>DC 9:HIGDN:9 =>H 7JH>C:HH 6

             A:69>C< 9:H><C:G 6C9 7J>A9:G D; LDGA9 G:CDLC:9 :GG6G>H G68: 86GH 6C9 B>A>I6GN


           K:=>8A:H L>I=>C I=: BDIDGHEDGI 6C9 6JIDBDI>K: >C9JHIGN 67GD69

                ,>C8: B6@>C< HJ8= ;6AH: B6A>8>DJH 6C9 9:;6B6IDGN HI6I:B:CIH CJB:GDJH

           B:9>6 DJIA:IH 6GDJC9 I=: LDGA9 =6K: 8DCI>CJ:9 ID FJDI: '69>HDC G:H=:6GH 7N
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             LGDC<;JAAN EDHI>C< I=6I *A6>CI>;;H G6E:9 <GDDB:9 H:MJ6AAN 6HH6JAI:9 9GJ<<:9
             6C9 IG6;;>8@:9 NDJC< <>GAH 6C9 96C8:GH >C8AJ9>C< 7N JH>C< I=:H: 9:;6B6IDGN 6C9
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              8>K>A 8DBEA6>CI 6<6>CHI *A6>CI>;;H DC $JAN I=  
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              A6LHJ>I L=>8= L6H ;>A:9 6<6>CHI *A6>CI>;;H I=G:: BDCI=H A6I:G >C DG9:G ;DG 'H
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              "JBE=G>:H ID <6>C B:9>6 8DK:G6<: 6C9 IG68I>DC ;DG =:G 86H: 6H L:AA 6H 8G>EEA:
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              *A6>CI>;;H ;>C6C8:H 6C9 7JH>C:HH 6H >I >BB:9>6I:AN I:GB>C6I:9 6CN 6C9 6AA
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              LDJA9 C:K:G G:8DK:G DC8: I=: LDGA9 A:6GC:9 I=: IGJI= I=6I I=:N L:G: :M:BEA6GN
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          6CNL6N >C HJ8= 6 L6N I=6I I=:N LDJA9 CDI 7: 67A: ID G:8DK:G B:CI6AAN HE>G>IJ6AAN
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              699>I>DC6AAN 9:;6B: =6G6HH 6C9 I=G:6I:C *A6>CI>;;H 6C9 699>I>DC6AAN JE96I: I=:
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              ;DGJB DC 86C8:AA:9 7JH>C:HH >C L=>8= I=>G9 E6GI>:H L:G: 8DCHE>G>C< L>I= '69>HDC
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            G:H=:6GH 6C9 ,6<: "JBE=G>:H ID H:C9 9:;6B6IDGN B:HH6<:H ID *A6>CI>;;HW

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          6C9 I=G:6I:C *A6>CI>;;H >C8AJ9>C< 9:;6B6IDGN EDHIH ;GDB T6CDCNBDJHU JH:GH

          6HHD8>6I:9 L>I= '69>HDC G:H=:6GH 6I D<A>6C9GD 6C9 ,6<: "JBE=G>:H L=>8=
          ;JGI=:G 9:HIGDN:9 I=: G:EJI6I>DCH D; *A6>CI>;;H >C8AJ9>C< 7JI CDI A>B>I:9 ID I=:
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       • T# =:6G9 =:G 6C9 =:G =JH76C9 =69 6C JC9:G6<: EGDHI>IJI: DK:G9DH: >C I=:>G GDDB >C
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           /:<6HU S 6CDCNBDJH JH:G DC +:99>I @CDLC 6H J 96C8:G9
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                 JGI=:G :M6BEA:H D; 9:;6B6IDGN 6C9 =6G6HH>C< EDHIH 6H 6 9>G:8I G:HJAI D;
          :;:C96CIHW ;6AH: 6C9 9:;6B6IDGN G:B6G@H 6G: 7:ADL ;GDB :;:C96CI '>86=
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           "JBE=G>:H <DD9 ;G>:C9
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        • T(DL I=6I >IWH ;>C6AAN EJ7A>8 I=6I JHIN JIIDC >H 6 H:MJ6A EG:96IDG 9DCWI NDJ
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          I=>C@ >IWH I>B: N6WAA HIDE ;DAADL>C< =:G DC #CHI6<G6B -=6I NDJG 8=>A9G:C HIDE

          ;DAADL>C< =:G -=6I NDJG 8DBE6CN HIDEH ;DAADL>C< =:G 0=D L: ;DAADL >H 6

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                  T2>@:H 0=D '%, JH H:I <D6AH I=6I L: 86C )(&2 G:68= L>I= I=:BU
          3:N: GDAA :BD?>4 2:6= 8DC<G6IH DC 68=>:K>C< NDJG 67JH: <D6AH 0DC9:G >;
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              H:MJ6AAN 6HH6JAI>C< B>CDGH L6H LDGI= NDJG 86G::G 9>HHDAK>C< DK:G 2DJWG: CDI
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              :CDJ<= ;DG =>B NDJ C:K:G L:G: C:K:G L>AA 7: 2DJ 86C CDI 7: I=: B>HH>C< E>:8:
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              ;DG 6 HD8>DE6I= 6C9 E:9DE=>A: U
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         HI6I:B:CIH B69: 7N '69>HDC G:H=:6GH :MEA>8>IAN 6C9 ;6AH:AN HI6I>C< I=6I

         *A6>CI>;;H EG:N:9 DC NDJC< <>GAH 6C9 96C8:GH ID <GDDB I=:B ;DG H:M 68IH L>I= :68=

         DI=:G ;JGI=:G :K>9:C8:H I=: L>9:HEG:69 >BE68I D; ;6AH: >C;DGB6I>DC >C>I>6I:9 7N
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          '69>HDC G:H=:6GHW 9:;6B6IDGN G:B6G@H 6C9 ;JGI=:G HEG:69 I=GDJ<= :;:C96CIHW
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          9>G:8I G:HJAI D; :;:C96CIH 9:;6B6IDGN G:B6G@H

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           DI=:GH ID 86AA I=: DLC:GH D; DC: D; I=: A6G<:HI BDIDGHEDGI :K:CIH DC I=: EA6C:I
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           I=6I *A6>CI>;; -6NADG JIIDC =:69A>C:9 :68= N:6G ,' L=:G: *A6>CI>;;H L:G:
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           H8=:9JA:9 ID B6@: 6 <J:HI 6EE:6G6C8: 6C9 9:7JI 6CDI=:G LDGA9 G:CDLC:9 K:=>8A:
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         ;DG I=: 9DO:CH D; HEDCHDGH 6C9 :BEADN:GH I=6I I=:N L:G: 8DCIG68I:9 ID

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                   AA D; I=: 67DK: G:;:G:C8:9 9:;6B6IDGN EDHIH 6C9 HI6I:B:CIH =6K: G:HJAI:9
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              >C 96B6<:H ID *A6>CI>;;H 9J: ID I=: ;6AH: 6C9 B>HA:69>C< HI6I:B:CIH EDHI:9 7N
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             :;:C96CI 6C9 >C HJ7H:FJ:CI EDHIH 6C9 G:EDGI>C< 7N :;:C96CI 6C9 DI=:G DJIA:IH

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                 &)" #( L6H DC: D; *A6>CI>;; JHIN JIIDCH A6G<:HI HEDCHDGH >C I=:
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              96C8: >C9JHIGN L=:G:6H *A6>CI>;; L6H I=: ;68: D; &)" #( ;DG B6CN N:6GH 6C9

              >C8AJ9:9 6 ;>;I::C N:6G G:A6I>DCH=>E ;GDB I=: I>B: *A6>CI>;; L6H H>MI::C N:6GH DA9
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                  )C DG 6GDJC9 $JAN I=   :;:C96CI '>86= "JBE=G>:H IDD@ ID HD8>6A
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              B:9>6 ID >CI:CI>DC6AAN :B76GG6HH =6G6HH 6C9 9:;6B: *A6>CI>;;H
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            A>I><6I>DC L6H >C EGD8:HH >C  
                :;:C96CI '>86= "JBE=G>:H EDHI:9 ;6AH: 6C9 9:;6B6IDGN HI6I:B:CIH L>I=

              68IJ6A B6A>8: EJ7A>8AN ID DK:G =6A; 6 B>AA>DC E:DEA: ID >CI:CI>DC6AAN =6GB

              *A6>CI>;;H 6C9 ID :B76GG6HH *A6>CI>;;H 7N A:69>C< I=: EJ7A>8 ID 7:A>:K: I=:
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              9>H<JHI>C< 6C9 9:;6B6IDGN GJBDGH :;:C96CI HD EGDJ9AN 7D6HI:9 DC I=: EJ7A>8
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            E6<: D; DC: D; *A6>CI>;; JHIN JIIDCWH 7><<:HI HEDCHDGH 6C9 L=D =:A9 6 ;>;I::C

            N:6G G:A6I>DCH=>E L>I= *A6>CI>;;

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                  :;:C96CI @C:L I=6I =:G HI6I:B:CIH L:G: ;6AH: 7JI B69: =:G 9:;6B6IDGN
              6C9 B6A>8>DJH HI6I:B:CIH 6CNL6N
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                   :;:C96CI 8DCHE>G:9 L>I= I=>G9 E6GI>:H >C8AJ9>C< =:G 96J<=I:G 6C9
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               699>I>DC6AAN 8D:G8:9 I=>G9 E6GI>:H ID EDHI 9:;6B6IDGN HI6I:B:CIH 6<6>CHI *A6>CI>;;H
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                   '>86= "JBE=G>:H EDHI:9 I=: ;DAADL>C< HI6I:B:CI DC &)" #(WH
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              A6G<:HI #CHI6<G6B 688DJCI L=>8= HEDCHDG:9 6C9 =><=A><=I:9 *A6>CI>;; JHIN JIIDC

              DC 6 G:<JA6G 76H>H

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         • B>86==JBE=G>:H HI6I:9 T0=>A: L: 6EEG:8>6I: NDJG HI6C9 6C9 HJEEDGI CDL
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            $JHI JE JCI>A 6 ;:L 96NH 6<D 2DJ =69 9JHIN 7JIIDC DC NDJG #CHI6<G6B 688DJCI >C
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            DC: D; NDJG =:69:G E>C@ 8>G8A:H 0: =69 =:6G9 DK:G I=: A6HI ;:L N:6GH I=6I E:DEA:
  
            =69 IG>:9 ID G:68= DJI 6C9 L6GC NDJ 67DJI =:G 6C9 =:G =JH76C9H 9:K>6CI 7:=6K>DG
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          N:I NDJ HI>AA 8=DH: ID 8DCI>CJ: ID <>K: =:G 6 EA6I;DGB CDI DCAN 6 EA6I;DGB 7JI

          DEEDGIJC>IN 6C9 688:HH ID DI=:G 96C8:GH # =DE: I=6I NDJG 8DBE6CN L>AA B6@:
          7:II:G 8=D>8:H >C I=: ;JIJG: U
  
         • '>86= "JBE=G>:H :MEDH:H =:G 8DCHE>G68N 6C9 >CKDAK:B:CI >C I:GB>C6I>C<
  
            *A6>CI>;; JHIN JIIDCWH G:A6I>DCH=>E L>I= &)" #( 7N HI6I>C< T- 
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         • '>86= "JBE=G>:H L6H I=: 9>G:8I HDJG8: D; L=D TG:68=:9 DJIU ID TL6GCU &)"
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            6H *A6>CI>;;H 6AG:69N =69 EGDD; D; :;:C96CIHW 7:=6K>DG 6C9 9:;6B6IDGN HI6I:B:CIH
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            B69: ID &)" #( 7JI EDH:9 6H 6 I=>G9 E6GIN L=D T=69 =:6G9U 67DJI *A6>CI>;;H
            T7:=6K>DGU L=>8= >H EG:8>H:AN I=: 9:B:6CDG 6C9 K:G7>6<: JH:9 L=:C '>86= 6C9
   
             '>8=6:A "JBE=G>:H H:CI 6 I:MI B:HH6<: ID *A6>CI>;;H TL6GC>C< I=:BU I=6I I=:N
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             LDJA9 T:MEDH:U I=:>G TEG:96IDGN 7:=6K>DGU ID I=: B:9>6 6C9 T<D EJ7A>8U >C  
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        •    DJG N:6GH A6I:G '>86= 6C9 '>8=6:A "JBE=G>:H 9>9 :M68IAN L=6I L6H HI6I:9 >C

            I=:>G I:MI B:HH6<: ID *A6>CI>;;H HD B6CN N:6GH EG>DG 6;I:G N:6GH D; CD 8DCI68I ID

            =6G6HH 9:;6B: 6C9 9:HIGDN I=:>G A>K:H
   
         • *A6>CI>;;H 6AG:69N =69 8DGG:HEDC9:C8: L>I= &)" #( >C   6C9 6<6>C >C
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               G:<6G9>C< 'H "JBE=G>:H 6C9 =:G E6G:CIHW 8DCHE>G68N L=:G:6H &)"
  
             #( =69 6 A:C<I=N 9>H8JHH>DC L>I= *A6>CI>;;H G:<6G9>C< I=: 67JH: EG:K:CI>DC DG9:G
  

           L=>8= L6H H:CI ID I=:B 7N T6CDCNBDJHU I=>G9 E6GI>:H A6I:G 8DC;>GB:9 ID 7:

           :;:C96CIH 6C9 6;;>A>6I:H D; :;:C96CIH >C8AJ9>C< 7JI CDI A>B>I:9 ID ,6<:

           "JBE=G>:HW BDI=:G '>86= "JBE=G>:H
  
         • '>86= "JBE=G>:H >H 9>G:8IAN G:HEDCH>7A: ;DG G:8@A:HHC:HH 6C9 C:<A><:C8: D; =:G
  
             DLC 96J<=I:GWH 8A6>BH >C 699>I>DC ID =:G DLC 9:;6B6IDGN ;6AH: 6C9 B6A>8>DJH
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             HI6I:B:CIH B69: DCA>C: 6C9 ID >CCJB:G67A: I=>G9 E6GI>:H
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        • '>86= "JBE=G>:H >H */8+):2? 8+96549/(2+ ;DG I=: I:GB>C6I>DC 6C9 9>H6HHD8>6I>DC
           D; &)" #( L>I= *A6>CI>;;H
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                         / '9:+8 '22+: )'*+3?
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                  '>86= "JBE=G>:H >H 9>G:8IAN G:HEDCH>7A: ;DG I=: I:GB>C6I>DC 6C9
             9>H6HHD8>6I>DC D; *A6>CI>;;HW 6;;>A>6I>DC 8DCIG68IJ6A 6<G::B:CIH 6C9 :BEADNB:CI
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               L>I= '6HI:G 6AA:I 869:BN
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                   '6HI:G 6AA:I 869:BN >H 6 96C8: HIJ9>D >C G>ODC6 L=:G:6H *A6>CI>;; L6H
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               6 ;DGB:G <J:HI I:68=:G ;DG I=6I HIJ9>D
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                   :;:C96CIH EGDK>9:9 8DE>:H D; I=:>G 96J<=I:GWH G:HIG6>C>C< DG9:GH 7N B6>A

              6C9 DG :B6>A ID 6AA D; *A6>CI>;;HW HEDCHDGH :BEADN:GH 7JH>C:HH 6;;>A>6I:H 6C9

              K6G>DJH DI=:G I=>G9 E6GI>:H >C8AJ9>C< 7JI CDI A>B>I:9 ID ,A6LDB>G 0DOC>6@ DLC:G
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               D; '6HI:G 6AA:I 869:BN >C   6C9  
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                   ,6<: "JBE=G>:HW 67JH: EG:K:CI>DC DG9:G ;GDB   K:G>;>:H I=6I H=: L6H
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               CDI I=G:6I:C:9 ;DG8:9 DG JC9:G 9JG:HH 6I I=: I>B: H=: L6H >C 6 G:A6I>DCH=>E L>I=
  
               *A6>CI>;;H I=>H 67JH: EG:K:CI>DC DG9:G L6H >C I=: EDHH:HH>DC D; :;:C96CIH 6C9
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             L6H 699>I>DC6AAN 6C9 HE:8>;>86AAN EGDK>9:9 ID >CCJB:G67A: HEDCHDGH :BEADN:GH

             6C9 6;;>A>6I:H D; *A6>CI>;;H >C8AJ9>C< 7JI CDI A>B>I:9 ID '6HI:G 6AA:I 869:BN K>6
             :B6>A G:HJAI>C< >C I=: I:GB>C6I>DC D; JHIN JIIDCWH 6;;>A>6I>DC 6C9 :BEADNB:CI
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               L>I= '6HI:G 6AA:I 869:BN >C9:;>C>I:AN
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                   ,A6LDB>G 0DOC>6@ DLC:G D; '6HI:G 6AA:I 869:BN H:CI *A6>CI>;;H 6C
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               :B6>A DC :7GJ6GN I=   8DC;>GB>C< ,6<: "JBE=G>:HW 67JH: EG:K:CI>DC
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             DG9:G L6H T6CDCNBDJHANU :B6>A:9 ID =>B ;GDB 6C :B6>A 688DJCI *A6>CI>;;H CDL

             @CDL ID 7: 6HHD8>6I:9 L>I= ,6<: "JBE=G>:H 6C9 :;:C96CIH '>86= 6C9 '>8=6:A

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                  H H=DLC >C I=: :B6>A EGDK>9:9 I=: T6CDCNBDJHU E6GIN >CI:CI>DC6AAN 6C9
              HE:8>;>86AAN G:;:GH ID T8=>A9G:CU >C I=: :B6>A 6C9 >C8AJ9:9 8DE>:H D; I=: 67JH:
   
               EG:K:CI>DC DG9:G ,6<: "JBE=G>:H D7I6>C:9 6I C:6GAN IL:CIN N:6GH D; 6<:
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                   :;:C96CIHW B:CI>DC D; *A6>CI>;; JHIN JIIDCWH LDG@ L>I= 8=>A9G:C L6H
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               :CI>G:AN >GG:A:K6CI ID *A6>CI>;;HW G:A6I>DCH=>E L>I= ,6<: "JBE=G>:H N:6GH EG>DG 7JI
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              I=: K:G7>6<: D; I=: :B6>A EA6CC:9 ID >CI:CI>DC6AAN =6GB *A6>CI>;;H 6C9 G:HJAI:9 >C

              I=: I:GB>C6I>DC D; *A6>CI>;; JHIN JIIDCWH G:A6I>DCH=>E L>I= ,A6LDB>G 0DOC>6@

              6C9 '6HI:G 6AA:I 869:BN 6H I=:N >CI:CI>DC6AAN HI6I:9 I=6I T8=>A9G:CWH H6;:IN >H
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               E6G6BDJCIU
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                   -=: :B6>A L=>8= L6H H:CI ID *A6>CI>;;H ;GDB ,A6LDB>G 0DOC>6@ >H H=DLC
  
               7:ADL 6C9 >H ?JHI DC: :M6BEA: D; I=: :<G:<>DJH ;6AH: 6C9 9:;6B6IDGN HI6I:B:CIH
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               B69: 7N :;:C96CIH 6C9 6HHD8>6I:9 I=>G9 E6GI>:H 6H 6 G:HJAI D; :;:C96CIHW
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               9>G:8I G:HJAI D; :;:C96CIHW 9:;6B6IDGN HI6I:B:CIH 6C9 8DC9J8I *A6>CI>;; JHIN
  
               JIIDC G:8:>K:9 6C :B6>A HI6I>C< I=:N 8DJA9 CD ADC<:G 7: 6HHD8>6I:9 L>I= *A6>CI>;;
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               JHIN JIIDC 6C9 I:GB>C6I:9 =:G H8=:9JA:9 I:68=>C< :C<6<:B:CI 6I '6HI:G 6AA:I
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               869:BN
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                 -=: H8G::CH=DI D; I=: :B6>A G:8:>K:9 7N *A6>CI>;; JHIN JIIDC ;GDB

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               6HHD8>6I:9 L>I= DJG :K:CI I=>H N:6GU >H 9>G:8I EGDD; I=6I :;:C96CIH 8DCHE>G:9 6C9
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               9:;6B:9 *A6>CI>;;H ID :CHJG: *A6>CI>;;HW 86G::GH G:EJI6I>DCH 7JH>C:HH G:A6I>DCH
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               :BEADNB:CI 6C9 HEDCHDGH=>EH L:G: 9:HIGDN:9
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                  (DI 7N 8D>C8>9:C8: I=: 96I: D; I=>H :B6>A I:GB>C6I>C< JHIN JIIDCWH
             8DCIG68I 6C9 HI6I>C< T>I >H >C DJG 7:HI >CI:G:HI ID B6@: HJG: NDJG C6B: >H CDI
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               6HHD8>6I:9 L>I= DJG :K:CI I=>H N:6GU >H 9>G:8I EGDD; I=6I :;:C96CIH 8DCHE>G:9 L>I=
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               ,6<: "JBE=G>:H ID :CHJG: *A6>CI>;;HW 86G::GH G:EJI6I>DCH 7JH>C:HH G:A6I>DCH
   
               :BEADNB:CI 6C9 HEDCHDGH=>EH L:G: 9:HIGDN:9
   

                   J<JHI I=   >H I=: EG:8>H: 96I: >C L=>8= ,6<: "JBE=G>:H G:8:>K:9

              =:G E:GB6C:CI 67JH: EG:K:CI>DC DG9:G 6I 6C :M E6GI: =:6G>C< 7N AN>C< ID I=: DJGI

              6C9 L>I==DA9>C< 9D8JB:CIH L=>8= EGDK:9 H=: L6H AN>C< L=:G:6H *A6>CI>;;H L:G:
  
               CDI EG:H:CI ID 9:;:C9 I=:BH:AK:H 6C9 :FJ6AAN =69 CD G:EG:H:CI6I>DC EG:H:CI
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                   :;:C96CIH >CI:CI>DC6AAN L>AA;JAAN 6C9 B6A>8>DJHAN =6GB:9 *A6>CI>;;H
  
               >C8AJ9>C< 7N B6C>EJA6I>C< I=: C6GG6I>K: ID :C8DJG6<: 6CN 6;;>A>6I: D; *A6>CI>;;H
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               H=DJA9 7: 6;G6>9 D; I=:B
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                 -=: ;DG:B:CI>DC:9 HI6I:B:CIH 6C9 :B6>AH 6G: ?JHI 6 ;G68I>DC D; L=6I L6H

             H:CI ID '6HI:G 6AA:I 869:BN 6C9 L=>8= :C9:9 I=: G:A6I>DCH=>E 7:IL::C I=:
             HIJ9>D ,A6LDB>G 0DOC>6@ 6C9 *A6>CI>;;H
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                   :;:C96CI '>86= "JBE=G>:H >H 9>G:8IAN G:HEDCH>7A: ;DG 8G:6I>C< 6 =6I:
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               <GDJE DC 68:7DD@ L=>8= L6H 9>G:8I:9 6I *A6>CI>;;H ID :C8DJG6<: 6 B6HH 6J9>:C8:
  
               DC HD8>6A B:9>6 ID 9:;6B: =6G6HH I=G:6I:C 6C9 9>H6HHD8>6I: ;GDB *A6>CI>;;H
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                 :;:C96CI @C:L =:G 8DC9J8I L6H :<G:<>DJH 6H H=: 8DCI>CJ:9 ID :6<:GAN

             6C9 6<<G:HH>K:AN EJGHJ: *A6>CI>;;H 7N 9:HIGDN>C< I=:>G G:EJI6I>DCH 86G::GH 6C9

             A>K:A>=DD9H I=GDJ<= ;6AH: 6C9 9:;6B6IDGN HI6I:B:CIH
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                     )C $JAN    ,6<: "JBE=G>:H *A6>CI>;;H :M <>GA;G>:C9 6C9 !>C6
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                ':C>8=>CD ;DGB:G 96C8: HIJ9:CI 6I :CI:GHI6<: 6C8: 869:BN >C ADG>96 DK:G
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                ;DJGI::C N:6GH 6<D ;>A:9 6 ;G>KDADJH 6C9 B6A>8>DJH 8>K>A 8DBEA6>CI 6<6>CHI
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                *A6>CI>;; >C I=>H 86H: -6NADG JIIDC
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                      *A6>CI>;;H 9>H8DK:G:9 I=GDJ<= I=: =:69A>C>C< ;GDCI E6<: EJ7A>H=>C< D; -=:

               (:L 2DG@ ->B:H I=6I I=>H 8DBEA6>CI L6H ;>A:9 '( &( ID *A6>CI>;; -6NADG JIIDC

               ,%  % )(,
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                      -=: 6AA:<6I>DCH 7GDJ<=I ;DGI= 7N ,6<: "JBE=G>:H 6C9 !>C6 ':C>8=>CD 6G:
  
                  ;6AH: >C I=:>G :CI>G:IN =DL:K:G I=:H: 8DBEA6>CIH EGDK: $6C: D:WH ;G6J9 ;JGI=:G
  
                  6H =:G ;6AH: 6C9 9:;6B6IDGN 6AA:<6I>DCH 6C9 HI6I:B:CIH 67DJI *A6>CI>;;H ( %&*
  
                  HJEEDGI:9 7N I=:>G 6AA:<6I>DCH ,%  I=: 6AA:<6I>DCH L:G: IGJ: I=:N 6G: CDI
  

                    )C ,:EI:B7:G    *A6>CI>;;H L:G: B:I L>I= 6C 6B:C9:9 8DBEA6>CI

              L=>8= >C8AJ9:9 ;6AH: 6AA:<6I>DCH ;GDB *A6>CI>;; -6NADG JIIDCWH :M <>GA;G>:C9
              6C>:AA: !JI>:GG:O 6C9 +DH:B6G>: :C<:AD 6CDI=:G LDB6C ;GDB I=: H6B:
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                96C8: HIJ9>D >C          6C9 ' =53'4 :.+? .'<+ 4+<+8 3+: $6C: D: 
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       
          )22 %2C.1. 6@A?60A <B?A .@2  0C  (*!-
     
          '9.6;A633@ 5.C2 36921 . 9.D@B6A 6; A52 )<BA52?; 6@A?60A <B?A <3 %2D -<?8 .4.6;@A *52 %2D -<?8 *6:2@
       <:=.;F I @22 0.@2  0C+ D5605 6;09B12@ 09.6:@ .4.6;@A A52 .AA<?;2F@ <3 ).42 B:=5?62@ 3<?
     0<99B16;4 D6A5 A52 :216. .:<;4@A <A52? 09.6:@
       
          5AA=@ DDD ;FA6:2@ 0<:                .?A@ 1.;02 :6A05299/BAA<;1B@AF/BAA<;./B@2 5A:9  %2D -<?8
     *6:2@ .?A6092 =B/96@521 <; !B9F           =?6<? A< *.F9<? BAA<; 2C2? /26;4 @2?C21 D6A5 A52 0<:=9.6;A
       
          )64?61 $0.D92F <?646;.99F 36921 !.;2 <2 .@ !.;2 <2            6; <?12? A< 92.1 A52 =B/960 A< /2962C2 A52?2
     D2?2 5B;1?21@ <3 C60A6:@ @2;@.A6<;.96G6;4 A52 0<:=9.6;A 3<? A52 :216. &; 2/?B.?F                A52 <B?A
       <?12?21 $@ $0.D92F A< ?232? A< !.;2 <2            .@ !.;2 <2
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                      -=: 6AA:<6I>DCH 7GDJ<=I ;DGI= 7N I=: A>I><6CIH >C I=: 6B:C9:9 8DBEA6>CI
               6G: ;6AH: >C I=:>G :CI>G:IN =DL:K:G I=: 6AA:<6I>DCH 7GDJ<=I ;DGI= 7N 6C>:AA:
   
                 DB>C<J:O 6C9 +DH:B6G>: :C<:AD EGDK: $6C: D:WH 9:;6B6I>DC ;JGI=:G 6H
   
                 =:G ;6AH: 6C9 9:;6B6IDGN 6AA:<6I>DCH 6C9 HI6I:B:CIH 67DJI *A6>CI>;;H ( %&*
   
                 HJEEDGI:9 7N :>I=:G D; I=: DI=:G LDB:CWH 6AA:<6I>DCH ,%  I=: 6AA:<6I>DCH >C I=:
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                8DBEA6>CI L:G: IGJ: I=:N 6G: CDI 6C9 I=: ) %  %* 9>;;:G:C8: =:G: >H I=6I

                2'/4:/,,9 .'<+ 4+<+8 3+: 58 .+'8* 5, '4+ 5+ 6H H=: >H 6 *&*# )*(%(

                      *A6>CI>;; JHIN JIIDC =6H C:K:G B:I 6C>:AA: !JI>:GG:O DG +DH:B6G>:
  
                 :C<:AD
  
                      )C :8:B7:G    *A6>CI>;;H L:G: '-'/4 B:I L>I= 6C 6B:C9:9
  
                 8DBEA6>CI T-=: ,:8DC9 B:C9:9 DBEA6>CIU L=:G:6H ILD BDG: A>I><6CIH L:G:
  
                 699:9 *A6>CI>;; -6NADG JIIDCWH                                           $6C: D:  6C9
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               ;DGB:G *A6>CI>;;H CDL +,+4*'4: /4 ' 9+6'8':+ '):/54 $JA>:I D=:GIN

                    )C $JAN  D;   *A6>CI>;;H ;>GHI ;>A:9 6 -=>G9 *6GIN DBEA6>CI 6C9
              DJCI:G8A6>BH  (D  L=:G:6H I=:N 7GDJ<=I 8>K>A 8DCHE>G68N 8A6>BH
  
                6<6>CHI '>8=6:A 6C9 '>86= "JBE=G>:H
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     
          )64?61 $0.D92F <?646;.99F 36921 !.;2 <2 .@ !.;2 <2            6; <?12? A< 92.1 A52 =B/960 A< /2962C2 A52?2
       D2?2 5B;1?21@ <3 C60A6:@ @2;@.A6<;.96G6;4 A52 0<:=9.6;A 3<? A52 :216. &; 2/?B.?F                A52 <B?A
     <?12?21 $@ $0.D92F A< ?232? A< !.;2 <2           .@ !.;2 <2
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          '9.6;A633@ .?2 @B6;4 3<?:2? '9.6;A633 6; %2C.1. .3A2? C<9B;A.?69F 16@:6@@.9 !B962A <52?AF 3<? :.9606<B@
     =?<@20BA6<; .:<;4@A <A52? 0.B@2@ <3 .0A6<; 6; A52 )<BA52?; 6@A?60A <B?A <3 %2D -<?8 0.@2  0C
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                  )C :7GJ6GN    I=: (:K696 >HIG>8I DJGI =:6G9 DG6A 6G<JB:CI DC
              E:C9>C< >HHJ:H >C8AJ9>C< *A6>CI>;;HW 8A6>BH 6<6>CHI '>86= 6C9 '>8=6:A
   
               "JBE=G>:H EGDK>9>C< HJEEA:B:CI6I>DC D; I=:>G 8A6>B L>I= HJEEDGI>C< 9D8JB:CIH
   
               L=>8= >C8AJ9:9 I=: $JAN    EDA>8: G:EDGI 6H H::C 67DK: 6C9 I=: I:MI
   
            B:HH6<:H 7:IL::C ,6<: 6C9 =:G BDI=:G H::C 67DK:
   

                  -=: DJGI JAI>B6I:AN 9>HB>HH:9 I=: 8A6>BH 6<6>CHI '>86= 6C9 '>8=6:A

           "JBE=G>:H =DL:K:G I=: 8A6>BH L:G: EJG:AN 9>HB>HH:9 9J: ID A68@ D; ?JG>H9>8I>DC

           '>86= 6C9 '>8=6:A "JBE=G>:H L:G: 9>HB>HH:9 I=DJ<= I=: DJGI HI6I:9
  
                      T)@6N H ID I=:      ID I=: "JBE=G>:H BDI>DC ID 9>HB>HH I=: JIIDCH I=>G9
  
                      E6GIN DBEA6>CI 6C9 8DJCI:G8A6>B # 6B <D>C< ID <G6CI I=6I BDI>DC >C E6GI
  
                      6C9 I=:C 9:;:G DC I=: 9:;6B6I>DC 8A6>B ,D A:I B: ?JHI :MEA6>C A6>B  >H
  
                      I=: :FJ>I67A: 8DCIG>7JI>DC 8A6>B 6C9 #B <D>C< ID <G6CI I=: BDI>DC ID
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                    9>HB>HH DC I=6I ;DG A68@ D; E:GHDC6A ?JG>H9>8I>DC D; I=: "JBE=G>:H 

                    8+'2/@+ :5 :.+ ;::549 :.':9 ' ,8;9:8':/54 7JI # 9D       # 7:A>:K: I=6I >IH
                    8DC8:9:9 I=6I I=: DJGI A68@H <:C:G6A ?JG>H9>8I>DC DK:G I=: "JBE=G>:H
  
                      7:86JH: I=:N 9DCI A>K: =:G: >C (:K696 L=:G: I=:NG: 7:>C< HJ:9 6C9 I=6I
  
                      I=:G:H ?JHI 6C >C69:FJ6I: 76H>H    DG I=:G:H CD 76H>H HD ;6G ID H6N I=6I
  
                      I=:G:H HE:8>;>8 ?JG>H9>8I>DC DK:G I=:B -=: A6L G:FJ>G:H I=6I I=:G:H HDGI D;
  

                    6 ;68IJ6A 76H>H ID H=DL I=6I I=:N =6K: 6K6>A:9 I=:BH:AK:H ID HJ>I >C (:K696

                    7N 9>G:8I>C< I=:>G 68I>K>I>:H =:G: DG 6K6>A>C< I=:BH:AK:H D; I=: ?JG>H9>8I>DC

                    6C9 I=6IH 6 ;68I >CI:CH>K: 6C6ANH>H 7JI # 9DCI I=>C@ I=6I I=:G:H 6 ;68IJ6A
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                  76H>H ID BDK: ;DGL6G9 C9 # 9DCI 68IJ6AAN I=>C@ I=6I I=:G:H 6 ;68IJ6A
                  76H>H ID :MEADG: I=6I >HHJ: BDG: >C 9>H8DK:GN <>K:C L=6I I=: G:8DG9
   
                   >C9>86I:H HD ;6G 67DJI I=:B 6C9 I=:>G 8DC9J8I ,D #B <D>C< ID 9>HB>HH I=6I
   
                   :FJ>I67A: 8DCIG>7JI>DC 8A6>B 76H:9 DC A68@ D; E:GHDC6A ?JG>H9>8I>DC 6C9
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                   7:86JH: #B 9>HB>HH>C< 76H:9 DC A68@ D; E:GHDC6A ?JG>H9>8I>DC 3R4
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                  C9 I=:C I=:G:H 6 BDI>DC     I=: JIIDCH =6K: 6 BDI>DC ID HJEEA:B:CI

                  L=>8= >H  (JB7:G  ID HJEEA:B:CI I=:>G G:HEDCH: ID I=: BDI>DC ID

                  9>HB>HH #C DG9:G     I=:G:H <DD9 86JH: ID G:FJ>G: I=:B ID HJEEA:B:CI 
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                   0;9: ='4: :5 3'1+ )2+'8 :5 ?5; :.':  '):;'22? 8+</+=+* :.+ *5);3+4:
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                   95  145= =.': /: 9'?9 7JI # 6B <D>C< ID 9:CN >I 7:86JH: # 9D 7:A>:K: I=6I
  
                   >IH CDI   >IH CDI G:A:K6CI ID BN 9:I:GB>C6I>DC >C I:GBH D; =6K>C<
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                   699>I>DC6A ;68IH L=:C #B 9:8>9>C< I=6I I=: :FJ>I67A: 8DCIG>7JI>DC 8A6>BH
  

                 ;6>AH 6H 6 B6II:G D; A6L C9 HD #B <D>C< ID 9:CN I=6I BDI>DC :>I=:G ;DG

                 A68@ D; <DD9 86JH: 6C9 DG 7:86JH: >IH BDDI <>K:C BN 9>HEDH>I>DC DC I=:
                 8A6>B U
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                "DCDG67A: $J9<: -G6JB B69: >I 8A:6G I=6I I=: 9>HB>HH6A D; *A6>CI>;;HW
  
            8A6>BH 6<6>CHI I=: "JBE=G>:H L6H >C CD L6N 9J: ID 6CN DI=:G G:6HDC 6H>9: ;GDB
  
            A68@ D; ?JG>H9>8I>DC >C8AJ9>C< 7N HI6I>C< H=: TJC9:GHIDD9 3*A6>CI>;;H4 ;GJHIG6I>DC
  

          6C9 I=6I H=: TG:K>:L:9 I=: 9D8JB:CI HD 3H=: @C:L4 L=6I >I 3H6>94

              *A6>CI>;;H 6II:BEI:9 H::@ A:<6A G:8DJGH: 6C9 HDB: HDGI D; G:A>:; 6<6>CHI

          '>86= 6C9 '>8=6:A "JBE=G>:H >C   I=GDJ<= 6 I=>G9 E6GIN 8DBEA6>CI 6H >I L6H
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              I=:>G DCAN B:6CH ID 9D HD +( % '% % # * * &% 7JI =6K: 7::C JC67A: ID H::@
              I=: ?JHI>8: I=:N 9:H:GK: 9J: ID I=: "JBE=G>:HW 8DCI>CJ:9 =6G6HHB:CI ;DAADL>C<
   
               I=: 9>HB>HH6A D; I=:>G (:K696 8A6>BH >C8AJ9>C< I=6I *A6>CI>;;H HJ7ED:C6:9 I=:
   
               "JBE=G>:H ;DG EGD9J8I>DC D; 9D8JB:CIH 9JG>C< I=: 9>H8DK:GN EGD8:HH 7JI G:8:>K:9
   
               A>IIA: ID CD 9D8JB:CIH G:FJ:HI:9 6H I=:N L:G: >BB:9>6I:AN G:EG:H:CI:9 7N I=:>G
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              96J<=I:GWH 6IIDGC:NH ;GDB D>:H ,8=>AA:G  A:MC:G L=D 6HH>HI:9 I=:B >C

              L>I==DA9>C< 9D8JB:CIH ;GDB *A6>CI>;;H 6H I=:N 6<6>C 8DC8:6A:9 I=:>G ;G6J9

                     )C :7GJ6GN    ;DGB:G *A6>CI>;; $JA>:I D=:GIN KDAJCI6G>AN
  
                 9>HB>HH:9 =:G 8A6>BH 6<6>CHI JHIN 6C9 -6NADG JIIDC I=: 96N 6;I:G H=: G:8:>K:9
  
                 =:G G:FJ:HIH ;DG 69B>HH>DCH ;GDB *A6>CI>;;H
  
                      -=: 6AA:<6I>DCH 7GDJ<=I ;DGI= 7N $JA>:I D=:GIN 6C9 $6C: D:  6G: ;6AH:
  
                 >C I=:>G :CI>G:IN &-,( I=: 8DBEA6>CIH ;GDB I=: ILD LDB:C EGDK: $6C: D:WH
  

               ;G6J9 ;JGI=:G 6H =:G ;6AH: 6C9 B6A>8>DJH 6AA:<6I>DCH ( %&* HJEEDGI:9 7N :>I=:G

               LDB6CWH 6AA:<6I>DCH ,%  I=: 6AA:<6I>DCH >C I=: 8DBEA6>CI L:G: IGJ: I=:N 6G:
               CDI
  
                      *A6>CI>;; JHIN JIIDC =6H C:K:G B:I $6C: D: 
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         '9.6;A633@ 5.C2 36921 . 9.D@B6A .4.6;@A 3<?:2? '9.6;A633 !B962A <52?AF 6; A52 )<BA52?; 6@A?60A <3 %2D
       -<?8 3<? @2EB.9 .@@.B9A .;1 :.9606<B@ =?<@20BA6<; .:<;4@A <A52? 09.6:@ .@ D299 .@ 52? :<A52? "?6@A. "6;4
     <52?AF .;1 1.;02 =5<A<4?.=52? #B6@ '<;@ <; 09.6:@ <3 123.:.A6<; .;1 06C69 0<;@=6?.0F 6;09B16;4 D6A5
       A52 B:=5?62@ I 0.@2  0C  !'
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                   :;:C96CIH 8DCHE>G:9 L>I= ,6<: "JBE=G>:H ID 8DBB>I ;G6J9 EG>DG ID ;>A>C<
              =:G 8DBEA6>CI 6C9 =:G 8DCI>CJ6C8: >C 68IJ6AAN 8DBB>II>C< I=6I ;G6J9 L=>8= H=: >H
   
               8DCI>CJ>C< ID96N
   
                    :;:C96CIH IDD@ 68I>K: HI:EH >C 6>9>C< 6C9 67:II>C< ,6<: "JBE=G>:H >C
   
               8DCIG>7JI>DC ID =:G HJ88:HH >C 9:;G6J9>C< I=: DJGI
   

                  :;:C96CIH A>:9 ID A6L :C;DG8:B:CI ID 8G:6I: 6 ;6AH: 6C9 9:;6B6IDGN

              C6GG6I>K: 6<6>CHI *A6>CI>;;H DC 6I A:6HI H:K:C 9>;;:G:CI D886H>DCH I=6I *A6>CI>;;H 6G:

              6L6G: D;
  
                    :;:C96CIH 6G: :FJ>I67AN :HIDEE:9 ;GDB 6HH:GI>C< 6 HI6IJI: D; A>B>I6I>DCH
  
               9:;:CH: 6H ID *A6>CI>;;HW 8A6>BH
  
                    AADL>C< :;:C96CIH ID 9D HD LDJA9 7: ;40;9:
  
                    :;:C96CIH IDD@ 68I>K: HI:EH ID EG:K:CI I=: JIIDCH ;GDB 8DBB:C8>C<
  

            I=>H A6LHJ>I 7:;DG: CDL >C8AJ9>C< 7N L>I==DA9>C< >BE:G6I>K: 9D8JB:CIH L=>8=

            L:G: DJGI DG9:G:9 6C9 G:FJ:HI:9 K>6 HJ7ED:C6 8DC8:6A>C< :K>9:C8: D; ;G6J9
            6>9>C< 6C9 67:II>C< ;G6J9 ;6>A>C< ID E:G;DGB 9JI>:H L=>8= LDJA9 =6K: EGDI:8I:9
  
              6C9 L6GC:9 *A6>CI>;;H D; I=: =6GB >CI:C9:9 6<6>CHI I=:B 6C9 JAI>B6I:AN G:HJAI>C<
  
              >C I=: ;6AH: 6AA:<6I>DCH 9:;6B6IDGN G:B6G@H 6C9 B:9>6 EDHIH L=>8= 9:;6B:9 I=:
  
              <DD9 C6B:H D; *A6>CI>;;H >C I=:>G G:HE:8I>K: >C9JHIG>:H L=:G:6H >; >I L:G: CDI ;DG
  

            :;:C96CIHW 68I>DCH 6C9 DG A68@ I=:G:D; ,6<: "JBE=G>:H LDJA9 =6K: 7::C

            EG:K:CI:9 ;GDB 86JH>C< I=: H:K:G: =6GB ID *A6>CI>;;H L=D ADHI :K:GNI=>C< 9J: ID

            I=: ;6AH: 6C9 =:>CDJH 6AA:<6I>DCH 6C9 L=D =6K: 7::C >C E:C9>C< A>I><6I>DC L>I=
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           ,6<: "JBE=G>:H ;DG DK:G H:K:C N:6GH 7JI EG:K:CI:9 ;GDB H::@>C< G:8DJGH:
           6<6>CHI I=: :;:C96CIH >C I=>H A>I><6I>DC JCI>A CDL 6H 6 9>G:8I 6C9 EGDM>B6I: G:HJAI
   
            D; I=:>G 8DC9J8I
   
                    *A6>CI>;;H 8DCI>CJ: ID HJ;;:G B:CI6A 6C<J>H= H:K:G: :BDI>DC6A 9>HIG:HH
   
            8DBEA:I: ADHH D; >C8DB: 96B6<: ID I=:>G G:EJI6I>DCH 6C9 86G::GH 6C9 I=: >C67>A>IN
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           ID <:C:G6I: 6CN >C8DB: 6H 6 9>G:8I 6C9 EGDM>B6I: G:HJAI D; :;:C96CIHW :<G:<>DJH

           8DC9J8I >C8AJ9>C< I=6I I=:N 6G: HI>AA >CKDAK:9 >C E:C9>C< A>I><6I>DC L>I= ,6<:

           "JBE=G>:H 6H D; I=: 96I: 6C9 I>B: D; I=>H 8DBEA6>CI 7:>C< ;>A:9 J<JHI   
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                         /$-4*! !4!-5. *1+(1!)!*/ * -0 0(!*/ /%+*.
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                   %6I=GNC: ':N:G @CDL>C<AN 6C9 L>AA>C<AN 6HH>HI:9 ,6<: "JBE=G>:H >C =:G
  
               EJGHJ>I D; =:G G:A6I>DCH=>E L>I= *A6>CI>;;H L=>A: H>BJAI6C:DJHAN EA6N>C< I=: GDA: D;
  
               6 I=:G6E>HI =>G:9 ID >CI:GK:C: 6C9 DG 8DCK>C8: ,6<: "JBE=G>:H ID :C9 6
  

             G:A6I>DCH=>E L=>8= H=: >C>I>6I:9 L>I= *A6>CI>;;H

                 I I=: I>B: ,6<: "JBE=G>:H L6H ;DG8:9 ID H:: %6I=GNC: ':N:G ;DG
             I=:G6EN :;:C96CI 6AADL:9 ,6<: "JBE=G>:H ID JH: =:G E=DC: DC 6I A:6HI ILD
  
               D886H>DCH ID 8DCI68I 6C9 I6A@ ID *A6>CI>;;H
  
                   'H ':N:G @C:L I=6I 'H "JBE=G>:HW 9:H>G: L6H ID 7: >C 6 G:A6I>DCH=>E
  
               L>I= *A6>CI>;;H L=>8= >H L=N H=: 6AADL:9 'H "JBE=G>:H ID JH: =:G E=DC: ID
  

             8DCI68I *A6>CI>;;H 7:=>C9 =:G E6G:CIHW 768@ @CDL>C< '>86= 6C9 '>8=6:A

             "JBE=G>:H L:G: 8DCHE>G>C< ID 8DBB>I BJAI>EA: 8G>B>C6A 68IH >C8AJ9>C< AN>C< ID

             A6L :C;DG8:B:CI 67DJI I=:>G 96J<=I:GWH G:A6I>DCH=>E L>I= *A6>CI>;;H L=>A: @CDL>C<
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             6C9 6AADL>C< I=:>G 96J<=I:G ID 8DCI68I *A6>CI>;;H 6I I=: H:HH>DCH =:G E6G:CIH L:G:
             ;DG8>C< =:G ID <D ID
   
                    )C 6I A:6HI ILD D886H>DCH ,6<: "JBE=G>:H JH:9 %6I=GNC: ':N:GWH
   
              E:GHDC6A E=DC: ID 86AA *A6>CI>;;H L=>A: I=:N L:G: >C JHIG6A>6 :68= 86AA L6H C:6GAN
   
              6C =DJG >C A:C<I= G:C9:G>C< I=: :CI>G:IN D; =:G I=:G6EN H:HH>DC
   

                  #CHI:69 D; ,6<: "JBE=G>:H G:8:>K>C< I=: I=:G6EN =:G E6G:CIH ;DG8:9 =:G

              >CID H=: L6H HE:C9>C< I=DH: H:HH>DCH 8DCI68I>C< *A6>CI>;;H 6C9 EA:69>C< ;DG I=:B

              ID TH6K: =:GU 6C9 ID T8DB: <:I =:GU
  
                   'H ':N:G @C:L 6C9 6HH>HI:9 7DI= ,6<: "JBE=G>:H 6C9 =:G E6G:CIH
  
               '>86= 6C9 '>8=6:A "JBE=G>:H L>I= I=:>G H:E6G6I: EA6CH
  
                   )C8: 'H ':N:G @C:L D; '>86= 6C9 '>8=6:AWH EA6CH ID 9:;6B: *A6>CI>;;H
  
               6C9 ;>A: ;6AH: EDA>8: G:EDGIH 6<6>CHI I=:B I=:G:7N 8DBB>II>C< CJB:GDJH 8G>B>C6A
  

             68IH H=: =69 6 9JIN ID L6GC 6C9 EGDI:8I *A6>CI>;;H ;GDB I=: ;G6J9 H=: @C:L LDJA9

             7: DG =69 7::C 8DBB>II:9 6<6>CHI *A6>CI>;;H
                 JG>C< I=: 8DJGH: D; I=: (:K696 A>I><6I>DC ,6<: "JBE=G>:H HI6I:9 I=6I H=:
  
               A6I:G >C;DGB:9 %6I=GNC: ':N:G I=6I H=: =69 7::C G6E:9 7N *A6>CI>;;H 9JG>C< =:G
  
               I=:G6EN H:HH>DCH 7JI I=6I 'H ':N:G ;6>A:9 ID G:EDGI >I ID 6JI=DG>I>:H 6C9 I=6I
  
               7:86JH: HD BJ8= I>B: =6H E6HH:9 I=:G: >H CD ADC<:G 6CN G:8DG9 D; ,6<:
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             "JBE=G>:HW 69B>HH>DC ID 'H ':N:G

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                    )C )8ID7:G    *A6>CI>;;H 8DCI68I:9 'H ':N:G 7N I:A:E=DC: ID
             >CFJ>G: 67DJI I=: 6AA:<:9 G6E: I=6I ,6<: "JBE=G>:H H6>9 H=: G:EDGI:9 ID 'H
   
              ':N:G 6C9 G:8DG9:9 I=: E=DC: 86AA 6H I=:N 6G: >C 6 DC: E6GIN 8DCH:CI HI6I:
   
                     )C I=: 86AA *A6>CI>;;H 699G:HH:9 I=: E=DC: 86AAH ;GDB 'H ':N:GWH E=DC:
   
              >C   L=:G:6H 'H ':N:GWH A>:9 6C9 H6>9 T# =6K: 6 9>;;:G:CI CJB7:GU
   

                    'H ':N:GWH G:HEDCH: L6H K:GN D99 6H I=: E=DC: CJB7:G *A6>CI>;;H 86AA:9

              =:G DC >C   L6H I=: K:GN H6B: CJB7:G ,6<: "JBE=G>:H 86AA:9 ;GDB >C  

              N:I 'H ':N:G ;6AH:AN 8A6>B:9 I=6I L6H CDI =:G CJB7:G L=>A: HE:6@>C< ID
  
               *A6>CI>;;H DC I=6I E=DC: CJB7:G DC )8ID7:G    6H *A6>CI>;;H HI6I:9 ID =:G T>I
  
               >H I=: H6B: E=DC: CJB7:G # JH:9 ID 86AA NDJ G><=I CDLU
  
                     :;:C96CI ':N:G I=:C B69: 8A:6G I=6I H=: L6CI:9 I=: FJ:HI>DCH >C LG>I>C<
  
               G:<6G9>C< ,6<: "JBE=G>:H 6C9 =:G E6G:CIH
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                   *A6>CI>;;H :B6>A:9 'H ':N:G ID CD EG:K6>A

                    )C $JAN    *A6>CI>;;H 6<6>C :B6>A:9 'H ':N:G L>I= I=: G:A:K6CI
             FJ:HI>DCH EGDK>9:9 DC I=: E=DC: 86AA 7JI 6<6>C 'H ':N:G 9>9 CDI G:HEDC9
  
                     H 6 9>G:8I 6C9 EGDM>B6I: 86JH: D; 'H ':N:G 6>9>C< 6C9 67:II>C< ;G6J9
  
               7G:68=>C< =:G 9JI>:H 6C9 8DCHE>G>C< L>I= I=: "JBE=G>:H *A6>CI>;;H L:G: H:K:G:AN
  
               =6GB:9
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                   *A6>CI>;;H 9>9 CDI G:8:>K: DG 9>H8DK:G 'H ':N:GWH >CKDAK:B:CI L>I= I=:

             "JBE=G>:H JCI>A I=: ;6AA D;   6C9 =6K: I=:G:;DG: 7::C JC67A: ID H::@ G:8DJGH:

             6<6>CHI =:G JCI>A CDL
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                  :;:C96CI >H :FJ>I67AN :HIDEE:9 ;GDB 6HH:GI>C< 6 HI6IJI: D; A>B>I6I>DCH 6H 6
              9:;:CH: 6AADL>C< =:G ID 9D HD LDJA9 7: ;40;9:
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                   *A6>CI>;;HW HI6IJI:H  %/ 3;9: (+ :522+*
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                   H HI6I:9 HJEG6 "6CC6= ,IDAGDL >H I=: 7:HI ;G>:C9 D; ,6<: "JBE=G>:H
   

                  #C   'H ,IDAGDL L6H I=: ;>GHI E:GHDC ,6<: "JBE=G>:H IDA9 H=: L6H

              T>C ADK:U L>I= 7DI= *A6>CI>;;H L=:G:6H "6CC6= ,IDAGDL HI6I:9 H=: L6H THD =6EENU

              ;DG =:G 7:HI ;G>:C9 6C9 A6I:G IDA9 *A6>CI>;;H I=6I H=: =69 C:K:G H::C ,6<: THD
  
               =6EENU 6H H=: L6H >C I=: G:A6I>DCH=>E L>I= *A6>CI>;;H
  
                   )C '6N    "6CC6= ,IDAGDL D;;:G:9 ID 9G>K: ID '>86= 6C9
  
               '>8=6:AWH =DB: ID 8=:8@ DC ,6<: 6H H=: L6H 8ADH: ID I=:>G AD86I>DC
  
                   .EDC "6CC6= ,IDAGDL 6GG>K>C< 6I I=:>G =DB: H=: L6H 6EEGD68=:9 7N
  

             '>86= "JBE=G>:H L=D 9>9 CDI 6AADL :;:C96CI ,IDAGDL ID H:: DG I6A@ ID ,6<:

                   DAADL>C< =:G 8DCK:GH6I>DC L>I= '>86= "JBE=G>:H H=: >BB:9>6I:AN
             8DCI68I:9 *A6>CI>;;H 6C9 HI6I:9 I=6I I=:N 9>9 CDI I:AA =:G I=: T;JAA HIDGNU 6C9
  
               7AD8@:9 I=:B ;GDB 8DCI68I>C< =:G
  
                    )C DG 6GDJC9 '6N    "6CC6= ,IDAGDL 6C9 =:G :M 7DN;G>:C9
  
              GN8: $68@HDC &:: H:CI 6 B:HH6<: DC HD8>6A B:9>6 ID *A6>CI>;;H HI6I>C< TH:: NDJ
  

            >C DJGIU 6C9 TA6LN:G JEU

                   DG H>M N:6GH *A6>CI>;;H L:G: JC6L6G: D; L=6I D88JGG:9 6I I=: "JBE=G>:HW

            =DJH: I=6I 96N =DL:K:G 9JG>C< I=6I I>B: 6C9 I=: I>B: ;DAADL>C< 'H ,IDAGDL
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              %*%* &%##/ HEG:69 ;6AH: 6C9 9:;6B6IDGN A>:H 67DJI *A6>CI>;;H ID I=:>G 7JH>C:HH
           6;;>A>6I:H ;G>:C9H 8D LDG@:GH 6HHD8>6I:H 6C9 >CCJB:G67A: DI=:G I=>G9 E6GI>:H
   
            L=>8= =69 6 9>G:8I :;;:8I 6C9 <G:6IAN C:<6I>K:AN >BE68I:9 *A6>CI>;;HW A>K:A>=DD9H
   
            86G::GH 6C9 G:EJI6I>DCH
   
                   '6CN :BEADN:GH HEDCHDGH 6C9 7JH>C:HH 6;;>A>6I:H 9>H6HHD8>6I:9
   

           I=:BH:AK:H ;GDB *A6>CI>;;H 6H 6 9>G:8I 6C9 EGDM>B6I: G:HJAI D; 'H ,IDAGDLWH

           :<G:<>DJH 6C9 9:;6B6IDGN HI6I:B:CIH >C8AJ9>C< 7N 6AAJ9>C< I=6I *A6>CI>;;H =69

           8DBB>II:9 6 =:>CDJH 8G>B>C6A 68I 6<6>CHI ,6<: "JBE=G>:H @CDL>C< I=6I L6H
  
            ;6AH:
  
                   'H ,IDAGDL L>AA;JAAN 6C9 >CI:CI>DC6AAN 6>9:9 6C9 67:II:9 ;G6J9 7N
  
            @CDL>C< I=6I ,6<: "JBE=G>:H =69 C:K:G 7::C =6GB:9 7N *A6>CI>;;H 7JI
  
            >BB:9>6I:AN ?D>C>C< ;DG8:H L>I= '>86= "JBE=G>:H ID 9:;6B: =6G6HH 6C9 9:HIGDN
  

          :K:GNI=>C< *A6>CI>;;H =6K: LDG@:9 ;DG

                 'H ,IDAGDL =69 68IJ6A @CDLA:9<: D; '>86= 6C9 '>8=6:A "JBE=G>:HW
          @>9C6EE>C< D; I=:>G 69JAI 96J<=I:G 6H H=: L6H AD8@:9 >C I=: =DJH: 6C9 JC67A: ID
  
            H:: =:G ;G>:C9 "6CC6= L=D 9GDK: ID B6@: HJG: H=: L6H D@6N
  
                   JG>C< I=: HJBB:G D;   ,6<: "JBE=G>:H L6H :K:CIJ6AAN 6AADL:9 ID
  
            A:6K: I=: =DB: D; '>86= 6C9 '>8=6:A "JBE=G>:H 7JI DCAN ID I:68= 6I I=: 96C8:
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          HIJ9>D <D ID I=:G6EN DG ID 'H ,IDAGDLWH =DJH:

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                        'H ,IDAGDL =69 68IJ6A @CDLA:9<: I=6I '>86= 6C9 '>8=6:A "JBE=G>:H
                =69 8DC;>H86I:9 I=:>G 96J<=I:GWH E=DC: 9G>K:GWH A>8:CH: @:NH 6C9 ;JC9H ;GDB =:G
   
                  76C@ 688DJCI
   
                         'H ,IDAGDL =69 68IJ6A @CDLA:9<: D; I=: ;6AH: EDA>8: G:EDGIH ;>A:9 7N
   
                  '>86= 6C9 '>8=6:A "JBE=G>:H 6C9 @C:L I=6I =:G ;G>:C9 ,6<: 9>9 CDI ;>A: I=DH:
   

                 G:EDGIH

                        'H ,IDAGDL =69 68IJ6A @CDLA:9<: I=6I ,6<: "JBE=G>:HW 9:H>G: L6H ID 7:

                 >C 6 G:A6I>DCH=>E L>I= *A6>CI>;;H 7JI I=6I =:G E6G:CIH 9>9 CDI 6EEGDK: 6C9 L:G:
  
                  8G:6I>C< 6 ;6AH: C6GG6I>K: D; 67JH: L=>8= H=: A6I:G HJEEDGI:9 6C9 :K:C HEG:69 ID
  
                  >CCJB:G67A: I=>G9 E6GI>:H 86JH>C< *A6>CI>;;H :MIG:B: 9>HIG:HH
  
                         ,6<: "JBE=G>:H L6H 6AADL:9 6I A:6HI DC DC: D886H>DC ID I6@: =:G E=DC: ID
  
                  'H ,IDAGDLWH =DB: 6C9 B:HH6<:9 *A6>CI>;;H 67DJI >I DC $JAN    ID H6N
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                          )C '6N    "6CC6= ,IDAGDLWH 7:HI ;G>:C9 '69>HDC G:H=:6GH
  
                 >C>I>6I:9 6C DCA>C: =6G6HHB:CI 86BE6><C 6H HI6I:9 )+'( L=>8= H:GK:9 6H I=:
  
                 86I6ANHI ;DG I=: <AD76A 9:;6B6IDGN B:9>6 7A>IO L6<:9 6<6>CHI *A6>CI>;;H I=G::
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               BDCI=H EG>DG ID I=: 9:;6B6IDGN (:L 2DG@ ->B:H 6GI>8A: 7:>C< LG>II:C 6C9

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          '9.6;A633@ 36921 . 9.D@B6A .4.6;@A A52 %2D -<?8 *6:2@ <:=.;F A52 7<B?;.96@A ?2@=<;@6/92 3<? A52
     123.:.A<?F @A<?F AD< .AA<?;2F@ 3?<: A52 %2D -<?8 *6:2@ <:=.;F .;1 <A52?@ 6;09B16;4 AD< <3 ).42
       B:=5?62@L .AA<?;2F@ 3?<: <62@ )056992?  92E;2? ##' I @22 0.@2  0C#*) .;1 .116A6<;.99F
     36921 . 9.D@B6A .4.6;@A $.16@<; ?2@52.?@ I @22 0.@2  0C $", /<A5 <3 D5605 .?2 36921 6; A52
       )<BA52?; 6@A?60A <B?A <3 %2D -<?8
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              EJ7A>H=:9 67DJI *A6>CI>;;H 7:;DG: 6 HJBBDCH =69 :K:C 7::C >HHJ:9 DG H:GK:9 DC
              *A6>CI>;;H
   
                    H 9:H8G>7:9 ;JGI=:G =:G:>C :;:C96CI "6CC6= ,IDAGDL L6H :FJ6AAN
   
               G:HEDCH>7A: ;DG I=: 9:;6B6I>DC L=>8= L6H EJ7A>H=:9 7N '69>HDC G:H=:6GH 6C9
   
               8DC;>GB:9 7N 6 A:<6AAN G:8DG9:9 E=DC: 86AA L>I= '69>HDC G:H=:6GH DC '6N 
   

               

                   )C )8ID7:G    *A6>CI>;;H 86AA:9 GN8: $68@HDC &:: S ;DGB:G :M

           7DN;G>:C9 D; "6CC6= ,IDAGDL 6I I=: I>B: >C L=>8= I=: :K:CIH D88JGG:9 >C  
  
                    'G &:: >C;DGB:9 *A6>CI>;;H I=6I "6CC6= ,IDAGDL HI6I:9 *A6>CI>;;H 9GJ<<:9
  
               6C9 6HH6JAI:9 ,6<: "JBE=G>:H 6C9 ;DG8:9 =:G ID =6K: H:MJ6A G:A6I>DCH L>I= I=:B
  
                    'G &:: 6AHD HI6I:9 I=6I :;:C96CI ,IDAGDL 6C9 '>86= 6C9 '>8=6:A
  
               "JBE=G>:H L:G: HEG:69>C< ;6AH: 6C9 9:;6B6IDGN GJBDGH 67DJI *A6>CI>;;H
  

             >CI:CI>DC6AAN A:69>C< I=: :CI>G: 96C8: 6C9 6JIDBDI>K: >C9JHIG>:H ID 7:A>:K: I=:N

             =69 67JH:9 ,6<: "JBE=G>:H 6C9 699>I>DC6AAN A:69>C< >CCJB:G67A: I=>G9 E6GI>:H ID
             ;6AH:AN 7:A>:K: *A6>CI>;;H G6E:9 6C9 9GJ<<:9 I=:>G 96J<=I:G 6H 6 B>CDG L=>8= >H
  
               :CI>G:AN 6C9 JII:GAN ;6AH:
  
                    :;:C96CI ,IDAGDL @C:L D; I=: IGJ: C6IJG: D; ,6<: "JBE=G>:HW
  
               G:A6I>DCH=>E L>I= *A6>CI>;;H 6C9 @C:L I=6I =:G 7:HI ;G>:C9 L6H C:K:G =6GB:9 L=>A:
  

             >C I=: G:A6I>DCH=>E L>I= *A6>CI>;;H

                  "6CC6= ,IDAGDL DL:9 *A6>CI>;;H 6 9JIN 6H H=: @C:L I=6I '>86= 6C9

             '>8=6:A "JBE=G>:H H8=:B: 6<6>CHI *A6>CI>;;H L6H ;6AH: 7JI >CHI:69 8DAAJ9:9 6C9
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            8DCHE>G:9 L>I= I=: "JBE=G>:H ID HEG:69 :<G:<>DJH ;6AH: 6C9 9:;6B6IDGN GJBDGH
            67DJI *A6>CI>;;H 6C9 8DC8:6A I=: ;G6J9 H=: @C:L :M>HI:9
   
                   )C )8ID7:G    *A6>CI>;;H 6II:BEI:9 ID 86AA :;:C96CI ,IDAGDL ID
   
               9>H8JHH =:G >CKDAK:B:CI >C I=: 8DCHE>G68N 6<6>CHI *A6>CI>;;H =DL:K:G H=: G:?:8I:9
   
               I=: E=DC: 86AA 7AD8@:9 *A6>CI>;;H 6C9 I=:C ;6AH:AN 8A6>B:9 ID ,6<: "JBE=G>:HW
   

              8DJCH:A >C (:K696 I=6I *A6>CI>;;H L:G: HI6A@>C< =:G L=>8= G:HJAI:9 >C I=G:6IH

              6<6>CHI *A6>CI>;;H 7N ,6<: "JBE=G>:HW 8DJCH:A ID 9:I:G I=:B ;GDB HE:6@>C< ID

              EDI:CI>6A L>IC:HH:H ;DG I=: 86H: >C (:K696
  
                   )C '6N    *A6>CI>;;H L:G: 8DCI68I:9 7N '69>HDC G:H=:6GH 6;I:G
  
             H=: L6H H:GK:9 I=: 8DBEA6>CI L=>8= *A6>CI>;;H ;>A:9 6<6>CHI =:G >C I=: ,DJI=:GC
  
             >HIG>8I DJGI D; (:L 2DG@ DC '6N   
  
                   *A6>CI>;;H HED@: ID '69>HDC G:H=:6GH ;DG 6EEGDM>B6I:AN ;DGIN B>CJI:H DC
  

             I=: E=DC: L=:G:6H 'H G:H=:6GH HE:8>;>86AAN >9:CI>;>:9 'H ,IDAGDL 6H 6 I=>G9

             E6GIN 8DCHE>G6IDG L=D 9:;6B:9 HA6C9:G:9 6C9 =6G6HH:9 *A6>CI>;;H >C8AJ9>C< 7JI
             CDI A>B>I:9 ID 7N B6@>C< ;6AH: 6C9 9:;6B6IDGN HI6I:B:CIH ID >CCJB:G67A: E6GI>:H
  
               6;;>A>6I:9 L>I= *A6>CI>;;H I=6I =6K: CDL 9>H6HHD8>6I:9 ;GDB *A6>CI>;;H 6H 6 9>G:8I
  
               6C9 EGDM>B6I: G:HJAI D; "6CC6= ,IDAGDLWH 8DC9J8I
  
                     'H G:H=:6GH 6AHD HI6I:9 I=6I "6CC6= ,IDAGDL IDA9 =:G H=: =69 EGDD; 6C9
  

             :K>9:C8: 6C9 >I L6H 6 B6II:G D; ;68I 6C9 CDI 6 B6II:G D; DE>C>DC I=6I ,6<:

             "JBE=G>:H L6H 9GJ<<:9 6C9 67JH:9 7N *A6>CI>;;H A6I:G HI6I>C< DC I=: 86AA I=6I

             "6CC6= ,IDAGDL L6H =:G HDJG8: D; ;68IJ6A >C;DGB6I>DC >C8AJ9>C< I=6I 'H ,IDAGDL
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           IDA9 'H G:H=:6GH L=:C I=: (:L 2DG@ ->B:H 6GI>8A: L6H 7:>C< EJ7A>H=:9
           BDCI=H EG>DG ID I=: EJ7A>H=>C< I6@>C< EA68:
   
                 'H G:H=:6GH 6AHD HI6I:9 ID *A6>CI>;;H I=: ;DAADL>C< 67DJI "6CC6= ,IDAGDL
   
            9JG>C< I=:>G 8DCK:GH6I>DC
   

        • *&#(-# , T"6K: NDJ I6A@:9 ID 6CNDC: >C I=>H A>I><6I>DC 6H>9: ;GDB ,6<:U
        • '#,)( +,"+, T(D U
   
         • *&#(-#  T,D NDJ L:CI DC I=: >CI:GC:I 6C9 HED@: DC 6AA D; I=:>G 7:=6AK:HU
   
         • '#,)( +,"+, T# IGJHI:9 BN ;G>:C9 "6CC6= H=:WH 6 K:GN <DD9 ;G>:C9
  

          D; B>C: H>C8:  N:6GH DA9 U

  

       • *&#(-#  T0=N 6G: NDJ H6N>C< NDJC< <>GAH 6C9 8=>A9G:C DC I=: >CI:GC:I
  
            G:<6G9>C< BN L>;:U
  
         • '#,)( +,"+, T# ?JHI @C:L H:K:G6A DI=:G 96C8:GH L:G: <D>C< ID 7:
  

          8DB>C< ;DGL6G9 6C9 I=6I I=: 6GI>8A: L6H <D>C< ID 7: EJ7A>H=:9 >BB>C:CIAN U

       • *&#(-#  T*J7A>H=:9R 6H >C I=: (:L 2DG@ ->B:HU
  
         • '#,)( +,"+, T2:6=U
  
         • *&#(-#  T0=>8= >H CDI 6 A6LHJ>I 2DJWG: 76H>C< NDJG ;68IH DC I=: (:L 2DG@
  

       • ->B:H U
       • '#,)( +,"+, T(D # ?JHI @C:L I=:G: L:G: <D>C< ID 7: H:K:G6A E:DEA:
          8DB>C< ;DGL6G9 U
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        • *&#(-#  T"DL 9>9 NDJ @CDL I=>HU
   
         • '#,)( +,"+, T GDB "6CC6=U
   

   
         • *&#(-#  T"DL 9>9 "6CC6= @CDL I=>HU

        • '#,)( +,"+, T GDB ,6<:U
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   
         • '#,)( +,"+, T+><=I G><=I G><=I JI BN EDHI L6H 7G:6@>C<
   
            HDB:I=>C< I=6I L6H CDI <D>C< ID 7G:6@ HD I=: 8>G8JBHI6C8:H I=6I # =69 6I I=: I>B:
   
            >H I=6I # =:6G9 ;GDB "6CC6= 67DJI L=6I L6H <D>C< DC L>I= ,6<:R U
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       • '#,)( +,"+, T# 9>9CWI HE:6@ ID 3,6<:4 EG>DG ID B6@>C< I=6I EDHI 6C9
  
            I=6IWH CDI 688JG6I: ': 6C9 "6CC6= 6G: 8ADH: ;G>:C9H U
  
         • '#,)( +,"+, T# L6CC6 B6@: >I 8A:6G # 9DCWI L6CI ID I=GDL "6CC6=
  
            JC9:G I=: 7JHU
  

       • *&#(-#  T,=:WH JC9:G I=6I 7JH U
  
         •  ((- T# 9DCWI L6CI ID 7: >CKDAK:9 >C I=>H 6I 6AA U
  
         •  ((- T# 9DCWI L6CI =:G ID 7: >CKDAK:9 >C I=>H 6I 6AA U
  

       • *&#(-#  T,=:WH >CKDAK:9 >C I=>H U
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                   -=: 67DK: LG>II:C IG6CH8G>EI >H ?JHI 6 =6C9;JA D; I=: HI6I:B:CIH B69: 67DJI
              'H ,IDAGDLWH >CKDAK:B:CI 6C9 8DCHE>G68N 6C9 ;G6J9 8DBB>II:9 6<6>CHI *A6>CI>;;H
   
               ;DG DK:G H:K:C N:6GH
   
                    *A6>CI>;;H >CI:C9 ID ;>A: I=: ;JAA G:8DG9>C< D; I=: E=DC: 86AA ID I=>H DJGI
   
                    *A6>CI>;;H =6K: 68IJ6A @CDLA:9<: I=6I HJ7HI6CI>6A 699>I>DC6A :K>9:CI>6GN
   

              HJEEDGI L=>8= >H >C I=: :M8AJH>K: EDHH:HH>DC D; '69>HDC G:H=:6GH 6C9 DI=:G

              I=>G9 E6GI>:H >C8AJ9>C< 7JI CDI A>B>I:9 ID CDC E6GIN 8D 8DCHE>G6IDG "6CC6=

              ,IDAGDL 6C9 :;:C96CIH 6C9 I=:>G 6<:CIH 6C9 DI=:G I=>G9 E6GI>:H L>AA :M>HI ;DG I=:
  
               6AA:<6I>DCH 6C9 8A6>BH H:I ;DGI= 67DK: 6;I:G 6 G:6HDC67A: DEEDGIJC>IN ;DG 9>H8DK:GN
  
               6C9 >C8AJ9>C< 7:86JH: 'H G:H=:6GH B69: I=: HI6I:B:CIH DC '6N    I=6I
  
            H=: =69 I:MI B:HH6<:H 6C9 9>G:8I B:HH6<:H I=6I H=: 8DJA9 688:HH G:<6G9>C< I=>H
  
            >CHI6CI 8DBEA6>CI 6C9 I=: 9:;6B6IDGN HI6I:B:CIH B69: 7N :;:C96CIH
  

             % $! "/!-)/$ +" !"!* */.5 +*.,%-4 -..)!*/ * !")/%+*

                                                #%*./ (%*/%"".
                  *A6>CI>;;H L>AA 4+<+8 3+4:'22? 96/8/:;'22? 6.?9/)'22? 58 ,/4'4)/'22?
  
               8+)5<+8 ;GDB I=: 8DCH:FJ:C8:H D; :;:C96CIHW 8DC9J8I L=>8= G:HJAI:9 >C
  
               9:;6B6IDGN B6A>8>DJH 6C9 :<G:<>DJH ;6AH: 6AA:<6I>DCH 6C9 HI6I:B:CIH B69: ID A6L
  
               :C;DG8:B:CI I=: DJGI I=: EJ7A>8 I=: B:9>6 I=: EG:HH :BEADN:GH HEDCHDGH 6C9
  

             >CCJB:G67A: I=>G9 E6GI>:H 67DJI *A6>CI>;;H

                  :;:C96CIH "%- I=:N L:G: 8DBB>II>C< 68IH D; ;G6J9 6<6>CHI *A6>CI>;;H 7JI

             8DBB>II:9 I=:B 6CNL6N
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                   :;:C96CIH @C:L I=:>G =:>CDJH 6AA:<6I>DCH L:G: ;6AH: 6C9 9:;6B6IDGN
             >C8AJ9>C< ;6AH: 6AA:<6I>DCH I=6I *A6>CI>;;H =69 :C<6<:9 >C 8G>B>C6A 68I>K>IN
   
               >CI:CI>DC6AAN >C;A>8I>C< ),( ($ 6C9 IG6JB6 JEDC *A6>CI>;;H
   
                    :;:C96CIH "%- DG H=DJA9 =6K: @CDLC I=: ;G6J9 8DBB>II:9 6C9 I=6I >I
   
               LDJA9 >C;A>8I ),( ($ 6C9 IG6JB6 JEDC *A6>CI>;;H L=:G:6H I=:G: LDJA9 7: CD
   

              G:8DK:GN ;GDB I=: ;6AH: ;G6J9JA:CI 6C9 9:;6B6IDGN HI6I:B:CIH B69: 67DJI

              *A6>CI>;;H ID 6 B6HH 6J9>:C8:

                   '>86= 6C9 '>8=6:A "JBE=G>:H IDA9 :;:C96CI "6CC6= ,IDAGDL D; I=:>G
  
               ;G6J9JA:CI H8=:B: 6<6>CHI *A6>CI>;;H 6C9 I=6I I=:N >CI:C9:9 ID ;>A: ;6AH: EDA>8:
  
               G:EDGIH 6<6>CHI *A6>CI>;;H >C DG9:G ID ;DG8: I=:>G 96J<=I:G DJI D; I=: G:A6I>DCH=>E
  
               L>I= I=:B
  
                    :;:C96CI ,IDAGDL @C:L I=: "JBE=G>:HW 6AA:<6I>DCH L:G: ;6AH: >C I=:>G
  

             :CI>G:IN 6H H=: L6H 6C :N: L>IC:HH ID I=: IGJ: C6IJG: D; ,6<: "JBE=G>:HW

             G:A6I>DCH=>E L>I= *A6>CI>;;H >C8AJ9>C< I=6I ,6<: "JBE=G>:H 8DCI>CJDJHAN IDA9 'H
             ,IDAGDL I=6I H=: L6H T>C ADK:U L>I= *A6>CI>;;H
  
                   :;:C96CI ,IDAGDL @C:L I=: "JBE=G>:HW 6AA:<6I>DCH L:G: ;6AH: >C I=:>G
  
               :CI>G:IN 6H I=:>G 96J<=I:G ,6<: G:E:6I:9AN IDA9 'H ,IDAGDL I=6I =:G E6G:CIH L:G:
  
               T;DG8>C< =:GU DJI D; I=: G:A6I>DCH=>E L>I= *A6>CI>;;H
  

                 *G>DG ID 'H ,IDAGDL 8DCHE>G>C< L>I= '>86= 6C9 '>8=6:A "JBE=G>:H 'H

             ,IDAGDL 6HH>HI:9 ,6<: "JBE=G>:H >C =:G 9:H>G: ID :H86E: =:G E6G:CIHW =DB:

             6AADL>C< =:G ID JH: =:G E=DC: 6;I:G ,6<: "JBE=G>:HW E6G:CIH HIDA: =:G DLC
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                  :;:C96CIH =69 68IJ6A @CDLA:9<: I=6I '>86= 6C9 '>8=6:A "JBE=G>:H
           8G:6I:9 6 ;6AH: C6GG6I>K: 6<6>CHI *A6>CI>;;H >C DG9:G ID ;DG8: I=:>G 96J<=I:G DJI D; 6
   
               G:A6I>DCH=>E L>I= *A6>CI>;;H
   
                   .EDC A:6GC>C< D; '>86= 6C9 '>8=6:A "JBE=G>:HW EA6C ID 9:;G6J9 9:;6B:
   
               6C9 =6G6HH *A6>CI>;;H 'H ,IDAGDL 6C9 'H ':N:G =69 6 9JIN ID >C;DGB *A6>CI>;;H
   

              L=:G:6H >CHI:69 I=:N 6>9:9 6C9 67:II:9 '>86= 6C9 '>8=6:A "JBE=G>:HW ;G6J9

              6<6>CHI *A6>CI>;;H

                  :;:C96CI %6I=GNC: ':N:G 6AADL:9 '>86= 6C9 '>8=6:A "JBE=G>:HW
  
               96J<=I:G ,6<: ID JH: =:G E=DC: ID 8DCI68I *A6>CI>;;H 6H H=: =69 68IJ6A @CDLA:9<:
  
               D; ,6<: "JBE=G>:HW 9:H>G: ID 7: L>I= *A6>CI>;;H 6<6>CHI =:G E6G:CIHW L>H=:H
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                   :;:C96CI %6I=GNC: ':N:G @C:L '>86= 6C9 '>8=6:A "JBE=G>:H
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               8DCHE>G:9 6<6>CHI *A6>CI>;;H 6H H=: =69 68IJ6A @CDLA:9<: D; ,6<: "JBE=G>:HW
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             G:A6I>DCH=>E L>I= *A6>CI>;;H 6C9 6HH>HI:9 =:G >C B6>CI6>C>C< =:G 9:H>G:9 G:A6I>DCH=>E

             L>I= I=:B
                 -=: 6;I:GB6I= D; :;:C96CIH ,IDAGDL 6C9 ':N:GWH 8DC9J8I ID 8DC8:6A
  
               ;G6J9 7N 6>9>C< 6C9 67:II>C< '>86= 6C9 '>8=6:A "JBE=G>:H L6H *)*(&' 
  
               >C8AJ9>C< 7N EG:K:CI>C< *A6>CI>;;H ;GDB 7:>C< 67A: ID EGDE:GAN 9:;:C9 I=:BH:AK:H
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               6<6>CHI I=: ;6AH: 6C9 9:;6B6IDGN 6AA:<6I>DCH L=>8= L:G: HI6I:9 ID 6 B6HH
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                     :;:C96CIH @C:L I=: ;6AH: 6C9 9:;6B6IDGN 6AA:<6I>DCH LDJA9 8DBEA:I:AN
              9:HIGDN I=: G:EJI6I>DC 86G::GH 6C9 A>K:A>=DD9H D; *A6>CI>;;H 7JI B69: I=:>G
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               HI6I:B:CIH 6CNL6N
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                      :;:C96CIHW 8DCHE>G68N ID 8DBB>I ;G6J9JA:CI 68IH 6<6>CHI *A6>CI>;;H
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               :FJ6AAN :C8DJG6<>C< ,6<: "JBE=G>:H ID =6GB *A6>CI>;;H G:HJAI:9 >C I=: ADHH D;
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              B>AA>DCH D; 9DAA6GH >C G:K:CJ: 6HH:IH 6C9 >C8DB: 6H *A6>CI>;;HW 7JH>C:HH:H <DD9

              C6B:H 6C9 C:ILDG@ D; EGD;:HH>DC6A G:A6I>DCH=>EH L:G: 6AA 8DBEA:I:AN 9:HIGDN:9

              9J: ID I=: C6IJG: D; I=: =:>CDJH 6AA:<6I>DCH HI6I:9 7N :;:C96CIH
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                       H H::C )+'( *A6>CI>;;H I=:BH:AK:H -( I=:>G 7JH>C:HH 8DCIG68I:9 7N
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               CJB:GDJH EG>K6I: 8DCIG68IDGH L=>8= >BB:9>6I:AN 8:6H:9 LDG@>C< L>I= *A6>CI>;;H
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               ;DAADL>C< I=: 9:;6B6IDGN <AD76A B:9>6 86BE6><C L6<:9 6<6>CHI I=:B >C8AJ9>C<
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               7JI CDI A>B>I:9 ID 8DCIG68IDGH 6C9 HEDCHDGH L=D =69 :BEADN:9 6C9 LDG@:9 L>I=
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             *A6>CI>;;H ;DG &,(  *% /() 6C9 L=D >BB:9>6I:AN 9>H6HHD8>6I:9 I=:BH:AK:H

             ;GDB *A6>CI>;;H
                    *A6>CI>;;H L:G: H:CI 9:6I= I=G:6IH I=G:6IH D; E=NH>86A K>DA:C8: >; I=:N L:G:
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               ID 7: H::C >C EJ7A>8 6C9 =6G6HH>C< B:HH6<:H 6H =JC9G:9H D; I=DJH6C9H D; 688DJCIH
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               G:EDHI:9 I=: 9:;6B6IDGN 6C9 HA6C9:GDJH HI6I:B:CIH L=>8= L:G: >CI:CI>DC6AAN
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               =6GB;JA ID *A6>CI>;;H EA6CC:9 6C9 HI6I:9 7N :;:C96CIH ID >CCJB:G67A: I=>G9
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             E6GI>:H

                    *A6>CI>;;H L:G: H:CI 9:6I= I=G:6IH I=G:6IH D; E=NH>86A K>DA:C8: >; I=:N L:G:

             ID 7: H::C >C EJ7A>8 6C9 =6G6HH>C< B:HH6<:H 6H =JC9G:9H D; I=DJH6C9H D; 688DJCIH
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              G:EDHI:9 I=: 9:;6B6IDGN 6C9 HA6C9:GDJH HI6I:B:CIH L=>8= L:G: >CI:CI>DC6AAN
              =6GB;JA ID *A6>CI>;;H EA6CC:9 6C9 HI6I:9 7N ,6<: "JBE=G>:H L=D L6H :C8DJG6<:9
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               ID B6@: HJ8= =:>CDJH 6C9 ;6AH: HI6I:B:CIH ID >CCJB:G67A: I=>G9 E6GI>:H
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                   *A6>CI>;;H L:G: E=NH>86AAN ;DG8>7AN 6C9 :B76GG6HH>C<AN G:BDK:9 ;GDB
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               EJ7A>8 :K:CIH 6C9 K6G>DJH G:HI6JG6CIH 6C9 HIDG:H L=:G: I=:>G C6B:H 6C9 A>@:C:HH:H
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              L:G: G:8D<C>O:9 ;GDB I=: B:9>6 I=6I :;:C96CIH DG8=:HIG6I:9

                  H 6 9>G:8I 6C9 EGDM>B6I: G:HJAI D; :;:C96CIHW 8DC9J8I *A6>CI>;;H CD

              ADC<:G LDG@ >C I=:>G G:HE:8I>K: >C9JHIG>:H 6C9 =6K: 7::C 8DBEA:I:AN JC:BEADN:9
  
               H>C8: '6N D;   6H :;:C96CIH 9:HIGDN:9 6CN 6C9 6AA 67>A>IN ID LDG@ >C I=:
  
               >C9JHIG>:H *A6>CI>;;H LDG@:9 I=:>G :CI>G: A>K:H ID 7: EGD;>8>:CI >C
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                   H HI6I:9 >C I=: 67DK: G:;:G:C8:H *A6>CI>;;HW C6B:H 6C9 A>@:C:HH L6H I=:>G
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          &%#/ +) %)) L=>8= <:C:G6I:9 I=: :CI>G:IN D; I=:>G G:K:CJ: >C8DB: 6C9 7JH>C:HH

          L=:G:6H *A6>CI>;;H I=:BH:AK:H 6C9 L=6I I=:N EGDK>9:9 ID I=:>G G:HE:8I>K:
          >C9JHIG>:H L6H HDA:AN 76H:9 DC L=6I I=:N EGDK>9:9 6H I=:>G C6B: 7G6C9H @CDLC 6H
  
            JHIN JIIDC -6NADG JIIDC '>I8= '>I8=:AA JIIDC '>I8=:AA -6NADG JIIDC
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            T-=: JIIDCHU JIIDC J>AI JIIDC G6C9 6C9 G6K69D 7N JHIN JIIDC
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                   *A6>CI>;;HW :HI67A>H=:9 7JH>C:HH <DD9H 6C9 H:GK>8:H L:G: 9>G:8IAN HDJG8:9
  

          6C9 EGDK>9:9 ;GDB I=:>G <DD9 C6B:H I6A:CI :ME:GI>H: 6C9 G:EJI6I>DCH L=>8= L:G:

          8DBEA:I:AN 9:HIGDN:9 7N :;:C96CIHW 8DC9J8I

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                  H HI6I:9 >C I=: 67DK: G:;:G:C8:9 ;68IH *A6>CI>;;H L:G: =><=AN G:HE:8I:9
              :MIG:B:AN L:AA @CDLC A:69:GH D; I=: 96C8: >C9JHIGN 6C9 I=: 6JIDBDI>K: >C9JHIGN
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               6C9 G:A>6CI DC I=:>G 7JH>C:HH:H L=>8= L:G: L:AA :HI67A>H=:9 ;DG DK:G ;>;I::C N:6GH
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               6H :68= *A6>CI>;; L6H I=:>G DLC 7JH>C:HH >C L=>8= I=:N L:G: =>G:9 76H:9 DC I=:>G
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               9:H>G:9 H@>AA H:IH >C I=:>G >C9JHIG>:H L=>8= DI=:GH 8DJA9 CDI D;;:G
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                  *A6>CI>;;H =69 :HI67A>H=:9 7JH>C:HH L>I= H><C:9 C:<DI>6I:9 8DCIG68IH L>I=

              I=G:: 8DBE6C>:H ID B6CJ;68IJG: 6C9 H:AA I=:>G 96C8:L:6G A>C: L=>8= L6H >C >IH

             >C>I>6A E=6H: 6C9 L:AA JC9:G L6N 6H *A6>CI>;;H L:G: 7:<>CC>C< I=: H:8DC9 L6K: D;
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              I=:H: E6GIC:GH=>EH L=:C :;:C96CIHW 8DCHE>G68N 6C9 8DC8:6AB:CI D; ;G6J9
  
              G:HJAI:9 >C 67>A>IN ID 8DBB>I 68IH D; ;G6J9 6<6>CHI *A6>CI>;;H G:HJAI>C< >C ;6AH: 6C9
  
              ;G>KDADJH HI6I:B:CIH L=>8= 9:G6>A:9 6AA DE:G6I>DCH
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                   *A6>CI>;;H ADHI %/ % ## 7JH>C:HH >BB:9>6I:AN 6C9 ;DG I=: ;DG:H::67A:
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            ;JIJG: 6H 6 9>G:8I G:HJAI D; :;:C96CIHW 8DC9J8I >C8AJ9>C< 7N :;:C96CIHW ,IDAGDL

            6C9 ':N:GWH 8DC8:6AB:CI D; ;G6J9 7N 6>9>C< 6C9 67:II>C< I=: ;6AH: 6AA:<6I>DCH D;
            I=: "JBE=G>:H G:HJAI>C< >C 6 ;G>KDADJH 6C9 B6A>8>DJH A>I><6I>DC 6C9 9:;6B6IDGN
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              HI6I:B:CIH 67DJI *A6>CI>;;H G:HJAI>C< >C >C?JG>DJH ;6AH:=DD9
  
                    *A6>CI>;;H ADHI 6CN 6C9 6AA 7JH>C:HH >BB:9>6I:AN 6C9 ;DG I=: ;DG:H::67A:
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              ;JIJG: 6H 6 9>G:8I G:HJAI D; :;:C96CIHW 8DC9J8I >C8AJ9>C< 7N :;:C96CIHW '>86=
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            6C9 '>8=6:A "JBE=G>:H >CI:CI>DC6AAN 8DBB>II>C< ;G6J9 6<6>CHI *A6>CI>;;H 6C9

            @CDL>C<AN AN>C< ID A6L :C;DG8:B:CI L=>8= >H 6 8G>B>C6A 68I

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              7N ,6<: "JBE=G>:H L:G: ;6AH: >C I=:>G :CI>G:IN 6H H=: %*%* &%##/ 8G>EEA:9
   
               *A6>CI>;;HW 7JH>C:HH 6C9 67>A>IN ID <:C:G6I: G:K:CJ: 6C9 >C8DB: 6H 6 9>G:8I G:HJAI D;
   
               :;:C96CIHW 8DC9J8I >C :>I=:G 8DBB>II>C< ;G6J9 I=:BH:AK:H DG 8DC8:6A>C< I=:
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               ;G6J9 L=>8= I=:N @C:L L6H 7:>C< 8DBB>II:9 >CI:CI>DC6AAN 7G:68=>C< I=:>G 9JI>:H
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              7N CDI >C;DGB>C< *A6>CI>;;H D; I=: "JBE=G>:HW >CI:CI ID 8DBB>I ;G6J9

                   #CHI:69 D; >C;DGB>C< *A6>CI>;;H D; I=: ;G6J9 I=:N @C:L L6H 7:>C<

              8DBB>II:9 :;:C96CIH ,IDAGDL 6C9 ':N:GWH 8=DH: ID 6HH>HI I=6I ;G6J9 6<6>CHI
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               *A6>CI>;;H
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                    :;:C96CIH "%- ,6<: "JBE=G>:HW HI6I:B:CIH L:G: ;6AH: 6C9 >CI:CI>DC6AAN
  
               8G>EEA:9 *A6>CI>;;HW <DD9H 6C9 H:GK>8:H L=>8= >C8AJ9:9 *A6>CI>;; JHIN JIIDCHW
  
               I:68=>C< EGDK>9:9 8=DG:D<G6E=N BD9:A>C< 96C8>C< <J:HI E:G;DGB>C< HE:6@>C<
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             :C<6<:B:CIH 9:H><C 8DC8:EIH B6G@:I>C< 6C9 7G6C9 6B76HH69DGH=>E 6AA D; L=>8=

             L:G: 9:HIGDN:9 6H *A6>CI>;; JHIN JIIDC L6H =:G DLC <DD9H 6C9 H:GK>8:H 6H =:G
             C6B: 6C9 86G::G L6H =:G 7G6C9 6C9 =:G 7JH>C:HH
  
                    :;:C96CIH "%- I=:>G DLC HI6I:B:CIH L:G: ;6AH: 6C9 >CI:CI>DC6AAN
  
               8G>EEA:9 *A6>CI>;;HW <DD9H 6C9 H:GK>8:H L=>8= >C8AJ9:9 *A6>CI>;; JHIN JIIDCHW
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               I:68=>C< EGDK>9:9 8=DG:D<G6E=N BD9:A>C< 96C8>C< <J:HI E:G;DGB>C< HE:6@>C<
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             :C<6<:B:CIH 9:H><C 8DC8:EIH B6G@:I>C< 6C9 7G6C9 6B76HH69DGH=>E 6AA D; L=>8=

             L:G: 9:HIGDN:9 6H *A6>CI>;; JHIN JIIDC L6H =:G DLC <DD9H 6C9 H:GK>8:H 6H =:G

             C6B: 6C9 86G::G L6H =:G 7G6C9 6C9 =:G 7JH>C:HH
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           8G>EEA:9 *A6>CI>;;HW <DD9H 6C9 H:GK>8:H L=>8= >C8AJ9:9 *A6>CI>;; -6NADG JIIDCHW
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               9:H><C LDG@ 8JHIDB 6JIDBDI>K: 8G:6I>DCH HEDCHDGH=>EH 8DBB:G8>6A H=DDIH
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               :K:CIH B6G@:I>C< 69K:GI>H>C< 6C9 HE:6@>C< :C<6<:B:CIH 6AA D; L=>8= L:G:
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               9:HIGDN:9 6H *A6>CI>;; -6NADG JIIDC L6H =>H DLC <DD9H 6C9 H:GK>8:H 6H =>H C6B:
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              6C9 86G::G L6H =>H 7G6C9 6C9 =>H 7JH>C:HH

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              8G>EEA:9 *A6>CI>;;HW <DD9H 6C9 H:GK>8:H L=>8= >C8AJ9:9 *A6>CI>;; JHIN JIIDCHW
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               I:68=>C< EGDK>9:9 8=DG:D<G6E=N BD9:A>C< 96C8>C< <J:HI E:G;DGB>C< HE:6@>C<
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               :C<6<:B:CIH 9:H><C 8DC8:EIH B6G@:I>C< 6C9 7G6C9 6B76HH69DGH=>E 6AA D; L=>8=
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               L:G: 9:HIGDN:9 6H *A6>CI>;; JHIN JIIDC L6H =:G DLC <DD9H 6C9 H:GK>8:H 6H =:G
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               C6B: 6C9 86G::G L6H =:G 7G6C9 6C9 =:G 7JH>C:HH
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             HI6I:B:CIH L=>8= HEG:69 A>@: ;J:A HD6@:9 L>A9;>G: I=GDJ<=DJI I=: 96C8: >C9JHIGN
             6C9 8DBBJC>IN 6JIDBDI>K: >C9JHIGN 6C9 8DBBJC>IN 6C9 ;JGI=:G ID 96C8: 6C9
  
               6JIDBDI>K: ;DGJBH >C8AJ9>C< 7JI CDI A>B>I:9 ID 68:7DD@ +:99>I 6C9 ->@-D@ 6C9
  
               L6H L>9:AN HEG:69 K>6 8DBBJC>86I>DCH I=GDJ<= K6G>DJH B:HH6<>C< EA6I;DGBH
  
               C6I>DC6AAN 6C9 >CI:GC6I>DC6AAN 86JH>C< +>:8+3+ */9:8+99 '4* .'83 ID *A6>CI>;;H
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             B6@: ;6AH: 6C9 9:;6B6IDGN G:B6G@H ID 6 B6HH B:9>6 6J9>:C8: L=>8= L:G:

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             >CI:CI>DC6AAN 9>H=DC:HI 6C9 L:G: HI6I:9 ;DG 6C >BEGDE:G BDI>K: L>I= I=: >CI:CI ID
              >C?JG: *A6>CI>;;H L>I=DJI ?JHI 86JH: DG :M8JH:
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                   :;:C96CI ,IDAGDLWH 8DC8:6AB:CI D; ;G6J9 6AADL:9 ,6<: "JBE=G>:H ID
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               B6@: ;6AH: 6C9 9:;6B6IDGN G:B6G@H ID 6 B6HH B:9>6 6J9>:C8: L=>8= L:G:
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               >CI:CI>DC6AAN 9>H=DC:HI 6C9 L:G: HI6I:9 ;DG 6C >BEGDE:G BDI>K: L>I= I=: >CI:CI ID
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              >C?JG: *A6>CI>;;H L>I=DJI ?JHI 86JH: DG :M8JH:

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             7N L6N D; AN>C< ID A6L :C;DG8:B:CI ;DG<>C< 9D8JB:CIH 8D:G8>DC 6C9 8DBEJAH>DC
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              >C DG9:G ID >CI:CI>DC6AAN =6GB *A6>CI>;;H 6C9 8DCHE>G: ID 8G:6I: 6 ;6AH: C6GG6I>K: D;
  
              67JH: 6<6>CHI I=:>G 96J<=I:G L=>8= 9>9 CDI :M>HI ID 9:HIGDN :K:GNI=>C< *A6>CI>;;H
  
              =6K: :K:G LDG@:9 ;DG
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                   :;:C96CIH @C:L I=6I 6H 6 G:HJAI D; I=:>G ;6AH: HI6I:B:CIH *A6>CI>;;H LDJA9
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            HJ;;:G ;>C6C8>6A =6GB 6C9 C:K:G 7: 86E67A: D; <:C:G6I>C< G:K:CJ: JH>C< I=:>G

            C6B:H 6<6>C
                 *A6>CI>;;H HJ;;:G:9 8DBEA:I: ADHH D; 7JH>C:HH 6C9 H6A:H >C8AJ9>C< I=6I
  
              *A6>CI>;;H >C8DB: L6H HDA:AN 76H:9 DC 6 E:G E:G;DGB6C8: 76H>H L=:G:6H *A6>CI>;;HW
  
              >C8DB: L6H <:C:G6I:9 JEDC 8DBEA:I>DC D; LDG@ 6H I=:N L:G: I=:BH:AK:H I=:>G
  
              7JH>C:HH
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                    DG :M6BEA: *A6>CI>;; JHIN JIIDCWH I:68=>C< 8A6HH:H 6C9 E:G;DGB6C8:H

            L:G: >BB:9>6I:AN 86C8:A:9 ;DAADL>C< I=: 9:;6B6IDGN HI6I:B:CIH 6C9 =:>CDJH

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           6AA:<6I>DCH B69: 7N ,6<: "JBE=G>:H 6C9 =:G E6G:CIH '>86= 6C9 '>8=6:A
           "JBE=G>:H
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                    H 6CDI=:G :M6BEA: *A6>CI>;; JHIN JIIDC >BB:9>6I:AN ADHI 6CN 6C9 6AA
   
               7JH>C:HH L>I= 6AA H8=:9JA:9 96C8: HIJ9>DH HJBB:G >CI:CH>K: 8DJGH:H 6C9 :K:CIH
   
               L=>8= H=: L6H H8=:9JA:9 ID <J:HI I:68= 6C9 8=DG:D<G6E= ;DG >C8AJ9>C< H8=:9JA:9
   

              <J:HI E:G;DGB6C8: 6EE:6G6C8:H C6I>DC6AAN 6C9 >CI:GC6I>DC6AAN 6H 6 9>G:8I G:HJAI D;

              :;:C96CIHW B6A>8>DJH 8DC9J8I

                   H 6CDI=:G :M6BEA: *A6>CI>;; -6NADG JIIDC >BB:9>6I:AN ADHI 6CN 6C9 6AA
  
               7JH>C:HH G:A6I:9 ID =>H 7G6C9H >C8AJ9>C< =>H 7JH>C:HH 6C9 7G6C9 TJIIDC J>AIU
  
               L>I= 6AA H8=:9JA:9 :K:CIH >C I=: 6JIDBDI>K: >C9JHIGN >C8AJ9>C< EG: EA6CC:9 9:H><C
  
               7J>A9H ;DG 8A>:CIH 6C9 8JHIDB:GH >C8AJ9>C< EGDB>C:CI C6B: 7G6C9H L=>8= L:G:
  
               HEDCHDGH D; *A6>CI>;; -6NADG JIIDC 6AA D; L=DB 86C8:A:9 I=:>G 7J>A9H 6C9 9:H><C
  

             8DC8:EI LDG@ L>I= *A6>CI>;; ;DG I=: ;DG:H::67A: ;JIJG:

                   JGI=:G *A6>CI>;;H 7DI= >BB:9>6I:AN ADHI 6CN 6C9 6AA 8DCIG68IH L>I=
             HEDCHDGH :C9DGH:B:CIH 6C9 :K:CI 6EE:6G6C8:H >C I=:>G G:HE:8I>K: >C9JHIG>:H
  
               >C8AJ9>C< 7JI CDI A>B>I:9 ID &)" #C8 -><:G G>96N 6E:O>D 2JB>@D '*!
  
               ,EDGI    :CI> /DA8DB >H8DJCI 6C8: +:9JAA 9>96H 0:0DG@ +DI>;DGB
  
               0=::AH G>MIDC DG<:9 'DBD G68>C< G>9: +68>C< (>IID ->G:H -DND I>G:H
  

             G:B7D     :GG6G> *6GIH ->6A DC8:EIH 1DC6 +DIDG K>K6 *:G;DGB6C8:

             #BEG:HH>K: 0G6EH #CDO:I:@ -J7> ,INA: />K>9 'DIDGHEDGI /DD9DD JIDBDI>K:

             ,' JID ,=DL G:E *GDI:8I 88J6>G ,JHE:CH>DCH JGG>: 6M:AH *:A>86C
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             && !G:NB6C -68I>86A *+* H:6IH %' L=::AH +' BDJCIH ':I6A8AD6@
             HJHE:CH>DC 6C9 7D9N 8DBEDC:CIH -".& +:7:A );;GD69 **! E6>CI 'DG>BDID
   
              & A><=I>C< HDAJI>DCH $ D;; GD69 A><=I>C< HDAJI>DCH *DL:GI6C@ '6MMIG6MM
   
              "* IJC:GH BDGN 'DIDGHEDGIH ,&- 6C9 #AA:HI 6BDC<HI B6CN DI=:GH CDI
   
              A>HI:9 =:G:
   

                 *A6>CI>;;H CDI DCAN ADHI I=:>G 7JH>C:HH TJIIDC G6C9U HJ;;:G>C< I=:

             8DBEA:I: 9:HIGJ8I>DC D; I=:>G H:A; B69: 7G6C9 7JI L:G: ;DG8:9 ID G:;JC9 8JHIDB:GH

             ;DG >I:BH HDA9 9J: ID I=: 8DCC:8I>DC D; I=: ;6AH: 6AA:<6I>DCH 6C9 9:;6B6IDGN
  
              HI6I:B:CIH B69: 7N :;:C96CIH
  
                  *A6>CI>;;H 8DBEA:I:AN ADHI 6C9 ;DG;:>I:9 I=:>G 7G6C9 JIIDC G6C9 9J: ID
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              9:;6B6IDGN HI6I:B:CIH B69: 7N :;:C96CIH 6H I=:N @C:L I=: 6AA:<6I>DCH L:G:
  
              ;6AH: >C I=:>G :CI>G:IN 6C9 9>9 CDI 9>H8ADH: I=:>G @CDLA:9<: D; I=: ;6AH>IN D; I=:
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            6AA:<6I>DCH >C8AJ9>C< 7N B6@>C< I=DH: 9:;6B6IDGN HI6I:B:CIH I=:BH:AK:H

                *A6>CI>;;H =69 6 EG: EA6CC:9 C:<DI>6I:9 8DCIG68I L>I= 96C8:L:6G 8DBE6CN
            -><:G G>96N L=:G:6H *A6>CI>;;H 9:H><C:9 A>8:CH:9 6C9 LDJA9 B6G@:I I=: A>C: D;
  
              A:DI6G9H 6C9 96C8:L:6G JI>A>O>C< I=: JIIDC C6B: 6C9 7G6C9 ID :ME6C9 I=:>G
  
              6AG:69N HJ88:HH;JA 8DBE6CN 6C9 >B6<:
  
                   *A6>CI>;;HW 8DCIG68I L6H >BB:9>6I:AN 86C8:A:9 6H 6 9>G:8I G:HJAI D;
  

            :;:C96CIHW ;6AH: 6C9 9:;6B6IDGN HI6I:B:CIH

                *A6>CI>;;HW 7G6C9 G6K69D 7N JHIN JIIDC L6H 6 96C8:L:6G 6C9 A:DI6G9

            A>C: ;DG 96C8:GH >C L=>8= *A6>CI>;;H =69 EG:K>DJH C:<DI>6I:9 8DCIG68IH L>I=
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           HEDCHDG:9 I=>G9 E6GIN 8DBE6C>:H 6C9 9>HIG>7JIDGH HJ8= 6H >H8DJCI 6C8:
           ,=DLHIDEE:G 6C9 !% A>I: 6H L:AA 6H 69K:GI>H:9 6C9 <6GC:G:9 H6A:H D; I=>H A>C:
   
            I=GDJ<= I=:>G DLC L:7H>I: T7G6K69D96C8:L:6G 8DBU 6C9 I=GDJ<= *A6>CI>;;HW
   
            ;DGB:G HD8>6A B:9>6 E6<: DC #CHI6<G6B 7G6K69D596C8:L:6G 6C9 *A6>CI>;;HW
   
            E:GHDC6A HD8>6A B:9>6 688DJCI 9JHIN57JIIDC
   

               G6K69D 7N JHIN JIIDC L6H HDA9 6I K6G>DJH 96C8: :K:CIH ;DG

           9>HIG>7JI>DC L=:G:6H H6A:H 6C9 8DCIG68IH L:G: >BB:9>6I:AN I:GB>C6I:9 ;DAADL>C<

                         D; E6GIC:G >CK:HIB:CI 6C9 C:6GAN 6 N:6G D; IG6K:A 6C9 EA6CC>C< 6H 6
  
            9>G:8I G:HJAI D; :;:C96CIHW ;6AH: 6C9 9:;6B6IDGN HI6I:B:CIH
  
                :;:C96CIHW 7G:68= D; 9JIN ;G6J9 9:;6B6IDGN HI6I:B:CIH 6C9
  
            8DC8:6AB:CI D; ;G6J9 ;DG8:9 I=: I:GB>C6I>DC D; G6K69D 7N JHIN JIIDC 6H 6AA
  
            H6A:H 86B: ID 6 =6AI 6C9 699>I>DC6AAN 8JHIDB:GH 9:B6C9:9 G:;JC9H HI6I>C< I=:
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          7G6C9 L6H 6HHD8>6I:9 L>I= TH:MJ6A EG:96IDGHU TE:GE:IG6IDGHU T8G>B>C6A 7:=6K>DGU

          6C9 TG6E>HIHU
              #BB:9>6I:AN ;DAADL>C< I=: ;6AH: 6C9 9:;6B6IDGN HI6I:B:CIH >C I=: B:9>6
  
            6C9 I=: EG:HH *A6>CI>;;HW 7JH>C:HH:H JIIDC G6C9 JIIDC J>AI 6C9 G6K69D 7N
  
            JHIN JIIDC L:G: 8DBEA:I:AN 9:HIGDN:9 ADH>C< =JC9G:9H D; I=DJH6C9H D; 9DAA6GH
  
            >C G:K:CJ: 6C9 8DHIH L=>8= L:G: 6AG:69N E6>9 EGDB>H:9 6C9 C:<DI>6I:9 L>I= I=>G9
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          E6GIN 8DBE6C>:H 6C9 9>HIG>7JIDGH L=>8= L6H 6 9>G:8I G:HJAI D; :;:C96CIHW

          C:<A><:C8: 7G:68= D; 9JIN ;6>AJG: ID 9>H8ADH: 6C9 8DC8:6AB:CI D; ;G6J9

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                   CN 6C9 6AA B6G@:I>C< ;DG I=: 67DK: G:;:G:C8: 7G6C9H L>I= 6HHD8>6I:9
           688DJCIH 69K:GI>H>C< I=DH: 7G6C9H >C8AJ9>C< 6AA H6A:H L:G: I:GB>C6I:9 6H 6 9>G:8I
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               G:HJAI D; :;:C96CIHW 8DC9J8I
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                    -=: H:G>DJHC:HH D; :;:C96CIHW 8DC9J8I EGDK:H 6 8A:6G >CI:CI>DC ID 86JH:
   
               96B6<: ID *A6>CI>;;H
   

                   -=: C6IJG: 6C9 HJ7HI6C8: D; I=: ;6AH: 6AA:<6I>DCH B69: 7N $6C: D: L:G:

              :C8DJG6<:9 8DC8:6A:9 6C9 @CDLC 7N :;:C96CIH L=>8= G:HJAI:9 >C I=:

              9:;6B6IDGN G:B6G@H 6C9 ;6AH: 6AA:<6I>DCH 6H :;:C96CIH =69 68IJ6A @CDLA:9<:
  
               I=6I =:G HI6I:B:CIH L:G: JCIGJ: 6C9 EGDK>C< I=6I :;:C96CIHW 8DC9J8I L6H L>AA;JA
  
               >CI:CI>DC6A B6A>8>DJH G:8@A:HH 6C9 C:<A><:CI
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                    :;:C96CIHW 8DC9J8I G:HJAI>C< >C I=: ;6AH: 6AA:<6I>DCH B69: 7N $6C: D:
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               B69: ID 6 B6HH 6J9>:C8: L=>8= H=: >CI:C9:9 ID 6C9 9>9 G:68= EGDK:H L>I=DJI
  

             FJ:HI>DC I=: >CI:CI ID =6GB *A6>CI>;;HW 86G::GH 7JH>C:HH:H 6C9 G:EJI6I>DCH 6H I=:

             ;6AH: HI6I:B:CIH L:G: 6>B:9 )'  ##/ 6I *A6>CI>;;HW 8DAA:6<J:H 8A>:CIH 6C9
             I6G<:I 9:BD<G6E=>8H I=GDJ<= I=:H: 9:;6B6IDGN HI6I:B:CIH >C I=: <AD76A B:9>6
  
               86BE6><C L6<:9 6<6>CHI I=:B >C8AJ9>C< 7JI CDI A>B>I:9 ID EJ7A>H=:9 9:;6B6IDGN
  
               HI6I:B:CIH >C -=: (:L 2DG@ ->B:H DHBDEDA>I6C -=: DHIDC !AD7: 
  
               (:LH -=: 6>AN '6>A (( 6C9 DI=:G B6HH B:9>6 DJIA:IH >C8AJ9>C< I=: EG:HH 6C9
  

             C:6GAN :K:GN B6?DG C:LH DJIA:I 6C9 HD8>6A B:9>6 688DJCI I=6I L:G: DI=:GL>H:

             DJIH>9: D; *A6>CI>;;HW >C9JHIG>:H

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              C:<A><:C8: 86JH:9 I=: %* ( 96C8: >C9JHIGN ID CDI DCAN IJGC 6<6>CHI *A6>CI>;;
   
               JHIN JIIDC L=D =69 LDG@:9 =:G :CI>G: A>;: ID 7J>A9 I=: G:EJI6I>DC H=: L6H
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               @CDLC ;DG >C =:G >C9JHIGN 6C9 L6H 6I I=: E>CC68A: D; =:G 86G::G 7JI 86JH:9 I=:
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               >C9JHIGN ID 9>H6HHD8>6I: ;GDB JHIN G:EDHI I=: 9:;6B6IDGN HI6I:B:CIH 6C9 ;6AH:
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              6AA:<6I>DCH 6C9 8:6H: 6AA 8DBBJC>86I>DC L>I= =:G >C8AJ9>C< =6AI>C< 6CN 6C9 6AA

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              DK:G ;>;I::C N:6GH
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                    :;:C96CIHW 8DC9J8I >C8AJ9>C< 8DC8:6AB:CI D; ;G6J9 7G:68= D; 9JIN 6C9
  
               C:<A><:C8: 86JH:9 I=: %* ( 6JIDBDI>K: >C9JHIGN ID CDI DCAN IJGC 6<6>CHI *A6>CI>;;
  
               -6NADG JIIDC L=D =69 LDG@:9 DK:G I=>GI::C N:6GH ID 7J>A9 I=: G:EJI6I>DC D; I=:
  
               >9DA =: L6H 6C9 I=6I =: L6H @CDLC ;DG >C =>H >C9JHIGN 6C9 L6H 6I I=: E>CC68A: D;
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             =>H 86G::G 7JI 86JH:9 I=: >C9JHIGN ID 9>H6HHD8>6I: ;GDB -6NADG G:EDHI I=:

             9:;6B6IDGN HI6I:B:CIH 6C9 ;6AH: 6AA:<6I>DCH 6C9 8:6H: 6AA 8DBBJC>86I>DC L>I=
             =>B >C8AJ9>C< =6AI>C< 6CN 6C9 6AA ;DGBH D; :BEADNB:CI ;DG L=>8= =: =69 7::C >C
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               :MIG:B:AN =><= 9:B6C9 ;DG ;DG DK:G I=>GI::C N:6GH
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                   -=: ;6AH: 6AA:<6I>DCH 6C9 9:;6B6IDGN G:B6G@H B69: 7N :;:C96CIH ><C>I:9
  
               6 K>G6A G:HEDCH: L=>8= HEG:69 A>@: L>A9;>G: G:HJAI>C< >C 6 V<G6E:K>C:W :;;:8I
  

             I=GDJ<=DJI *A6>CI>;;HW >C9JHIG>:H >C8AJ9>C< ID I=:>G 8D LDG@:GH 8A>:CIH :BEADN:GH

             EDI:CI>6A :BEADN:GH E6G:CIH 6C9 8=>A9G:C D; I=DH: JHIN I6J<=I >C I=: 96C8:

             >C9JHIGN HEDCHDGH EDI:CI>6A HEDCHDGH ;G>:C9H 6C9 ;6B>AN >CKDAK:9 >C I=:
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           >C9JHIG>:H 8JHIDB:GH ;DGB:G :BEADN:GH 6<:C8>:H 96C8: HIJ9>D DLC:GH 6C9 DI=:G
           K6G>DJH I=>G9 E6GI>:H L=:G:6H *A6>CI>;;H 8DJA9 CDI 9:;:C9 I=:BH:AK:H 6<6>CHI HJ8=
   
            L>9:HEG:69 >C9JHIGN <DHH>E L=>8= L:G: EG:K:CI67A: 7JI >CHI:69 L:G: :C8DJG6<:9
   
            7N :;:C96CIH >C8AJ9>C< 7N C:<A:8I>C< I=:>G 9JI>:H 8DC8:6A>C< ;G6J9 ;6>A>C< ID
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            9>H8ADH: E:GI>C:CI >C;DGB6I>DC G:<6G9>C< $6C: D: JEDC 9>H8DK:GN D; =:G ;6AH:
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           6AA:<6I>DCH

               :;:C96CIH HE:8>;>86AAN I6G<:I:9 *A6>CI>;;H

               H 6 9>G:8I 86JH: D; :;:C96CIHW 9:;6B6IDGN HI6I:B:CIH 6C9 6 <AD76A
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            B:9>6 86BE6><C L6<:9 6<6>CHI *A6>CI>;;H *A6>CI>;;H =6K: 7::C JC67A: ID :K:C
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            =6K: 6 G>C<IDC: K>7G6I>DC DG HDJC9 DC I=:>G E=DC:H L=:C CDI>;>86I>DCH DG 86AAH
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            8DB: >C 9J: ID I=: >C;AJM D; CDI>;>86I>DCH B:HH6<:H =6G6HHB:CI 9:6I= I=G:6IH
  
            JCL6CI:9 I=G:6I:C>C< 86AAH 6C9 I=: DK:GL=:AB>C< >BB:9>6I: G:HEDCH:H ID I=:
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          9:;6B6IDGN EDHIH 8DBB:CIH 6C9 G:EDHIH L=:G:6H *A6>CI>;;H :K:C =69 ID I6@: IJGCH

          L6I8=>C< ;DG CDI>;>86I>DCH DC :68= DI=:GWH E=DC:H ID :K:C HA::E ?JHI DC: =DJG 6H
          I=: =6G6HH>C< I=G:6I:C>C< 6C9 9:;6B6IDGN G:B6G@H 8DCI>CJ:9 ;DG BDCI=H DC :C9
  
                -D I=>H 96N *A6>CI>;;H @::E I=:>G E=DC:H DC H>A:CI 6H >I G:HJAIH >C H:K:G:
  
            IG6JB6 6C9 *-, 6H 6 9>G:8I G:HJAI D; I=: =6G6HHB:CI I=:N G:8:>K:9 ;DAADL>C< I=:
  
            ;6AH: 6AA:<6I>DCH 6C9 9:;6B6IDGN HI6I:B:CIH B69: 7N :;:C96CIH >C 6C :;;DGI ID
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          8DC8:6A ;G6J9

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                  H EG:K>DJHAN HI6I:9 =:G:>C *A6>CI>;;HW 7JH>C:HH L6H I=:>G C6B:H 6C9
              A>@:C:HH 6H I=:N L:G: >C9>K>9J6AAN 8DCIG68I:9 9J: ID I=:>G G:EJI6I>DCH D; L=D I=:N
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               L:G: 6H 6 7JH>C:HH 6C9 6H I=:>G C6B:H L:G: I=:>G 7G6C9H
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                   *A6>CI>;;H L:G: L:AA @CDLC 6C9 EGDB>C:CI ;><JG:H >C I=:>G >C9JHIG>:H 6C9
   
               I=:G:;DG: L:G: 8DCIG68I:9 :BEADN:9 6C9 >C =><= 9:B6C9 7:86JH: D; I=:>G C6B:H
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              6C9 G:EJI6I>DCH 6H I=:N I=:BH:AK:H L:G: I=:>G 7JH>C:HH:H ;DG DK:G ;>;I::C N:6GH

                  -=: H=D8@ 6C9 8DC;JH>DC ;GDB I=: 9:;6B6IDGN HI6I:B:CIH 8DJEA:9 L>I=

              :;:C96CIHW C:<A><:C8: G:HJAI:9 >C >CI:CH: I=G:6IH =6G6HHB:CI 6C9 H:K:G:
  
               7JAAN>C< >C8AJ9>C< H:K:G: :BDI>DC6A IG6JB6 L=>8= =6H I6@:C 6 IG:B:C9DJH IDAA D;
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               *A6>CI>;;H 6C9 I=:>G B:CI6A =:6AI=
  
                   *A6>CI>;;H L:G: HD IG6JB6I>O:9 7N I=: 68I>DCH D; :;:C96CIH I=6I I=:N 7DI=
  
               HJ;;:G:9 ;GDB HJ>8>96A I=DJ<=IH C:6GAN I6@>C< I=:>G DLC A>K:H 6H 6 9>G:8I G:HJAI D;
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             I=: ;6AH: 6AA:<6I>DCH B69: 7N :;:C96CIH

                 :;:C96CIH IDD@ 6;;>GB6I>K: HI:EH ID :CHJG: *A6>CI>;;H L:G: L>I=DJI I=:
             67>A>IN ID H::@ G:8DJGH: 6<6>CHI I=:B JCI>A CDL L>I= I=: >CI:CI>DC6A =6GB I=:N
  
               >C;A>8I:9 DC *A6>CI>;;H 7N L6N D; ;DG8>C< I=:B ID 7: JC:BEADN:9 7N 6>9>C< 6C9
  
               67:II>C< I=: ;6AH: 6AA:<6I>DCH B69: 7N ,6<: "JBE=G>:H L>I= CD 67>A>IN ID <:C:G6I:
  
               >C8DB: G:A:6H>C< I=:B D; 6CN G:HEDCH>7>A>IN 6H I=:N @C:L >I L6H 6 EDHH>7>A>IN ;DG
  

             I=:>G HI6IJI:H D; A>B>I6I>DC ID :ME>G: 7:;DG: *A6>CI>;;H 8DJA9 I6@: 68I>DC 6<6>CHI

             I=:B

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                      88DG9>C<AN 6CN HI6IJI: D; A>B>I6I>DCH 6EEA>867A: ID JHIN 6C9 -6NADGWH
             8A6>BH >; 6CN >H IDAA:9
   
                      :;:C96CIHW 68I>DCH 9:H8G>7:9 67DK: 9:EG>K:9 JHIN 6C9 -6NADG D; I=:
   
               DEEDGIJC>IN ID 8DBB:C8: I=>H A6LHJ>I 7:;DG: CDL
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                      :;:C96CIH 6G: :FJ>I67AN :HIDEE:9 ;GDB 6HH:GI>C< 6 HI6IJI: D; A>B>I6I>DCH
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              9:;:CH: 6H ID *A6>CI>;;HW 8A6>BH

                     AADL>C< :;:C96CIH ID 9D HD LDJA9 7: JC?JHI

                     :;:C96CIH IDD@ 68I>K: HI:EH ID EG:K:CI JHIN 6C9 -6NADG ;GDB
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               8DBB:C8>C< :./9 A6LHJ>I 7:;DG: CDL >C8AJ9>C< 7N 9:HIGDN>C< *A6>CI>;;HW 67>A>IN ID
  
               LDG@ >C8AJ9>C< 7N 6>9>C< 6C9 67:II>C< I=: 9:;6B6IDGN <AD76A B:9>6 86BE6><C
  
               6<6>CHI *A6>CI>;;H 6C9 7N JH>C< I68I>86A >CI>B>96I>DC 7N L6N D; JH>C< I=:>G EDL:G
  
               6C9 >C;AJ:C8: ID HJEEG:HH 6C9 H>A:C8: *A6>CI>;;H ;GDB 9:;:C9>C< 6<6>CHI I=: ;6AH:
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             6C9 9:;6B6IDGN EDHIH 6C9 G:B6G@H I=GDJ<= A>I><6I>DC 7N ,6<: "JBE=G>:H 6C9 =:G

             E6G:CIH
                    *A6>CI>;;H G:8:>K:9 699>I>DC6A 9>H8DK:GN G:<6G9>C< :;:C96CIHW 8DC9J8I
  
               9JG>C< I=: 8DJGH: D; 9>H8DK:GN >C (:K696 L=:G:6H *A6>CI>;;H L:G: CDI 6L6G: D;
  
               HJ8= C:<A><:C8: 6C9 8DC8:6AB:CI D; ;G6J9 JCI>A I=: N:6GH   6C9   >C8AJ9>C<
  
               7JI CDI A>B>I:9 ID I=: 9:EDH>I>DC D; ,6<: "JBE=G>:H L=>8= :MEDH:9 :;:C96CIHW
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             ;G6J9 6C9 8DC8:6AB:CI ;DG DK:G H:K:C N:6GH

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                  *A6>CI>;;H =6K: HJ;;:G:9 6C9 8DCI>CJ: ID HJ;;:G B:CI6A 6C<J>H= H:K:G:
              :BDI>DC6A 9>HIG:HH 6C9 ADHH D; :C?DNB:CI D; A>;: 6H 6 9>G:8I 6C9 EGDM>B6I: G:HJAI D;
   
               :;:C96CIHW 8DC9J8I
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                   "69 *A6>CI>;;H HJ88JB7:9 ID I=: 96G@C:HH I=6I :;:C96CIH 86HI DK:G I=:>G
   
               A>K:H 7JH>C:HH:H ;6B>A>:H 6C9 ;JIJG:H I=>H A>I><6I>DC LDJA9 7: 8G>B>C6A G6I=:G I=6C
   

              8>K>A 6H I=:N 6G: G:HEDCH>7A: I=: ;G6J9JA:CI 68I>DCH I=6I C:6GAN :C9:9 ILD A>K:H

              I=6I L:G: DC8: I=: 7G><=I:HI A><=IH D; I=:>G 86G::GH ;DG B>AA>DCH D; E:DEA: 67GD69

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                   *A6>CI>;;H G:E:6I G:6AA:<: 6C9 >C8DGEDG6I: :68= 6C9 :K:GN 6AA:<6I>DC
  
              8DCI6>C:9 67DK: 6H I=DJ<= ;JAAN H:I ;DGI= =:G:>C
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                 '>86= 6C9 '>8=6:A "JBE=G>:HW G:A6I>DCH=>E L>I= *A6>CI>;;H L6H

            8DC;>9:CI>6A 6C9 ;>9J8>6GN >C C6IJG:
                  *A6>CI>;;H >C ;68I EA68:9 IGJHI 8DC;>9:C8: 6C9 G:A>6C8: DC '>86= 6C9
  
              '>8=6:A "JBE=G>:H
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                   '>86= 6C9 '>8=6:A "JBE=G>:H 7G:68=:9 I=:>G ;>9J8>6GN 9JI>:H >C8AJ9>C<
  
              7JI CDI A>B>I:9 ID 7N >C;A>8I>C< >CI:CI>DC6A :BDI>DC6A 9>HIG:HH DC *A6>CI>;;H 7N
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            9:;6B>C< I=:B I=GDJ<= B6HH B:9>6 EJ7A>86I>DCH 6C9 ;>A>C< ;6AH: 6C9 8G>B>C6A

            EDA>8: G:EDGIH 6<6>CHI I=:B L=>A: @CDL>C< I=:N L:G: ;6AH:

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                   *A6>CI>;;H G:A>:9 DC I=:>G G:A6I>DCH=>E L>I= '>86= 6C9 '>8=6:A "JBE=G>:H
              9JG>C< I=: 8DJGH: D; I=:>G G:A6I>DCH=>E L>I= I=:>G 96J<=I:G
   
                    :;:C96CIH '>86= 6C9 '>8=6:A "JBE=G>:HW 68I>DCH 8DCHI>IJI: 6 7G:68= D;
   
               9JIN 6H I=:>G 68I>DCH 8DBE6G:9 ID I=DH: D; 6 G:6HDC67A: E:GHDC >C I=: H6B:
   
               8>G8JBHI6C8:H ;6AA 7:ADL I=: G:6HDC67A: E:GHDC HI6C96G9
   

                   :;:C96CI "6CC6= ,IDAGDL 6C9 *A6>CI>;;HW G:A6I>DCH=>E L6H 8DC;>9:CI>6A

              6C9 ;>9J8>6GN >C C6IJG:

                   *A6>CI>;;H >C ;68I EA68:9 IGJHI 8DC;>9:C8: 6C9 G:A>6C8: DC :;:C96CI
  
               "6CC6= ,IDAGDL
  
                    "6CC6= ,IDAGDL DL:9 *A6>CI>;;H ;>9J8>6GN 9JI>:H
  
                    :;:C96CI "6CC6= ,IDAGDL 7G:68=:9 =:G ;>9J8>6GN 9JI>:H >C8AJ9>C< 7JI
  
               CDI A>B>I:9 ID >C;A>8I>C< >CI:CI>DC6A :BDI>DC6A 9>HIG:HH 7N HEG:69>C< ;6AH: 6C9
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             9:;6B6IDGN HI6I:B:CIH 67DJI *A6>CI>;;H L=>8= H=: @C:L L:G: ;6AH: 6C9 LDJA9

             9:HIGDN I=: A>K:H D; *A6>CI>;;H
                  :;:C96CIH "6CC6= ,IDAGDL 6C9 '>86= 6C9 '>8=6:A "JBE=G>:HW 7G:68=
  
               D; 9JIN L6H JCG:6HDC67A: 6H I=: A>@:A>=DD9 6C9 EDI:CI>6A H:K:G>IN D; =6GB
  
               G:HJAI>C< ;GDB I=:>G 8DC9J8I L6H ;DG:H::67A: 6C9 >CI:CI>DC6A
  
                    :;:C96CIH ;6>A:9 ID I6@: G:6HDC67A: EG:86JI>DCH C:8:HH6GN ID :A>B>C6I: DG
  

             G:9J8: I=: G>H@ D; =6GB ID *A6>CI>;;H 6C9 >C ;68I >CI:CI>DC6AAN =6GB:9 *A6>CI>;;H 7N

             8G:6I>C< 6 ;6AH: C6GG6I>K: 6<6>CHI I=:B 8D:G8>C< DI=:GH ID ;DAADL HJ>I 6C9 AN>C< ID

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             A6L :C;DG8:B:CI I=: EJ7A>8 6C9 >CCJB:G67A: I=>G9 E6GI>:H L=>8= 86JH:9
             9>H6HHD8>6I>DC ;GDB *A6>CI>;;H
   
                   :;:C96CIH '>86= 6C9 '>8=6:A "JBE=G>:H 7G:68=:9 I=:>G A:<6A 9JI>:H
   
              >C8AJ9>C< 7JI CDI A>B>I:9 ID 7N >CI:CI>DC6AAN ;>A>C< ;6AH: EDA>8: G:EDGIH 67DJI
   
              *A6>CI>;;H L=>A: @CDL>C< I=: HI6I:B:CIH I=:N B69: ID A6L :C;DG8:B:CI L:G: ;6AH:
   

             HI6I:B:CIH D; ;68I I=:G:;DG: 8DBB>II:9 8G>B>C6A 68IH 6<6>CHI *A6>CI>;;H

                 :;:C96CIH '>86= 6C9 '>8=6:A "JBE=G>:H 7G:68=:9 I=:>G 9JI>:H

             >C8AJ9>C< 7JI CDI A>B>I:9 ID 7N >CI:CI>DC6AAN 8G:6I>C< 6 ;6AH: C6GG6I>K: 6<6>CHI
  
              *A6>CI>;;H ID =>9: I=: IGJ: C6IJG: D; I=:>G 96J<=I:GWH G:A6I>DCH=>E L>I= *A6>CI>;;H
  
              ;GDB I=: EJ7A>8
  
                  :;:C96CI '>8=6:A "JBE=G>:H HE:8>;>86AAN 7G:68=:9 =>H A:<6A 9JIN
  
              >C8AJ9>C< 7JI CDI A>B>I:9 ID =>H 9JIN 6H 6C 6IIDGC:N 7N ;DG<>C< 9D8JB:CIH 6<6>CHI
  

            I=: *A6>CI>;;H 6C9 B6@>C< ;6AH: HI6I:B:CIH ID I=: EDA>8: 6C9 ID I=: DHIDC

            'JC>8>E6A DJGI ID ;G6B: *A6>CI>;;H ;DG BJAI>EA: 68IH D; K>DA:C8: 6<6>CHI =>H
            96J<=I:G L=>8= I=:N 9>9 CDI 8DBB>I 6C9 L=>8= =: @C:L L:G: ;6AH:
  
                  :;:C96CIH '>86= 6C9 '>8=6:A "JBE=G>:H 7G:68=:9 I=:>G 9JI>:H 6H I=:>G
  
              68I>DCH 6C9 DG DB>HH>DCH 6G: H=DLC ID 7: JCG:6HDC67A: JC9:G I=: 8>G8JBHI6C8:H
  
              6C9 86C 7: 9:BDCHIG6I:9 I=GDJ<= :K>9:C8: D; L=6I 68IJ6AAN =6EE:C:9 6C9
  

            8DBE6G:9 ID I=: G:6HDC67A: E:GHDC HI6C96G9

                :;:C96CI %6I=GNC: ':N:G 7G:68=:9 =:G :I=>86A 9JIN ID EGDI:8I 6C9 L6GC

            *A6>CI>;;H L=D H=: @C:L L:G: EDI:CI>6A K>8I>BH 7N CDI>;N>C< A6L :C;DG8:B:CI
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           6JI=DG>I>:H ;DAADL>C< =:G 8A>:CIHW 8DBBJC>86I>DC D; I=G:6IH 7N =:G E6G:CIH 6<6>CHI
              *A6>CI>;;H L=>8= H=: @C:L L:G: ;6AH: HI6I:B:CIH 6<6>CHI I=:B 6C9 L=>8= L:G:
   
               8A:6GAN >9:CI>;>:9 7N =:G 8A>:CI ,6<: "JBE=G>:H 6C9 =:G E6G:CIH '>86= 6C9
   
               '>8=6:A "JBE=G>:H
   
                   :;:C96CI %6I=GNC: ':N:G 7G:68=:9 =:G 9JIN ID L6GC 6C9 EGDI:8I 6H 6
   

              8DJCH:ADG L=:G:6H H=: =69 G:6HDC ID 7:A>:K: I=6I 6 HE:8>;>8 >C9>K>9J6A HJ8= 6H

              I=: *A6>CI>;;H LDJA9 7: =6GB:9

                  :;:C96CI %6I=GNC: ':N:G 7G:68=:9 =:G 9JIN >C8AJ9>C< 7:86JH: I=: A:<6A
  
               G:FJ>G:B:CI 6C9 A6L >C 6A>;DGC>6 &6 +:K ,I6I CC P               G:FJ>G:H
  
               EHN8=DAD<>HIH EHN8=>6IG>HIH B6GG>6<: 6C9 ;6B>AN I=:G6E>HIH A>8:CH:9 EGD;:HH>DC6A
  
               8DJCH:ADG 6C9 HD8>6A LDG@:GH ID L6GC EDI:CI>6A K>8I>BH 6C9 CDI>;N A6L
  
               :C;DG8:B:CI 6JI=DG>I>:H L=:C 6 E6I>:CI =6H 8DBBJC>86I:9 6 I=G:6I 6<6>CHI 6
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             8A:6GAN >9:CI>;>:9 K>8I>B DG K>8I>BH >C I=>H 86H: I=: *A6>CI>;;H

                 :;:C96CI %6I=GNC: ':N:G =69 68IJ6A @CDLA:9<: D; '>86= 6C9 '>8=6:A
          "JBE=G>:H H8=:B: 6C9 I=G:6IH 6<6>CHI *A6>CI>;;H I=GDJ<= =:G 8A>:CI 7JI B69: CD
  
            :;;DGI ID 8DBBJC>86I: I=: I=G:6I ID *A6>CI>;;H DG ID CDI>;N A6L :C;DG8:B:CI
  
            6JI=DG>I>:H
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                   :;:C96CI %6I=GNC: ':N:G 7G:68=:9 =:G 9JIN >C8AJ9>C< 7JI CDI A>B>I:9 ID
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          =:G 9JIN ID EGDI:8I 6C9 L6GC 6H H=: @C:L I=6I ,6<: "JBE=G>:HW ;6AH: 6AA:<6I>DCH

          6<6>CHI I=: *A6>CI>;;H L:G: ;6AH: >C I=:>G :CI>G:IN >C8AJ9>C< 7:86JH: H=: 6HH>HI:9

          ,6<: "JBE=G>:H >C =:G 9:HE:G6I>DC ID :H86E: =:G E6G:CIHW =DB: >C 6A>;DGC>6
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                  :;:C96CI %6I=GNC: ':N:G L>AA>C<AN 6HH>HI:9 ,6<: "JBE=G>:H >C
            8DCI68I>C< *A6>CI>;;H 6I =:G DLC E:G>A L=>A: @CDL>C< '>86= 6C9 '>8=6:A
   
             "JBE=G>:HW >CI:CI>DCH >C 9:HIGDN>C< *A6>CI>;;HW A>K:H H=DJA9 I=:N =6K: 9>H8DK:G:9
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               8DBBJC>86I>DCH L:G: 7:>C< =69 L>I= *A6>CI>;;H 6I =:G D;;>8:
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                     :;:C96CI %6I=GNC: ':N:G >CI:CI>DC6AAN 6C9 L>AA>C<AN 6HH>HI:9 ,6<:
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              "JBE=G>:H >C =:G 9:H>G: ID HE:6@ ID *A6>CI>;;H L=>A: @CDL>C< '>86= 6C9 '>8=6:A

              "JBE=G>:H 6AA:<6I>DCH 6C9 ;6AH: 688JH6I>DCH 6<6>CHI *A6>CI>;;H L:G: 7:>C< EJGHJ:9

              6<6>CHI I=: L>H=:H D; =:G 8A>:CI 7JI 9>9 CDI EGDI:8I DG L6GC *A6>CI>;;H D; I=:>G EADI
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               ID 9:HIGDN I=:>G A>K:H I=GDJ<= I=:H: ;6AH: 6AA:<6I>DCH
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                    :;:C96CI "6CC6= ,IDAGDLWH 68I>DCH 8DCHI>IJI: 6 7G:68= D; 9JIN 6H =:G
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               68I>DCH 8DBE6G:9 ID I=DH: D; 6 G:6HDC67A: E:GHDC >C I=: H6B: 8>G8JBHI6C8:H ;6AA
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               7:ADL I=: G:6HDC67A: E:GHDC HI6C96G9
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                  *A6>CI>;;H >C ;68I EA68:9 IGJHI 8DC;>9:C8: 6C9 G:A>6C8: DC :;:C96CI

             "6CC6= ,IDAGDL
                  :;:C96CI "6CC6= ,IDAGDLWH 7G:68= D; 9JIN L6H JCG:6HDC67A: 6H I=:
  
               A>@:A>=DD9 6C9 EDI:CI>6A H:K:G>IN D; =6GB G:HJAI>C< ;GDB =:G 8DC9J8I L6H
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               ;DG:H::67A: 6C9 >CI:CI>DC6A
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                    :;:C96CI ;6>A:9 ID I6@: G:6HDC67A: EG:86JI>DCH C:8:HH6GN ID :A>B>C6I: DG
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             G:9J8: I=: G>H@ D; =6GB ID *A6>CI>;;H 6C9 >C ;68I >CI:CI>DC6AAN =6GB:9 *A6>CI>;;H 7N

             8G:6I>C< 6 ;6AH: C6GG6I>K: 6<6>CHI I=:B 8D:G8>C< DI=:GH ID ;DAADL HJ>I 6C9 AN>C< ID

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           A6L :C;DG8:B:CI I=: EJ7A>8 6C9 >CCJB:G67A: I=>G9 E6GI>:H L=>8= 86JH:9
           9>H6HHD8>6I>DC ;GDB *A6>CI>;;H
   
                    :;:C96CI "6CC6= ,IDAGDL 7G:68=:9 =:G 9JI>:H >C8AJ9>C< 7JI CDI A>B>I:9
   
            ID I=: 68I D; >CI:CI>DC6AAN 6C9 @CDL>C<AN 6HH>HI>C< '>86= 6C9 '>8=6:A "JBE=G>:H
   
            8DBB>I 68IH D; ;G6J9 6<6>CHI *A6>CI>;;H :K:C 6;I:G @CDL>C< '>86= 6C9 '>8=6:A
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           "JBE=G>:HW ;6AH: 6AA:<6I>DCH =6GB:9 I=: *A6>CI>;;H

                   :;:C96CIHW 8DC9J8I EGDM>B6I:AN 86JH:9 *A6>CI>;;H ID HJ;;:G H:K:G: B:CI6A

           6C9 :BDI>DC6A 9>HIG:HH E6>C 6C9 HJ;;:G>C< B:CI6A 6C<J>H= 6C9 ADHH D; :C?DNB:CI
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            D; A>;:
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                    :;:C96CIHW JCA6L;JA 68I>DCH L:G: >CI:CI>DC6A 9DC: L>I= B6A>8: 6C9 DG
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            H=DL:9 6 9:A>7:G6I: L>AA;JA L6CIDC 6C9 G:8@A:HH >C9>;;:G:C8: ID *A6>CI>;;HW
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            G><=IH
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                  :;:C96CIH IDD@ 68I>K: HI:EH >C EG:K:CI>C< JHIN 6C9 -6NADG ID EG:K:CI

          I=: JIIDCH ;GDB 8DBB:C8>C< I=>H A6LHJ>I 7:;DG: CDL >C8AJ9>C< 7N >BB:9>6I:AN
          HA6C9:G>C< I=: <DD9 C6B:H D; *A6>CI>;;H >C I=:>G G:HE:8I>K: >C9JHIG>:H 6C9 B6@>C<
  
            H6A68>DJH HI6I:B:CIH ID I=>G9 E6GI>:H AN>C< ID A6L :C;DG8:B:CI ID <6>C 6C
  
            69K6CI6<: 6C9 8G:6I: 6 ;6AH: C6GG6I>K: 6<6>CHI *A6>CI>;;H ID JH: 6H <GDJC9H ;DG
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            8DBB:C8:B:CI D; 6 K:M6I>DJH A6LHJ>I JC9:G ;6AH: EG:I:CH:H
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                  88DG9>C<AN 6CN HI6IJI: D; A>B>I6I>DCH 6EEA>867A: ID JHIN 6C9 -6NADGWH

          8A6>BH >; 6CN >H IDAA:9 >C8AJ9>C< 7:86JH: *A6>CI>;;H =6K: 7::C >CKDAK:9 >C E:C9>C<

          A>I><6I>DC G:<6G9>C< I=: H6B: 6AA:<6I>DCH >C C6IJG: ;DG I=G:: N:6GH
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                      6A>;DGC>6 EGDK>9:H I=: 9:A6N:9 9>H8DK:GN GJA: L=:G:6H >C I=>H 86H:
                *A6>CI>;;H 9>9 CDI @CDL DG 8DJA9 CDI =6K: @CDLC D; I=: :;:C96CIHW 8DCC:8I>DCH
   
                 ID I=:>G LGDC<9D>C< B69: 6 G:6HDC67A: >CK:HI><6I>DC 7JI HI>AA 9>9 CDI 9>H8DK:G I=:
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                 >C?JGN DG >IH 86JH: JCI>A I=: 9>H8DK:GN >C E:C9>C< A>I><6I>DC >C (:K696 7:<6C >C
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                   6C9  
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                    #C I=: :K:CI 6CN 6EEA>867A: HI6IJI:H 6EEAN *A6>CI>;;HW 8A6>BH BJHI 7: IDAA:9

                ;DG I=: ;DAADL>C< G:6HDCH >C8AJ9>C< 7JI CDI A>B>I:9 ID

                        TJG>C< I=: E:C9:C8N D; 6 G:A6I:9 A6LHJ>I DG 6G7>IG6I>DC G:A6I:9 ID I=:
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                            H6B: 9:;6B6IDGN HI6I:B:CIHU L=:G:6H :;:C96CIWH 9:;6B6IDGN EDHIH
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                            6C9 HI6I:B:CIH 6G: 6I >HHJ: >C ;DJG DI=:G E:C9>C< A6LHJ>IH 6C9 T*
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                       -=G:6IH ;GDB 6 A>8:CH:9 6IIDGC:N >C 6C 6II:BEI ID EG:K:CI *A6>CI>;;H

                          ;GDB H::@>C< G:8DJGH: 6<6>CHI =:G HJ8= 6H '>86=:A "JBE=G>:H 7:>C< 6
                          A>8:CH:9 6IIDGC:N L=D I=G:6I:9 *A6>CI>;;H DC >CCJB:G67A: D886H>DCH >C
  
                              A:69>C< *A6>CI>;;H ID 7:A>:K: I=:N 8DJA9 CDI H::@ A:<6A G:8DJGH:
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                            6<6>CHI I=:B DG 6HHD8>6I:9 I=>G9 E6GI>:H
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                          8DCI>CJ>C< LGDC<
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         .@2  0C  !' I )<BA52?; 6@A?60A <B?A <3 %2D -<?8 BAA<; 2A .9 C <52?AF 2A .9 .@2
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                          8DCH:FJ:C8: 6C9 G:8DJGH: 6C9 8DCI>CJ>C< ID 9:;6B: 6C9 =6G6HH
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                          *A6>CI>;;H >C I=: B:9>6
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                   *A6>CI>;;H =6K: 68IJ6A @CDLA:9<: I=6I HJ7HI6CI>6A 699>I>DC6A :K>9:CI>6GN
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              HJEEDGI L=>8= >H >C I=: :M8AJH>K: EDHH:HH>DC D; :;:C96CIH 6C9 DI=:G I=>G9 E6GI>:H

              >C8AJ9>C< 7JI CDI A>B>I:9 ID CDC E6GI>:H :;:C96CIHW 6<:CIH 6C9 DI=:G I=>G9

              E6GI>:H L=>8= L>AA :M>HI ;DG I=: 6AA:<6I>DCH 6C9 8A6>BH H:I ;DGI= 67DK: 6;I:G 6
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               G:6HDC67A: DEEDGIJC>IN ;DG 9>H8DK:GN
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               6 I>B:AN B6CC:G ;DG I=: G:6HDCH A>HI:9 )+'(
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                   :;:C96CIHW 68I>DCH 9:H8G>7:9 67DK: 9:EG>K:9 JHIN 6C9 -6NADG D; I=:
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             DEEDGIJC>IN ID 8DBB:C8: I=>H A6LHJ>I 7:;DG: CDL >C8AJ9>C< 7N 8DBB>II>C<

             BJAI>EA: 68IH D; ;G6J9 6<6>CHI I=:B ;DG H:K:C N:6GH
                 :;:C96CIH 6G: :FJ>I67AN :HIDEE:9 ;GDB 6HH:GI>C< 6 HI6IJI: D; A>B>I6I>DCH
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               9:;:CH: 6H ID *A6>CI>;;HW 8A6>BH
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                    AADL>C< :;:C96CIH ID 9D HD LDJA9 7: ;40;9:
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                   0"+ )+ *A6>CI>;;H JHIN 6C9 -6NADG JIIDC 9:B6C9 ?J9<B:CI
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             6<6>CHI :;:C96CIH ;DG 96B6<:H EJC>I>K: 96B6<:H 8DJGI 8DHIH 6C9 HJ8= DI=:G

             G:A>:; 6H I=: DJGI 9::BH ?JHI 6C9 EGDE:G

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              8DCI6>C:9 67DK: 6H I=DJ<= ;JAAN H:I ;DGI= =:G:>C
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              ,IDAGDL :68= @C:L I=6I ,6<: "JBE=G>:H 8DBB>II:9 ;G6J9 8D:G8:9 =:G ID 8DBB>I

              ;G6J9 DG >CI:C9:9 ID 8DBB>I ;G6J9 G:HJAI>C< >C I=: 9>G:8I 6C9 EGDM>B6I: >GG:E6G67A:
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               =6GB ID *A6>CI>;;H
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               6C9 >C ;68I :C8DJG6<:9 I=6I A>I><6I>DC 7N 6HH>HI>C< I=: A>I><6CI >C ;>A>C< I=:
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               ;G6J9JA:CI A6LHJ>I 6<6>CHI *A6>CI>;;H
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             I6@: G:6HDC67A: HI:EH ID EG:K:CI DG HIDE ,6<: "JBE=G>:HW ;G>KDADJH 8A6>BH 6C9 >C
             ;68I 6HH>HI:9 =:G >C 8G:6I>C< 6C9 8DCI>CJ>C< I=:B
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                   :;:C96CIH @C:L I=: :M>HI:C8: D; 6C JC9:GAN>C< ;G6J9 L=:G:6H I=: ;G6J9
  
               D88JGG:9 6C9 :68= :;:C96CI :>I=:G =69 @CDLA:9<: D; >IH :M>HI:C8: DG 9>H8DK:G:9
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               >IH :M>HI:C8: >C L=>8= I=:N 9>9 CDI EG:K:CI DG HIDE 7JI G6I=:G :C8DJG6<:9 6C9
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             8DCI>CJ:9 ID 6>9 I=6I ;G6J9 >C8AJ9>C< 6I I=: I>B: 6C9 96I: I=: :K:CIH IDD@ EA68:

             7:<>CC>C< >C   6C9 JCI>A I=: I>B: D; I=>H 8DBEA6>CI 7:>C< ;>A:9

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              "JBE=G>:H 6C9 DG =69 68IJ6A @CDLA:9<: D; I=: 8G>B:H L=>8= I=:N L:G:
   
               8DBB>II>C< I=:BH:AK:H 6<6>CHI *A6>CI>;;H L=>8= L:G: E6GI D; 6 86A8JA6I:9 H8=:B:
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               L=>8= I=:N EA6CC:9 6C9 DG 8DBB>II:9 6C9 L=>8= >H HI>AA 7:>C< 8DBB>II:9 6H D; I=:
   
               I>B: 6C9 96I: D; I=>H 8DBEA6>CI 7:>C< ;>A:9
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              8DBB>I I=: 8G>B: 6C9 >C 9>9 >C ;68I 6HH>HI 6C9 DG :C8DJG6<: I=:>G ;G>:C9 8=>A9

              6C9 DG 8A>:CI >C 8DBB>II>C< I=: 8G>B: >C L=>8= :;:C96CIH 8DCI>CJ: ID =:AE 6>9
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               6C9 DG :C8DJG6<: ID 8DCI>CJ: 8DBB>II>C< 6H D; I=: I>B: 6C9 96I: D; I=>H 8DBEA6>CI
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               7:>C< ;>A:9
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               A6LHJ>I @CDL>C< =6GB LDJA9 G:HJAI 6<6>CHI *A6>CI>;;H
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             ,6<: "JBE=G>:H ;DG8>C< =:G >CID I=:G6EN 6C9 I=G:6I:C>C< =:G ID :C9 =:G
             G:A6I>DCH=>E DG H=: LDJA9 CDI 7: 6AADL:9 ID G:IJGC ID DHIDC 6H I=:N LDJA9 CDI
  
               E6N ;DG =:G ;A><=I
  
                   :;:C96CIH EGDK>9:9 HJ7HI6CI>6A 6HH>HI6C8: ID I=:>G ;G>:C9 69JAI 8=>A9
  
               6C9 DG 8A>:CI DG ;G>:C9 >C 68=>:K>C< I=: ;G6J9 6<6>CHI *A6>CI>;;H L=:G:6H I=:>G
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             68I>DCH 6C9 >C68I>DCH H><C>;>86CIAN 8DCIG>7JI:9 ID I=: HJ88:HH D; I=: ;G6J9 6<6>CHI

             *A6>CI>;;H >C L=>8= I=:>G 69JAI 8=>A9 6C9 DG 8A>:CI DG ;G>:C9 >H 8DCI>CJ>C< ID 8DBB>I

             6H D; I=: I>B: 6C9 96I: D; I=>H 8DBEA6>CI 7:>C< ;>A:9
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                 E:GE:IG6IDG L=:G:6H I=:>G 68I>DCH 6C9 DG :C8DJG6<:B:CI =:AE:9 I=: E:GE:IG6IDG >C
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                  8DBB>II>C< I=: 8G>B: D; ;G6J9 6<6>CHI *A6>CI>;;H >C8AJ9>C< 7JI CDI A>B>I:9 ID
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                  86JH>C< >GG:E6G67A: =6GB ID *A6>CI>;;H >C L=>8= I=:>G ;G>:C9 69JAI 8=>A9 6C9 DG
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                  8A>:CI DG ;G>:C9 >H 8DBB>II>C< 6H D; I=: I>B: 6C9 96I: D; I=>H 8DBEA6>CI 7:>C< ;>A:9
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                     :;:C96CIH EGDK>9:9 ;>C6C8>6A HJEEDGI 6C9 DG G:HDJG8:H ID I=:>G ;G>:C9

                 69JAI 8=>A9 6C9 DG 8A>:CI L=D EA6CC:9 ID 8DBB>I 6 8G>B: 6<6>CHI *A6>CI>;;H 6C9

                 L=D >H 8DCI>CJ>C< ID 8DBB>I HJ8= 6 8G>B: 6<6>CHI *A6>CI>;;H 6H D; I=: I>B: 6C9
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                  96I: D; I=>H 8DBEA6>CI 7:>C< ;>A:9
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                       :;:C96CIH @CDL>C<AN ;>A:9 ;6AH: EDA>8: G:EDGIH 6C9 ;G6J9JA:CIAN D7I6>C:9
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                  67JH: EG:K:CI>DC DG9:GH 7N ;DG<>C< 9D8JB:CIH ;DG I=:>G 69JAI 96J<=I:G >C DHIDC
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                    #C I=: :K:CI 6CN 6EEA>867A: HI6IJI:H 6EEAN *A6>CI>;;HW 8A6>BH BJHI 7: IDAA:9

                ;DG I=: ;DAADL>C< G:6HDCH >C8AJ9>C< 7JI CDI A>B>I:9 ID
                        TJG>C< I=: E:C9:C8N D; 6 G:A6I:9 A6LHJ>I DG 6G7>IG6I>DC G:A6I:9 ID I=:
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                             H6B: 9:;6B6IDGN HI6I:B:CIHU L=:G:6H :;:C96CIWH 9:;6B6IDGN EDHIH
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                             6C9 HI6I:B:CIH 6G: 6I >HHJ: >C ;DJG DI=:G E:C9>C< A6LHJ>IH 6C9 T*
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                       -=G:6IH ;GDB 6 A>8:CH:9 6IIDGC:N >C 6C 6II:BEI ID EG:K:CI *A6>CI>;;H
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                          ;GDB H::@>C< G:8DJGH: 6<6>CHI =:G HJ8= 6H '>8=6:A "JBE=G>:H 7:>C< 6
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                          A>8:CH:9 6IIDGC:N L=D I=G:6I:9 *A6>CI>;;H DC >CCJB:G67A: D886H>DCH >C
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                           A:69>C< *A6>CI>;;H ID 7:A>:K: I=:N 8DJA9 CDI H::@ A:<6A G:8DJGH:

                         6<6>CHI I=:B DG 6HHD8>6I:9 I=>G9 E6GI>:H

                       8DCI>CJ>C< LGDC<
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                          8DCH:FJ:C8: 6C9 G:8DJGH: 6C9 8DCI>CJ>C< ID 9:;6B: 6C9 =6G6HH
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                          *A6>CI>;;H >C I=: B:9>6
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          8DBB>II:9 7N I=:>G 8=>A9 6C9 DG I=:>G 8A>:CI L=:G:6H 6AA :;:C96CIH L:G: >C 9>G:8I
             8DCI68I L>I= *A6>CI>;;H G:<6G9>C< I=: E:GE:IG6IDGH 8G>B:H 6C9 >CI:CI>DC6AAN
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               L>I==:A9 6C9 DG 8DC8:6A:9 >C;DGB6I>DC G:<6G9>C< I=:>G ;G>:C9 8=>A9 6C9 DG 8A>:CIHW
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               68I>DCH D; ;G6J9 6<6>CHI *A6>CI>;;H >C8AJ9>C< 7JI CDI A>B>I:9 ID AN>C< ID I=: EDA>8:
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               6C9 ID I=: >HIG>8I DJGI D; (:K696 L=>8= >H 6 :9:G6A 6<:C8N ID EGDI:8I I=:
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             ;G6J9JA:CI 68I>DCH D; I=: E:GE:IG6IDG I=:G:;DG: >GG:E6G67AN =6GB>C< *A6>CI>;;H >C

             L=>8= 8DCI>CJ:H 6H D; I=: I>B: 6C9 96I: D; I=>H 8DBEA6>CI

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               9:;:CH: 6H ID *A6>CI>;;HW 8A6>BH
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                    AADL>C< :;:C96CIH ID 9D HD LDJA9 7: ;40;9:
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                    *A6>CI>;;H =6K: 68IJ6A @CDLA:9<: I=6I HJ7HI6CI>6A 699>I>DC6A :K>9:CI>6GN
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                HJEEDGI L=>8= >H >C I=: :M8AJH>K: EDHH:HH>DC D; :;:C96CIH 6C9 DI=:G I=>G9 E6GI>:H
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               >C8AJ9>C< 7JI CDI A>B>I:9 ID CDC E6GI>:H :;:C96CIHW 6<:CIH 6C9 DI=:G I=>G9

               E6GI>:H L=>8= L>AA :M>HI ;DG I=: 6AA:<6I>DCH 6C9 8A6>BH H:I ;DGI= 67DK: 6;I:G 6

               G:6HDC67A: DEEDGIJC>IN ;DG 9>H8DK:GN
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                    :;:C96CIH ;6>A:9 ID G:EDGI I=:>G ;G>:C9 8=>A9WH 6C9 DG 8A>:CIHW ;G6J9 6C9 >C
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                ;68I 6>9:9 6C9 67:II:9 I=6I ;G6J9 6C9 9>9 CDI I6@: 68I>DC ID HIDE >I ;GDB
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                =6EE:C>C< >C8AJ9>C< 7N :C8DJG6<>C< :C;DG8>C< 6C9 DG 6>9>C< I=: E:GE:IG6IDG ID
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                8DBB>I 6C9 8DCI>CJ: ID ;G6J9 6<6>CHI *A6>CI>;;H 86JH>C< >GG:E6G67A: =6GB L=>8= >H
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              8DCI>CJ>C< 6H D; I=: I>B: 6C9 96I: D; I=>H 8DBEA6>CI 7:>C< ;>A:9

                     0"+ )+ *A6>CI>;;H JHIN 6C9 -6NADG JIIDC 9:B6C9 ?J9<B:CI
     6<6>CHI :;:C96CIH ;DG 96B6<:H EJC>I>K: 96B6<:H 8DJGI 8DHIH 6C9 HJ8= DI=:G G:A>:; 6H
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       I=: DJGI 9::BH ?JHI 6C9 EGDE:G
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                  *A6>CI>;;H G:E:6I G:6AA:<: 6C9 >C8DGEDG6I: :68= 6C9 :K:GN 6AA:<6I>DC

            8DCI6>C:9 67DK: 6H I=DJ<= ;JAAN H:I ;DGI= =:G:>C :;:C96CIH DL:9 *A6>CI>;;H 6

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                       :;:C96CIH :CI:G:9 >CID 6C 6<G::B:CI ID 8DBB>I 6C JCA6L;JA DG IDGI>DJH
                68I 6<6>CHI *A6>CI>;;H >C8AJ9>C< 7N @CDL>C< ,6<: "JBE=G>:H L6H C:K:G 67JH:9 7N
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                  *A6>CI>;;H >C :68= D; I=:>G >C9>K>9J6A G:A6I>DCH=>EH 7JI 8=DH: ID 8DCHE>G: JH>C<
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                  *A6>CI>;;H 6H I=: H86E:<D6I ;DG I=: ;6AH: C6GG6I>K: 8G:6I:9 7N '>86= 6C9 '>8=6:A
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                  "JBE=G>:H
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                 JCA6L;JA D7?:8I>K: >C8AJ9>C< 7N 8DCHE>G>C< 6C9 9:;6B>C< *A6>CI>;;H ID 68=>:K: I=:

                 <D6A D; 9:HIGDN>C< *A6>CI>;;H 67>A>IN ID H::@ A:<6A G:8DJGH: 6<6>CHI I=:B 6C9
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                  86JH>C< 8DBEA:I: 9:HIGJ8I>DC ID I=:>G ;>C6C8:H >C DG9:G ID 8G>EEA: *A6>CI>;;HW
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                  9:;:CH: >C 6C :;;DGI ID <6>C 6C 69K6CI6<: >C I=: B:9>6 6C9 >C I=: 8>K>A A>I><6I>DC
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                  ;>A:9 7N ,6<: "JBE=G>:H
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                8DBB>II>C< 8G>B>C6A 68IH 6<6>CHI *A6>CI>;;H HJ8= 6H @CDL>C<AN ;>A>C< ;6AH: EDA>8:

                G:EDGIH 6<6>CHI *A6>CI>;;H
                      H 6 9>G:8I 6C9 EGDM>B6I: G:HJAI D; :;:C96CIHW 8DCHE>G68N :;:C96CIH
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                  ADHI 6CN 6C9 6AA 8DCIG68IH :BEADNB:CI HEDCHDGH 6HHD8>6I:9 7JH>C:HH G:A6I>DCH
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                  6C9 86G::G DEEDGIJC>I>:H >C8AJ9>C< 7:86JH: :;:C96CIH A:9 6CN 6C9 6AA K>:L:GH DG
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                  G:69:GH D; I=:>G 9:;6B6IDGN HI6I:B:CIH 7:A>:K: I=:N =69 8DBB>II:9 6 8G>B>C6A
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                68I 

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         J&;2 D5< D6A5 8;<D92142 <3 A52 6;A2;A6<; <3 .;<A52? A< 0<::6A . A<?A .;1 D6A5 6;A2;A A< =?<:<A2 <?
     3.0696A.A2 A5.A A<?A .61@ <? ./2A@ A52 0<::6@@6<; <3 A52 A<?A 6@ @B/720A A< 96./696AF 3<? A52 0<;@2>B2;02@ <3 A52
       A<?A K (2@A.A2:2;A <3 *<?A@ H 
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                  %6I=GNC: ':N:G =69 68IJ6A @CDLA:9<: I=6I =:G 8A>:CI 86JH:9 *A6>CI>;;H
              =6GB 7N ;>A>C< 6 ;G>KDADJH A6LHJ>I 6<6>CHI I=:B L=>8= 6AA:<:9 =:>CDJH 6C9
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               :<G:<>DJH 8G>B:H 67DJI I=:B 6C9 9>9 CDI=>C< ID EGDI:8I 6C9 L6GC 6H G:FJ>G:9 7N
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               =:G 9JI>:H 6H 6 I=:G6E>HI 6C9 >CHI:69 6HH>HI:9 =:G 8A>:CI >C 8DCI>CJ>C< ID 8DBB>I
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               ;G6J9 6<6>CHI *A6>CI>;;H 6;I:G EGDK>9>C< G:HDJG8:H ;DG =:G 8A>:CI ID 8DCI68I I=: K:GN
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              E:DEA: H=: @C:L 9>9 CDI =6GB =:G

                  :;:C96CIH 8DAAJ9:9 ID 8DBB>I 6C JCA6L;JA 6C9 JC:I=>86A 68I HJ8= 6H

              9:;6B6I>DC 6C9 >CK6H>DC D; *A6>CI>;;HW EG>K68N >C DG9:G ID 8DDG9>C6I: 8DK:G6<: 6C9
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               BJIJ6A >C;AJ:C8: ID 8G>EEA: *A6>CI>;;HW 9:;:CH: 6C9 9:HIGDN *A6>CI>;;HW G><=I ID 9J:
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               EGD8:HH >C8AJ9>C< 7JI CDI A>B>I:9 ID EJ7A>H=>C< 6C9 9>H8ADH>C< 6 A6LHJ>I EG>DG ID
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               :K:C H:GK>C< I=: 8DBEA6>CI DC *A6>CI>;;H
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                   :;:C96CI 8DAAJ9:9 L>I= DI=:GH ID <6>C 6C 69K6CI6<: EG:K:CI>C< *A6>CI>;;H
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             ;GDB H::@>C< G:8DJGH: JCI>A CDL ID 8G>EEA: *A6>CI>;;H 9:;:CH: 6<6>CHI I=: A6LHJ>I

             L=>8= LDJA9 7: ;>A:9 I=G:: BDCI=H ;DAADL>C< :;:C96CI L>I= DI=:GH >C8AJ9>C< 7JI
             CDI A>B>I:9 ID ,6<: "JBE=G>:H '69>HDC G:H=:6GH $JA>6 $68D7H 6C9 ,><G>9
  
            '86LA:N 6H I=:N @C:L D; I=: (:L 2DG@ ->B:H 6GI>8A: BDCI=H EG>DG ID I=: 6GI>8A:
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            7:>C< EJ7A>H=:9 6C9 8DAAJ9:9 ID 8DBB>I 6C JCA6L;JA 6C9 JC:I=>86A 68I HJ8= 6H
  
            9:;6B6I>DC 6C9 >CK6H>DC D; *A6>CI>;;HW EG>K68N >C DG9:G ID 8DDG9>C6I: 8DK:G6<: 6C9
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          BJIJ6A >C;AJ:C8: ID 8G>EEA: *A6>CI>;;HW 9:;:CH: 6C9 9:HIGDN *A6>CI>;;HW G><=I ID 9J:

          EGD8:HH >C8AJ9>C< 7JI CDI A>B>I:9 ID EJ7A>H=>C< 6C9 9>H8ADH>C< 6 A6LHJ>I EG>DG ID

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                     :;:C96CIHW 8DC9J8I EGDM>B6I:AN 86JH:9 *A6>CI>;;H ID HJ;;:G H:K:G: B:CI6A
              6C9 :BDI>DC6A 9>HIG:HH E6>C 6C9 HJ;;:G>C< B:CI6A 6C<J>H= 6C9 ADHH D; :C?DNB:CI
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               D; A>;:
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                      :;:C96CIHW JCA6L;JA 68I>DCH L:G: >CI:CI>DC6A 9DC: L>I= B6A>8: 6C9 DG
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               H=DL:9 6 9:A>7:G6I: L>AA;JA L6CIDC 6C9 G:8@A:HH >C9>;;:G:C8: ID *A6>CI>;;HW
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              G><=IH

                     :;:C96CI B69: 6C :MEG:HH 6<G::B:CI 6H 69B>II:9 7N CDC E6GIN 8D

              8DCHE>G6IDG DC I=: '6N    E=DC: 86AA L>I= 6CDI=:G >C8AJ9>C< 7JI CDI
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               A>B>I:9 ID ,6<: "JBE=G>:H ID 8DBB>I 6 LGDC< L=:G:6H :;:C96CI 8DCHE>G:9 ID
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            8N7:G =6G6HH 7JAAN I=G:6I:C 9:;6B: 6C9 8G>B>C6A>O: *A6>CI>;;H >C 6 ?D>CI :;;DGI ID
  
            9:HIGDN I=:>G 7JH>C:HH G:EJI6I>DCH 86G::GH 67>A>IN ID LDG@ 6C9 ;>C6C8>6A 67>A>IN ID
  
            9:;:C9 EG>DG ID ,6<: "JBE=G>:HW A6LHJ>I L=>8= L6H ;>A:9 I=G:: BDCI=H 6;I:G
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          '69>HDC G:H=:6GHW 6C9 '>86= "JBE=G>:H EDHI:9 I=: 9:;6B6IDGN HI6I:B:CIH

          DCA>C: ID >CI:CI>DC6AAN 9:EG>K: *A6>CI>;;H >C 6C )K:GI 8I >C JGI=:G6C8: 86JH>C<
          :8DCDB>8 ADHH
  
                      :;:C96CIHW 68I>DCH G:HJAI:9 >C T.C;6>G DBE:I>I>DCU 7N L6N D;
  
            8DDG9>C6I>C< :;;DGIH ID HEG:69 ;6AH: >C;DGB6I>DC 67DJI *A6>CI>;;H L=DH: C6B:H
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            6C9 A>@:C:HH L:G: I=:>G 7JH>C:HH ID <6>C 6C 69K6CI6<: BDCI=H EG>DG ID ,6<:
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          "JBE=G>:H ;>A>C< =:G 8>K>A A>I><6I>DC L=>8= :;:C96CI 69B>II:9AN 9>9 CDI :K:C

          @CDL L6H >BB>C:CI 6H ID 9:HIGDN *A6>CI>;;HW G:EJI6I>DCH 86G::GH 7JH>C:HH 67>A>IN

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                ID LDG@ 6C9 9:;:C9 I=:BH:AK:H 6<6>CHI I=: 9:;6B6IDGN HI6I:B:CIH 6C9 A>I><6I>DC
                >IH:A;
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                 8DCHE>G>C< 6C9 JC:I=>86AAN 8DAAJ9>C< L>I= :68= DI=:G 6C9 I=: B:9>6 ID <6>C 6C
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                 JCA6L;JA 69K6CI6<:
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                       #C I=: :K:CI 6CN 6EEA>867A: HI6IJI:H 6EEAN *A6>CI>;;HW 8A6>BH BJHI 7: IDAA:9

                ;DG I=: ;DAADL>C< G:6HDCH >C8AJ9>C< 7JI CDI A>B>I:9 ID

                          TJG>C< I=: E:C9:C8N D; 6 G:A6I:9 A6LHJ>I DG 6G7>IG6I>DC G:A6I:9 ID I=:
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                             H6B: 9:;6B6IDGN HI6I:B:CIHU L=:G:6H :;:C96CIWH 9:;6B6IDGN EDHIH
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                             6C9 HI6I:B:CIH 6G: 6I >HHJ: >C ;DJG DI=:G E:C9>C< A6LHJ>IH 6C9 T*
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                         -=G:6IH ;GDB 6 A>8:CH:9 6IIDGC:N >C 6C 6II:BEI ID EG:K:CI *A6>CI>;;H

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                           A>8:CH:9 6IIDGC:N L=D I=G:6I:9 *A6>CI>;;H DC >CCJB:G67A: D886H>DCH >C
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                               A:69>C< *A6>CI>;;H ID 7:A>:K: I=:N 8DJA9 CDI H::@ A:<6A G:8DJGH:
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                      :;:C96CIHW DCA>C: B>H8DC9J8I G:B6>C>C< 6CDCNBDJH ID 6KD>9
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                          8DCH:FJ:C8: 6C9 G:8DJGH: 6C9 8DCI>CJ>C< ID 9:;6B: 6C9 =6G6HH
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                          *A6>CI>;;H >C I=: B:9>6
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                   *A6>CI>;;H =6K: 68IJ6A @CDLA:9<: I=6I HJ7HI6CI>6A 699>I>DC6A :K>9:CI>6GN
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              HJEEDGI L=>8= >H >C I=: :M8AJH>K: EDHH:HH>DC D; :;:C96CIH 6C9 DI=:G I=>G9 E6GI>:H

              >C8AJ9>C< 7JI CDI A>B>I:9 ID CDC E6GI>:H :;:C96CIHW 6<:CIH 6C9 DI=:G I=>G9

              E6GI>:H L=>8= L>AA :M>HI ;DG I=: 6AA:<6I>DCH 6C9 8A6>BH H:I ;DGI= 67DK: 6;I:G 6
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               G:6HDC67A: DEEDGIJC>IN ;DG 9>H8DK:GN
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                   *A6>CI>;;H 6G: :CI>IA:9 ID EJC>I>K: 96B6<:H 7:86JH: :;:C96CIHW
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               9:;6B6IDGN HI6I:B:CIH L:G: B69: L>I= =6IG:9 >AA L>AA 6C9 HE>I: L>I= I=: >CI:CI ID
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               =6GB *A6>CI>;;H DG >C 7A6I6CI 9>HG:<6G9 D; I=: HJ7HI6CI>6A A>@:A>=DD9 D; 86JH>C<
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             I=:B =6GB 6C9 7:86JH: :;:C96CIHW 8DC9J8I 8DCHI>IJI:H >CI:CI>DC6A 68IH D;

             8DCHE>G68N L=>8= L:G: B69: L>I= 68IJ6A B6A>8: IDL6G9H *A6>CI>;;H L=:G:6H I=:
             8DC9J8I >H E6GI D; 6 E6II:GC D; H>B>A6G 8DC9J8I 9>G:8I:9 6I I=: EJ7A>8 <:C:G6AAN
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               >C9>86I>C< 6 G:8@A:HH 9>HG:<6G9 ;DG 8>K>A D7A><6I>DCH *A6>CI>;;H H::@ 6C 6L6G9 ;DG
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               EJC>I>K: 96B6<:H
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                   'DG:DK:G I=: HI6I:B:CIH I:C9 ID HD =6GB I=: G:EJI6I>DC D; *A6>CI>;;H 6H ID
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             ADL:G I=:>G EGD;:HH>DC6A G:EJI6I>DC >C I=: 8DBBJC>IN DG 9:I:G I=>G9 E:GHDCH ;GDB

             6HHD8>6I>C< DG 9:6A>C< L>I= I=:B >C8AJ9>C< I:GB>C6I>DC D; 6CN 6C9 6AA 7JH>C:HH

             8DCIG68IH DG :BEADNB:CI 6C9 6H HJ8= 8DCHI>IJI: >K>A DCHE>G68N
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                  88DG9>C<AN 6CN HI6IJI: D; A>B>I6I>DCH 6EEA>867A: ID JHIN 6C9 -6NADGWH
              8A6>BH >; 6CN >H IDAA:9
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                   :;:C96CIHW 68I>DCH 9:H8G>7:9 67DK: 9:EG>K:9 JHIN 6C9 -6NADG D; I=:
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               DEEDGIJC>IN ID 8DBB:C8: I=>H A6LHJ>I 7:;DG: CDL
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              9:;:CH: 6H ID *A6>CI>;;HW 8A6>BH

                  AADL>C< :;:C96CIH ID 9D HD LDJA9 7: ;40;9:

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               G:A>:; 6H I=: DJGI 9::BH ?JHI 6C9 EGDE:G
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            8DCI6>C:9 67DK: 6H I=DJ<= ;JAAN H:I ;DGI= =:G:>C
                  :;:C96CIH 68I:9 >CI:CI>DC6AAN 6C9 DG G:8@A:HHAN L=:C :>I=:G 6>9>C< 6C9
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              67:II>C< I=:>G 96J<=I:GWH 6C9 DG 8A>:CIWH 8G>B:H 6<6>CHI *A6>CI>;;H >C8AJ9>C< 7N
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              C:<A:8I>C< ID EGDI:8I 6C9 L6GC JEDC 9>H8DK:GN D; I=:>G 96J<=I:GWH ;G>:C9WH 6C9 DG
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              8A>:CIWH ;G6J9 6C9 :<G:<>DJH 68IH D; =6GB 6<6>CHI *A6>CI>;;H L=>8= I=:N :FJ6AAN
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            :C8DJG6<:9 6C9 8DC8:6A:9 ID<:I=:G @CDL>C< >I LDJA9 =6GB *A6>CI>;;H

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           *A6>CI>;;H G:HJAI>C< >C H:K:G: :BDI>DC 9>HIG:HH 9J: ID I=: 68I>DCH 6C9 DG >C68I>DCH
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               D; :;:C96CIHW L>AA;JA 6C9 DG G:8@A:HH 7:=6K>DG
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               8DBB:C8>C< 6C9 8DCI>CJ>C< 6 ;G>KDADJH A6LHJ>I 6<6>CHI *A6>CI>;;H L>I= ;6AH:
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              6AA:<6I>DCH D; H:MJ6A 67JH: H:M IG6;;>8@>C< ;DG8:9 A67DG >CKDAJCI6GN H:GK>IJ9:

              76II:GN 6HH6JAI ;6AH: >BEG>HDCB:CI >CI:CI>DC6A >C;A>8I>DC D; :BDI>DC6A 9>HIG:HH

              7G:68= D; ;>9J8>6GN 9JIN 6C9 H:MJ6A :MEAD>I6I>DC D; 6 B>CDG L=:G:6H :;:C96CIH
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               :>I=:G @C:L DG A6I:G 9>H8DK:G:9 I=6I I=:>G 96J<=I:GWH 6C9 DG 8A>:CIWH 6AA:<6I>DCH
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               L:G: ;G6J9JA:CI 6C9 LDJA9 JC9DJ7I:9AN 6C9 H:K:G:AN 7G>C< =6GB DC *A6>CI>;;H
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               9>HIG:HH 6H >I ;DG8:9 *A6>CI>;;H ID 8DCI68I 6CN 6C9 6AA A6L :C;DG8:B:CI ID 9>H8DK:G
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             I=: G:EDGIH N:6GH A6I:G 6;I:G I=:N 6AG:69N 96B6<:9 I=:>G G:EJI6I>DC L>I= I=:

             9:;6B6IDGN HI6I:B:CIH B69: L>I=>C I=DH: ;6AH: EDA>8: G:EDGIH
                 (D G:6HDC67A: E:GHDC >C ,6<: "JBE=G>:HW 8>G8JBHI6C8:H LDJA9 =6K:
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               7:A>:K:9 I=6I I=:G: L:G: G:6HDC67A: <GDJC9H ID 7G>C< I=: A6LHJ>I 6<6>CHI *A6>CI>;;H
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               >C8AJ9>C< 7:86JH: JEDC ,6<: "JBE=G>:HW DLC 69B>HH>DCH :;:C96CIH 6AA =69
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               *+# @CDLA:9<: 6C9 :C8DJG6<:9 =:G ID 8DBB>I ;G6J9 6<6>CHI *A6>CI>;;H L=>A: >C
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             HDB: 86H:H 6HH>HI>C< I=6I ;G6J9

                 *A6>CI>;;H L:G: ),(#/ 6C9 >GG:E6G67AN =6GB:9 7N :;:C96CIHW ;G6J9JA:CI

             68I>DCH 6C9 ,6<: "JBE=G>:HW 8DBEA6>CI 6<6>CHI I=:B L=:G:6H *A6>CI>;;H =6K: CDI
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           7::C 67A: ID LDG@ 6 H>C<A: ?D7 9J: ID I=: ;6AH: 6C9 9:;6B6IDGN 6AA:<6I>DCH 6C9
           I=:>G C6B:H 7:>C< <AD76AAN G:8D<C>O:9 >C I=: B:9>6 6H ,6<: "JBE=G>:H =:G
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            E6G:CIH I=:G6E>HI 6C9 7:HI ;G>:C9 >C8AJ9>C< DI=:G CDC E6GI>:H 6C9 =:G 8DJCH:A
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            L6<:9 6 -25('2 *+,'3':58? 3+*/' )'36'/-4 '-'/49: 2'/4:/,,9
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           D; 86JH>C< *A6>CI>;;H H:K:G: :BDI>DC6A 9>HIG:HH 7N ;>GHI B6@>C< ;6AH: 9:GD<6IDGN

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            ;G>:C9 6C9 DG 8A>:CI >C 8DBB>II>C< ;G6J9 6<6>CHI *A6>CI>;;H >C8AJ9>C< I=: H6A68>DJH
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            6C9 9:;6B6IDGN HI6I:B:CIH ID I=>G9 E6GI>:H L=>8= L:G: 6 9>G:8I 6C9 EGDM>B6I:
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            86JH: D; :;:C96CIHW 8DC9J8I :CI>G:AN 9>HH:B>C6I:9 6CN 6C9 6AA :BEADNB:CI
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          HEDCHDGH=>EH 6C9 G:A6I>DCH=>EH L>I= :BEADN:GH HEDCHDGH 8A>:CIH DG 7JH>C:HH:H

          L=>8= EG:K>DJHAN G:HE:8I:9 6C9 :BEADN:9 DG HEDCHDG:9 *A6>CI>;;H >C8AJ9>C<
          9:;6B6IDGN HI6I:B:CIH L=>8= L:G: CDI DCAN B69: >C E:GHDC 7JI DC HD8>6A B:9>6
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            6C9 >C I=: C:LH
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            '>86= 6C9 '>8=6:A "JBE=G>:H L>I==:A9 E:GI>C:CI >C;DGB6I>DC ;GDB 6 DJGI
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          )G9:G:9 HJ7ED:C6 >HHJ:9 6C9 H:GK:9 7N *A6>CI>;;H >C G:<6G9 ID I=:>G 96J<=I:G

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             ;G6J9 6C9 E:G?JGN L=>8= L6H 8DBB>II:9 6<6>CHI *A6>CI>;;H 6C9 I=: B6CN >AA:<6A
              68IH 8DBB>II:9 7N I=: "JBE=G>:H ;6B>AN 6<6>CHI *A6>CI>;;H
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              A>:9 ID A6L :C;DG8:B:CI DC DK:G H:K:C 9>;;:G:CI D886H>DCH
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             8DBEGDB>H>C< I=: ;6>GC:HH 6C9 >CI:<G>IN D; I=: A6LHJ>I L=>8= *A6>CI>;;H L:G: CDI

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              >C;AJ:C8>C< EJ7A>8 E:G8:EI>DC 6C9 6CN EDI:CI>6A ?JGDG EG>DG ID *A6>CI>;;H =6K>C< I=:
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              67>A>IN ID EG:E6G: 6 9:;:CH:
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              H=DL:9 I=6I I=: HI6I:B:CIH L>I=>C I=: A6LHJ>I 6C9 A6I:G I=: 6GI>8A: L:G: ;6AH: 7JI
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            ;DG L=>8= H=: EDHI:9 =:G DLC ;6AH: 6C9 9:;6B6IDGN HI6I:B:CIH

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              BDG6A IJGE>IJ9: DG 6 ;:ADCN :MEDH>C< *A6>CI>;;H ID G>9>8JA: >C L=>8= G:;A:8I:9
  
              C:<6I>K:AN DC *A6>CI>;;HW 8=6G68I:GH BDG6A>IN 6C9 >CI:<G>IN L=:G:6H I=:
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              9:;6B6IDGN HI6I:B:CIH >BE6>G:9 *A6>CI>;;HW ;>C6C8>6A L:AA 7:>C< >C8AJ9>C< 7N
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            EJ7A>H=>C< I=DH: HJ<<:HI:9 HI6I:B:CIH EG>DG ID *A6>CI>;;H :K:G 7:>C< H:GK:9

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            8DCIG68IH L>I= *A6>CI>;;H >C8AJ9>C< 7:86JH: :;:C96CIHW 9:;6B6IDGN HI6I:B:CIH
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              6C9 ;6AH: HI6I:B:CIH ID 6 B6HH B:9>6 6C9 ID A6L :C;DG8:B:CI >CI:CI>DC6AAN
              >CI:G;:G:9 L>I= I=: *A6>CI>;;HW 67>A>IN ID 9:;:C9 I=:BH:AK:H DG H:IIA: I=: A6LHJ>I
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               >CI:G;:G:C8: L>I= *A6>CI>;;HW A:<6A G><=IH
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                    #C I=: :K:CI 6CN 6EEA>867A: HI6IJI:H 6EEAN *A6>CI>;;HW 8A6>BH BJHI 7: IDAA:9
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      Ä¶¿1Ò·¿Ç½ÝÈ¹0º·¶¼ÇÉÖÁÊÈ¼ÊÁ1ÁÇÄ·ÇÇÄ¶Æ¶ÆÇ¿ÅÁÉÐÈþÁ4Á¿ÙÇÄ¶ÆÊº·¶¹ ¶ÆÍ¿ÈÅÂÄÇ
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      Ñ¸KýØ´×ÚÙ́LÔÔ$ÔÕÙ́ßÞÞÕÖ́Ñ#́ß#×Ó×%́»ÊÇÉ́ßÚÙ́ßÞÞÕ&É́´´
      ÐÁ¿ÁÙ́ûÆÉ́ÐÅ¹0Ä¿¶ÁÆ´·¼1ḈÄÁ´ÅÇÇÈ¼Æþ́Á¿Á´¿ÁÆ¶1Á¼ÇÆÈ́7û́·ÆÆ·ÊÄÅÆÁÇÇÆÍ́ÈÇÄ1́Å¿¶¼Â´
      ûÆÉ́ÐÅ¹0Ä¿¶ÁÆ8Æ´¿Áº·Ç¶È¼ÆÄ¶0þ́¶ÇÄû́¿É́Ï·Ç6´·¼11́Å¿¶¼ÂḈÄÁḈ¶¹Á0́Á¿¶È1´¶¼þ́Ä¶ÊÄû́ÆÉ́
      ÐÅ¹0Ä¿¶ÁÆ´Êº·¶¹Æ´ÇÄ·Ç´ÇÄÁ´ÅÇÇÈ¼Æ´·ÍÅÆÁ1´ÄÁ¿É́5È¿´ÇÄÈÆÁ´¿Á·ÆÈ¼ÆÙ́û·ÆÆ·ÊÄÅÆÁÇÇÆ´
      º·þ´·00º¶ÁÆḈÈḈÄÁ´ÅÇÇÈ¼Æ8ẾÈ¼Ç¿¶ÍÅÇ¶È¼Ếº·¶¹É́´
      ÜÆ¶1Á´7¿È¹´ÇÄÁ´4·º¶1¶Ç½´È7´ÇÄÁ´Êº·¶¹Ù́ÇÄÁ´7·ÊÇÅ·º́·ºÁÂ·Ç¶È¼Æ´º¶ÀÁþ¶ÆÁ´ÆÁÁ¹´Ç¿ÅÁ´
      Í·ÆÁ1´Å0È¼´ÇÄÁ´Ê¿Á1¶ÍºÁ´ÇÁÆÇ¶¹È¼½´È7´¹½´Êº¶Á¼ÇÆ´·¼1´ÇÄÁ´Á4¶1Á¼ÊÁ´ÇÄ·Ç´ý́Ä·4Á´
      ¿Á4¶ÁþÁ1É́ ½´þ·½´È7´Á'0º·¼·Ç¶È¼Ù́ÇÄÁ´ ÅÇÇÈ¼Æ´0ÈÆÆÁÆÆ´·´Ç¿È4Á´È7´Á4¶1Á¼ÊÁ´
      ÊÈ¹0¶ºÁ1´7¿È¹´·¼´¶ÒÄÈ¼Á´Í·ÊÀÅ0´ÇÄ·Ç´Ø·ÂÁ´ÐÅ¹0Ä¿¶ÁÆ´ºÁ7Ç´È¼´È¼Á´È7´ÇÄÁ¶¿´Ä·¿1´
      1¿¶4ÁÆÉ́
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                    ýÄ·4ÁÁ¼ÊºÈÆÁ11ÁÊº·¿·Ç¶È¼Æ7¿È¹ ÍÈÇÄúÅÆÇ½·¼1û¶ÇÊÄÁºº ÅÇÇÈ¼
      þÄÁ¿Á¶¼ÇÄÁ½·ÇÇÁÆÇÅ¼1Á¿0Á¼·ºÇ½È70Á¿(Å¿½·ÆÇÈÇÄÁ¶¿À¼ÈþºÁ1ÂÁÈ7ÆÇ·ÇÁ¹Á¼ÇÆ
      ¹·1ÁÍ½ûÆÉÐÅ¹0Ä¿¶ÁÆÄÁ¿ÆÁº7þÄ¶ÊÄÆÅ00È¿ÇÇÄÁ7·ÊÇÆ·ººÁÂÁ1É
        ÄÁ¿Á0¿ÁÆÁ¼Ç·Ç¶È¼Æ½ÈÅ¹·1Á¶¼½ÈÅ¿ºÁÇÇÁ¿·¼1¿Á0Á·ÇÁ1º½¶¼ÇÄÁ0¿ÁÆÆ·ººÁÂ¶¼Â
      ÇÄ·ÇØ·ÂÁ·¼1Ï·Ç6þÁ¿ÁÆÈºÁº½¶¼ÆÈ¹ÁÆÈ¿ÇÈ7ÍÅÆ¶¼ÁÆÆ¿Áº·Ç¶È¼ÆÄ¶0·¿Á7·ºÆÁÉý1È
      ¼ÈÇ¼ÁÊÁÆÆ·¿¶º½·ÇÇ¿¶ÍÅÇÁÇÄ¶ÆÇÈ½ÈÅÙÄÈþÁ4Á¿¶Ç¶Æ0ÈÆÆ¶ÍºÁÇÄ·Ç½ÈÅþÁ¿ÁÆ¶¹0º½
      ¹¶Æ¶¼7È¿¹Á1Í½½ÈÅ¿Êº¶Á¼ÇÉÐÈþÁ4Á¿ÙÆÄÈÅº1½ÈÅ0¿ÁÆÁ¼ÇÇÄÁÆÁ7·ºÆÁ·ººÁÂ·Ç¶È¼Æ¶¼
      ÊÈÅ¿ÇÙþÁþ¶ºÄ·4Á¼ÈÊÄÈ¶ÊÁÍÅÇÇÈº¶Ç¶Â·ÇÁÇÄÁÇ¿ÅÇÄÈ7ÇÄ¶Æ¹·ÇÇÁ¿Éý¼ÊÈ¼Ç¿·ÆÇÇÈ
      ÇÄÁÁ4¶1Á¼ÊÁ$7¿ÁÁ1Á¼¶·ºÆÇÄ·Ç½ÈÅÄ·4ÁÂ¶4Á¼ÇÈÇÄÁ0¿ÁÆÆÙÈÅ¿Êº¶Á¼ÇÆÄ·4ÁÇÄÁ
      0¿ÈÈ7ÇÈÍ·ÊÀÅ0ÇÄÁ¶¿Êº·¶¹ÆÉ
      ÜÆ·¼·11¶Ç¶È¼·º7·ÊÇÙþÁ1È¼ÈÇ·Â¿ÁÁþ¶ÇÄ½ÈÅ¿·ÆÆÁÆÆ¹Á¼ÇÇÄ·ÇØ·ÂÁ8Æ1·ÇÁÈ7
      Í¶¿ÇÄ¶Æ»ÊÇÈÍÁ¿ÕÙßÞÞ3Éý¼ÆÇÁ·1ÙÇÄÁ ÅÇÇÈ¼ÆÅ¼1Á¿ÆÇ·¼1ÇÄ·ÇØ·ÂÁþ·ÆÍÈ¿¼¶¼
      ßÞÞ#ÙÆÅ00È¿Ç¶¼ÂÇÄÁ·ººÁÂ·Ç¶È¼ÆÇÄ·ÇÆÄÁþ·ÆÅ¼1Á¿·ÂÁþÄÁ¼ÆÄÁ¹ÁÇÏ·Ç6Éý7½ÈÅ
      Ä·4ÁÆÅ00È¿Ç¶¼Â1ÈÊÅ¹Á¼Ç·Ç¶È¼ÇÈ1¶Æ0ÅÇÁÇÄ¶Æ·ÆÆÁ¿Ç¶È¼ÙþÁþ¶ºÊÁ¿Ç·¶¼º½Ç·ÀÁ
      ÇÄ·ÇÅ¼1Á¿·14¶ÆÁ¹Á¼Ç·¼1þ¶º·ÍÆÈºÅÇÁº½ÊÈ¿¿ÁÊÇÈÅ¿0ºÁ·1¶¼Âþ¶ÇÄ¿ÁÆ0ÁÊÇÇÈÇÄ¶Æ
      7·ÊÇÉÐÈþÁ4Á¿ÙÈÅ¿Êº¶Á¼ÇÆÄ·1 ¼È¿Á·ÆÈ¼ÇÈ1ÈÅÍÇûÆÉÐÅ¹0Ä¿¶ÁÆþÄÁ¼ÆÄÁ
      ·ÇÇÁÆÇÁ1ÇÈÇÄÁ7·ÊÇÇÄ·ÇÆÄÁþ·ÆÍÈ¿¼¶¼ßÞÞ#ÉÎÁ4Á¿ÇÄÁºÁÆÆÙÇÄ¶ÆÆÁÁ¹Æº¶ÀÁ·¼
      Á·Æ¶º½$0¿È4·ÍºÁ7·ÊÇÙ·¼1ÆÄÈÅº1Ø·ÂÁÄ·4Áº¶Á1ÇÈÈÅ¿Êº¶Á¼ÇÆ·ÍÈÅÇÄÁ¿·ÂÁÙÇÄ·Ç
      ÆÄÈÅº1¼ÈÇÍÁû¿ÉÏ·Ç680¿ÈÍºÁ¹ G·¼1þÁþ¶ºÊÈ¿¿ÁÊÇÇÄ·ÇÉ
      ýþÈÅº1 º¶ÀÁÇÈ·11¿ÁÆÆ½ÈÅ¿ÊÈ¹¹Á¼ÇÆÇÈÇÄÁ0¿ÁÆÆÈ¼ÇÄ¶Æ¹·ÇÇÁ¿ÉÖÁÄ·4Á¼È
      1ÁÆ¶¿ÁÇÈÄ·¿¹ û¿ÉÏ·Ç68¿Á0ÅÇ·Ç¶È¼Éý¼7·ÊÇÙÇÈÇÄÁÊÈ¼Ç¿·¿½ÙÈÅ¿ÆÇ·ÇÁ¹Á¼ÇÆÇÈÇÄÁ
      0¿ÁÆÆÄ·4ÁÍÁÁ¼*þÁ·¿Á¼ÈÇÇ¿½¶¼ÂÇÄ¶Æ¹·ÇÇÁ¿¶¼ÇÄÁ0¿ÁÆÆÉ-ý·ºÆÈ¼ÈÇÁÇÄ·Ç½ÈÅ
      Ä·4Á ¿Á7Á¿¿Á1 ÇÈ ÇÄ¶Æ·Æ· *ÆÄ·ÀÁ1Èþ¼-GÍÅÇ0Á¿Ä·0ÆþÁ ·ÆÆ¶Â¼ 1¶77Á¿Á¼Ç
      ¹Á·¼¶¼ÂÆÇÈÇÄ·ÇþÈ¿1ÉýþÈÅº1 0Á¿Ä·0Æ·Â¿ÁÁÇÄ·Ç¶Ç¶Æ·*ÆÄ·ÀÁ1Èþ¼-¶7ÇÄÁ
         ÅÇÇÈ¼ÆÄ·1·ÆÀÁ17È¿·¼½¹È¼Á½7¿È¹û¿ÉÏ·Ç6G7È¿ÇÄÁ¹ÆÁº4ÁÆÉ ÅÇÄÁ¿ÁÙÇÄÁÈ¼º½
      ¶¼ÇÁ¼Ç¶ÆÇÈÁ¼ÆÅ¿ÁÇÄ·Ç¶7ûÆÉÐÅ¹0Ä¿¶ÁÆ¶ÆÙ¶¼1ÁÁ1ÙÁ¹ÈÇ¶È¼·ºº½1·¹·ÂÁ17¿È¹ ÄÁ¿
      º¶7ÁÆÇ½ºÁÊÄÈ¶ÊÁÆÙ·¼1ÇÄ·ÇÄÁ¿0·¿Ç¼Á¿Æ¶¼ÇÄÈÆÁÊÄÈ¶ÊÁÆ·¿ÁÇÄÁ¿Á7È¿Áº¶·ÍºÁÙÇÄ·Ç
      ÇÄÁÊÈÆÇÈ7ÇÄÁ¿Áº·Ç¶4Á1·¹·ÂÁÍÁ7·¶¿º½·00È¿Ç¶È¼Á1ÇÈ·ººþÄÈ0·¿Ç¶Ê¶0·ÇÁ1¶¼¶ÇÉ
      ÖÁ Å¼1Á¿ÆÇ·¼1 ÇÄ·Çû¿ÉÏ·Ç61Á¼¶ÁÆÄ·4¶¼Â · ÆÁ'Å·º¿Áº·Ç¶È¼ÆÄ¶0 þ¶ÇÄ ûÆÉ
      ÐÅ¹0Ä¿¶ÁÆÉÖÁÍÁº¶Á4ÁÇÄ·ÇÇÄÁÁ4¶1Á¼ÊÁþÁÄ·4Á1¶ÆÊÈ4Á¿Á1ÇÄÅÆ7·¿ÇÁººÆ·
      1¶77Á¿Á¼ÇÆÇÈ¿½ÉÖÄ¶ºÁþÁ¿Á·º¶6ÁÇÄ·ÇûÆÉÐÅ¹0Ä¿¶ÁÆ¹·½¼ÈÇÄ·4ÁÇÄÁ¹ÈÆÇ¶¼Ç·ÊÇ
      ¶¼ÇÁÂ¿¶Ç½Ù¶Ç¶Æ·7·ÊÇÇÄ·ÇÆÄÁÇÈº1ÇÄÁ ÅÇÇÈ¼ÆÇÄ·ÇÆÄÁþ·ÆÆºÁÁ0¶¼Âþ¶ÇÄû¿ÉÏ·Ç6Ù
      ·¼1ÇÄ·Ç¶ÆþÄ·ÇÇÄÁ¹È¼Á½þ·Æ7È¿ÉÖÁ·00º¶Á1ÆÈ¹ÁÆÀÁ0Ç¶Ê¶Æ¹ ÇÈÇÄ¶ÆÙÅ¼Ç¶ºþÁ
      Æ·þÇÄÁÇÁ'Ç¹ÁÆÆ·ÂÁÆÉ5Å¿ÇÄÁ¿ÙþÁ·¿Á·þ·¿ÁÇÄ·ÇÇÄÁ¿Á¶Æ·ÇºÁ·ÆÇÈ¼ÁÈÇÄÁ¿0·½$
      7È¿$ÆÁ'·ººÁÂ·Ç¶È¼¶¼ÇÄÁ0¿ÁÆÆÙ·¼1þÄ¶ºÁþÁ1¶1¼ÈÇÂ¶4ÁÇÄ·ÇÇÄÁÆ·¹ÁþÁ¶ÂÄÇ·Æ
      ·ÊÇÅ·ºÁ4¶1Á¼ÊÁÙ¶ÇÊÁ¿Ç·¶¼º½ÊÈ¼Ç¿¶ÍÅÇÁ1ÇÈÈÅ¿¿Á·ÆÈ¼·ÍºÁÍÁº¶Á7ÇÄ·ÇÇÄÁÆÇÈ¿½¶Æ
      Ç¿ÅÁÉýþ¶º·ºÆÈ¿Á0È¿ÇÇÄ·Çý0Á¿ÆÈ¼·ºº½¿ÁÊÁ¶4Á1·¹½ÆÇÁ¿¶ÈÅÆ0ÄÈ¼ÁÊ·ºº7¿È¹·4Á¿½
      ¼Á¿4ÈÅÆ¶¼1¶4¶1Å·ºþÄÈÊº·¶¹Á1ÇÈÄ·4Á¶¼7È¿¹·Ç¶È¼·ÍÈÅÇ*1È6Á¼Æ-È7ÈÇÄÁ¿
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      þÈ¹Á¼þ¶ÇÄÇÄÁÆ·¹ÁÆÇÈ¿½Éý·¹ ÈÍ4¶ÈÅÆº½Â¶4¶¼ÂÇÄ·ÇÇÄÁþÁ¶ÂÄÇ¶ÇÊÅ¿¿Á¼Çº½
      1ÁÆÁ¿4ÁÆG·Æ¶ÇÊÈÅº1ÍÁÆÈ¹ÁÈ¼Áþ¶ÇÄ·4Á¼1ÁÇÇ··Â·¶¼ÆÇÏ·Ç6ÙÈ¿¶ÇÊÈÅº1Á4Á¼
      ÍÁÆÈ¹ÁÈ¼Áþ¶ÇÄ·4Á¼1ÁÇÇ··Â·¶¼ÆÇ¹ÁÙþÄÈ¶ÆÇ¿½¶¼ÂÇÈÆÁÇ¹ÁÅ07È¿7·¶ºÅ¿ÁÉý¼
      7·ÊÇÙ¶ÇÊÈÅº1 ÍÁ·¼·ÂÁ¼ÇÈ7Ï·Ç6þÄÈ¶ÆÇ¿½¶¼ÂÇÈÆÁÇ¹ÁÅ0ÇÈÍÁ1¶ÆÊ¿Á1¶ÇÁ1É
      ÜÊÊÈ¿1¶¼Âº½Ùýþ¶ºÍÁÊÄ·Æ¶¼ÂÇÄ·ÇÇÄ¿Á·17Å¿ÇÄÁ¿ÙÍÅÇý·¹ ÇÁºº¶¼Â½ÈÅÇÄ¶Æ¶¼ÇÄÁ
      ¶¼ÇÁ¿ÁÆÇÈ77Åºº1¶ÆÊºÈÆÅ¿ÁÉû¿ÉÏ·Ç6À¼ÈþÆÍÁÇÇÁ¿ÇÄ·¼·¼½È¼Á¶7ÇÄ¶ÆÊ·ººþ·ÆÊºÁ·¿º½
      ÆÈ¹ÁÈ¼ÁÆ0¿Á·1¶¼Â7·ºÆÁÄÈÈ1ÆÙÈ¿¶7ÇÄÁ·ººÁÂ·Ç¶È¼ÆÇÄ¶ÆÊ·ººÁ¿¹·1ÁÄ·4Á·¼½
      þÁ¶ÂÄÇ·Ç·ººÉ
      ýÆ¶¼ÊÁ¿Áº½¿ÁÆ0ÁÊÇÇÄ·Ç½ÈÅ·¿Á·ÆÇ¿È¼Â·¼1Å¼þ·4Á¿¶¼Â·14ÈÊ·ÇÁ7È¿½ÈÅ¿Êº¶Á¼ÇÉ
      ÐÈþÁ4Á¿ÙýÍÁº¶Á4ÁÇÄ·ÇÇÄÁÊÈ¼Æ¶ÆÇÁ¼ÇÇÄ¿Á·ÇÆ·¿Á¼ÈÇÄÁº07ÅºÉý¼7·ÊÇÙ¶7½ÈÅ·¿Á
      ÂÈ¶¼ÂÇÈÍ·ÊÀÅÆ¶¼ÇÈ·ÊÈ¿¼Á¿ÙþÄ·ÇþÈÅº1½ÈÅÄ·4ÁÅÆ1ÈXúÈ½ÈÅÇÄ¶¼ÀÇÄ·Ç
      Í·ÆÁ1È¼ÇÄÁ7·ÊÇÆ¿Á0È¿ÇÁ1ÇÈ½ÈÅÄÁ¿Á%·¼17Å¿ÇÄÁ¿1Á4ÁºÈ0¶¼Â·ÆþÁÂÈÇÄ¿ÈÅÂÄ
      ÇÄÁ 1·Ç· þÁ Ä·4Á&·¼1 ÈÅ¿ºÁÂ·º0ÈÆ¶Ç¶È¼ÙÇÄ·ÇÇÄ¶Æþ·ÆÇ¿Åº½ ÍÁ¼Á·ÇÄ ÇÄÁ
      ¿Á9Å¶¿Á¹Á¼ÇÆÈ7ÌÅºÁßßX
      ý7Å¿ÇÄÁ¿¿ÁÆ0ÁÊÇÄÈþ½ÈÅÄ·4ÁÇ¿¶Á1ÇÈÊÄ·¼ÂÁÇÄÁ0¿ÁÆÆ¼·¿¿·Ç¶4ÁÈ¼ÇÄ¶Æ¹·ÇÇÁ¿É
      ÜÂ·¶¼Ù½ÈÅÄ·4Á·Êº¶Á¼ÇÇÈ1Á7Á¼1ÙÍÈÇÄ¶¼ ÊÈÅ¿Ç·¼1¶¼ ÇÄÁÊÈÅ¿ÇÈ70ÅÍº¶Ê
      È0¶¼¶È¼ÉÐÈþÁ4Á¿ÙýÄÈ0Á½ÈÅÄ·4Á·ºÆÈÆÁÁ¼ÇÄ·ÇþÁÄ·4Á¼ÈÇÆ·¶1·Æ¶¼ÂºÁÇÄ¶¼Â
      ÇÈÆ¹Á·¿û¿ÉÏ·Ç6Ù·¼1¶¼ºÈÈÀ¶¼Â·ÇÇÄÁÇÁ'ÇÆþÁÂ·4Á½ÈÅ¶¼ÇÄ¶ÆºÁÇÇÁ¿ÙýÄÈ0ÁÇÄ·Ç
      ½ÈÅÆÁÁÇÄ·ÇþÁÈ¼º½7¶ºÁ1þÄ·ÇþÁ7ÁºÇþ·Æ¼ÁÊÁÆÆ·¿½ÇÈ·ÅÇÈ¹·Ç¶Ê·ºº½¿Á7ÅÇÁ·
      ÌÅºÁßß¹ÈÇ¶È¼ÉÖÁ7ÈÅ¼1¼È¼ÁÁ1ÇÈ1È·7Åºº1·Ç·1Å¹0ÉÖÄ·Ç½ÈÅÆÄÈÅº1Ç·ÀÁ
      7¿È¹ ÇÄ·Ç¶Æ0Á¿Ä·0ÆÇÈ7¶¼1·1ÁÆ¶¿ÁÇÈþÈ¿À·º¶ÇÇºÁ¹È¿ÁÊÈºº·ÍÈ¿·Ç¶4Áº½þ¶ÇÄÅÆÙ
      ·¼1¼ÈÇÇÈ·ÇÇ·ÊÀÅÆ·ÇÁ4Á¿½(Å¼ÊÇÅ¿ÁÉ
      úÁÆ0¶ÇÁ·ººÈ7ÇÄÁ·ÍÈ4ÁÙþÁ·¿Á¼ÈÇ¿Á(ÁÊÇ¶¼ÂÈÅÇÈ7Ä·¼1·¼½¿ÁÆÈºÅÇ¶È¼ÇÈÇÄ¶Æ
      ¹·ÇÇÁ¿G·¼1þÁÊÈ¼Ç¶¼ÅÁÇÈÁ¼ÇÁ¿Ç·¶¼ ½ÈÅ¿¿Á9ÅÁÆÇÇÄ·ÇþÁ1¿È0ÇÄÁ¹·ÇÇÁ¿
      þ¶ÇÄÈÅÇ0¿Á(Å1¶ÊÁÙþ¶ÇÄ·ÇÈºº¶¼Â·Â¿ÁÁ¹Á¼ÇÉÖÁ¿Á¹·¶¼ÊÈ¼ÊÁ¿¼Á1ÇÄ·Ç1È¶¼ÂÆÈ
      þÈÅº1 Å¼¿Á·ÆÈ¼·Íº½0¿Á(Å1¶ÊÁÈÅ¿Êº¶Á¼ÇÆÉ ÅÇÙÇÄÁÊÄ·¼¼ÁºÆÈ7ÊÈ¹¹Å¼¶Ê·Ç¶È¼
      ·¿ÁÈ0Á¼7È¿½ÈÅÇÈ0Á¿ÆÅ·1ÁÅÆÈÇÄÁ¿þ¶ÆÁÉ
        ÄÁÇÄ¶¼ÂÇÄ·Ç¹·½ÊºÈÆÁÇÄÁÆÁÊÄ·¼¼ÁºÆÈ7ÊÈ¹¹Å¼¶Ê·Ç¶È¼þ¶ºÍÁÇÄÁÊÈ¼Ç¶¼ÅÁ1
      ÇÄ¿Á·ÇÆÈ7Å¼¿Á·ÆÈ¼·ÍºÁÊº·¶¹Æ·Â·¶¼ÆÇÈÅ¿Êº¶Á¼ÇÆÈ¿ÈÅ¿7¶¿¹ÉÖÁÍ¿ÈÅÂÄÇÇÄ¶ÆÊ¿ÈÆÆ
      Êº·¶¹ ¶¼ÂÈÈ17·¶ÇÄÙÇÈÆÁ¿4ÁÈÅ¿Êº¶Á¼ÇÆ8¶¼ÇÁ¿ÁÆÇÆG·ÆþÁ·¿ÁÍÈÅ¼1ÇÈ1ÈÉÖÁ
      ÊÈ¼1ÅÊÇÁ1·¹È¿Á$ÇÄ·¼$ÂÈÈ1$7·¶ÇÄ¶¼4ÁÆÇ¶Â·Ç¶È¼¶¼ÇÈÇÄÁ7·ÊÇÆ·¼1ÇÄÁº·þÉÖÁ
      7Å¿ÇÄÁ¿¿Á9Å¶¿Á1ÈÅ¿Êº¶Á¼ÇÆÇÈÆþÁ·¿ÇÈ·ººÈ7ÇÄ¶ÆÅ¼1Á¿0Á¼·ºÇ½È70Á¿(Å¿½ÉÖÁ1¶1
      ¼ÈÇ·ÆÀ7È¿·1¶¹Á7¿È¹ û¿ÉÏ·Ç6Ù7È¿ÈÅ¿Êº¶Á¼ÇÆÈ¿ÈÅ¿ÆÁº4ÁÆÉÖÁ1¶1¼ÈÇÆÁÁÀÇÄÁ
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